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PPO - NON-GRANDFATHERED




                    GILSTER-MARY LEE CORPORATION
                                GROUP HEALTH BENEFIT PLAN




                           Plan Document and Summary Plan Description
                                    Effective: January 1, 2013
                                     Restated: January 1, 2018




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                               ARTICLE II
           INTRODUCTION AND PURPOSE; GENERAL PLAN INFORMATION
2.01      Introduction and Purpose
The Plan Sponsor has established the Plan for the benefit of eligible Employees, in accordance with the terms and
conditions described herein. Plan benefits may be self-funded through a benefit fund or a trust established by the
Plan Sponsor and self-funded with contributions from Participants and/or the Plan Sponsor, or may be funded solely
from the general assets of the Plan Sponsor. Participants in the Plan may be required to contribute toward their
benefits.

The Plan Sponsor’s purpose in establishing the Plan is to help offset, for eligible Employees, the economic effects
arising from a Non-occupational Injury or Sickness. To accomplish this purpose, the Plan Sponsor must be
cognizant of the necessity of containing health care costs through effective plan design, and of abiding by the terms
of the Plan Document, to allow the Plan Sponsor to allocate the resources available to help those individuals
participating in the Plan to the maximum feasible extent.

The purpose of this Plan Document is to set forth the terms and provisions of the Plan that provide for the payment
or reimbursement of all or a portion of certain expenses for hospital, medical, prescription or dental charges. The
Plan Document is maintained by the Company and may be inspected at any time during normal working hours by
any Participant.

2.02    General Plan Information

Name of Plan:                               Gilster-Mary Lee Corporation Group Health Benefit Plan

Plan Sponsor:                               Gilster-Mary Lee Corporation
                                            1037 State Street
                                            Chester, IL 62233
                                            618-826-2361

Plan Administrator:                         Gilster-Mary Lee Corporation
(Named Fiduciary)                           1037 State Street
                                            Chester, IL 62233
                                            618-826-2361

Plan Sponsor ID No. (EIN):                  XX-XXXXXXX

Plan Status:                                Non-Grandfathered

Source of Funding:                          Self-Funded

Applicable Law:                             ERISA

Plan Year:                                  January 1 through December 31

Plan Number:                                501

Plan Type:                                  Medical
                                            Dental
                                            Prescription Drug

Third Party Administrator:                  HealthSCOPE Benefits, Inc.
                                            27 Corporate Hill Drive
                                            Little Rock, AR 72205
                                            501-225-1551

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Participating Employer(s):                    Gilster-Mary Lee Corporation

Agent for Service of Process:                 Gilster-Mary Lee Corporation
                                              Plan Administrator
                                              1037 State Street
                                              Chester, IL 62233
                                              618-826-2361

2.03    Legal Entity; Service of Process
The Plan is a legal entity. Legal notice may be filed with, and legal process served upon, the Plan Administrator.

2.04     Not a Contract
This Plan Document and any amendments constitute the terms and provisions of coverage under this Plan. The Plan
Document shall not be deemed to constitute a contract of any type between the Company and any Participant or to be
consideration for, or an inducement or condition of, the employment of any Employee. Nothing in this Plan
Document shall be deemed to give any Employee the right to be retained in the service of the Company or to
interfere with the right of the Company to discharge any Employee at any time; provided, however, that the
foregoing shall not be deemed to modify the provisions of any collective bargaining agreements which may be
entered into by the Company with the bargaining representatives of any Employees.

2.05     Mental Health Parity
Pursuant to the Mental Health Parity Act (MHPA) of 1996 and the Mental Health Parity and Addiction Equity Act
(MHPAEA) of 2008, collectively, the mental health parity provisions in Part 7 of ERISA, this Plan applies its terms
uniformly and enforces parity between covered health care benefits and covered mental health and substance
disorder benefits relating to financial cost sharing restrictions and treatment duration limitations. For further details,
please contact the Plan Administrator.

2.06     Applicable Law
This is a self-funded benefit plan coming within the purview of the Employee Retirement Income Security Act of
1974 (“ERISA”). The Plan is funded with employee and/or employer contributions. As such, when applicable,
Federal law and jurisdiction preempt State law and jurisdiction.

2.07      Discretionary Authority
The Plan Administrator shall have sole, full and final discretionary authority to interpret all Plan provisions,
including the right to remedy possible ambiguities, inconsistencies and/or omissions in the Plan and related
documents; to make determinations in regards to issues relating to eligibility for benefits; to decide disputes that may
arise relative to a Plan Participants’ rights; and to determine all questions of fact and law arising under the Plan.




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                                            ARTICLE III
                                        SUMMARY OF BENEFITS
3.01    General Limits
Payment for any of the expenses listed below is subject to all Plan exclusions, limitations and provisions. All
coverage figures are after the out-of-pocket Deductible has been satisfied. Benefits for Pregnancy expenses, are paid
the same as any other Sickness.

Failure to comply with Utilization Management will result in a higher cost to Participants. “Utilization
Management” includes hospital pre-admission certification, continued stay review, length-of-stay determination and
discharge planning. These programs are designed to ensure that Medically Necessary, high-quality patient care is
provided and enables maximum benefits under the Plan. See pre-certification requirements in the section entitled
“Cost Containment.”

The following services will require pre-certification (or reimbursement from the Plan may be reduced):

                                                 Inpatient Services
                Cervical Spine Surgery                              Long-Term Acute Care Admissions
                Computer Navigation for                             Lumbar Spine Surgery
                 Orthopedic Surgery                                  Rehabilitation Facility Admissions
                Elective Admissions                                 Skilled Nursing Facility Admissions
                Emergency Admissions                                Transplants
                Hospice

                                                Surgical Procedures
                Cartilage Transplant Knee                           Nasal Septoplasty
                Cervical Spine Surgery                              Rhinoplasty
                Cochlear Implant                                    Sinus Endoscopy
                Computer Navigation for                             Sleep Apnea Surgery – LAUP/UPPP, Nasal
                 Orthopedic Surgery                                   and Uvulopalatoplasty
                Lumbar Spine Surgery

                                                 Ancillary Services
                Air Ambulance                                    Occupational Therapy
                Home Infusion Services                           Physical Therapy
                Home Health Services                             Speech Therapy
                Home Hospice

                                           Durable Medical Equipment
                Bone Stimulator                               Myoelectric Prosthetics
                Cardio/External Defibrillator                 Neuromuscular Stimulators
                Cooling Devices                               TENS Unit
                CPAP/BiPAP                                    Wheelchairs (Custom)
                Electric Scooters                             Wheelchairs (Power)
                Limb Prosthetics                              Wound Vacs

                                      Diagnostic Imaging – Ambulatory
                Coronary CT Angiography (CCTA)              MRI of the Brain
                Coronary MRA                                MRI of Spine – Cervical, Thoracic, Lumbar,
                Cardiac MRI                                   Sacral
                MRA of the Head and/or Neck                 PET Scans




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                                            Specialty Infusion Drugs
                 Alemtuzumab (Campath)                         Oxaliplatin (Eloxatin)
                 Azacitidine (Vidaza)                          Paclitaxel (Taxol and Abraxane)
                 Bevacizumab (Avastin)                         Panitumubab (Vectibix)
                 Bortezomib (Velcade)                          Pemetrexed (Alimta)
                 Fulvestrant (Faslodex)                        Rituximab (RituXan)
                 Immune Globulin (Intravenous)                 Trastuzumab (Herceptin)
                 Infliximab (Remicade)                         Zoledronic Acid (Zometa)
                 Mitaxantrone (Novantrone)

Please note: These services refer only to services requiring pre-certification by the Plan’s network. The Plan may or
may not provide benefits for the services listed. The examples provided are not all-inclusive. Please contact the
customer service number listed on the ID card for more information.

Remember that although the Plan will automatically pre-authorize a maternity length of stay that is 48 hours or less
for a vaginal delivery or 96 hours for a cesarean delivery, it is important to have your Physician call to obtain pre-
certification in case there is a need to have a longer stay.

See pre-certification requirements in the section entitled “Cost Containment” for more details.

The Plan contracts with the medical provider Networks to access discounted fees for service for Participants.
Hospitals, Physicians and other Providers who have contracted with the medical provider Networks are called
“Network Providers.” Those who have not contracted with the Networks are referred to in this Plan as “Non-
Network Providers.” This arrangement results in the following benefits to Participants:

    1.   The Plan provides different levels of benefits based on whether the Provider Participants use a Network or
         Non-Network Provider. Unless one of the exceptions shown below applies, if a Participant elects to receive
         medical care from the Non-Network Provider, the benefits payable are generally lower than those payable
         when a Network Provider is used. The following exceptions apply:

         a.   In the event a Network Provider refers a Participant to a non-Network Provider for diagnostic testing,
              x-rays, laboratory services or anesthesia, then charges of the non-Network Provider will be paid as
              though the services were provided by a Network Provider.
         b.   The Network Provider level of benefits is payable when a Participant receives emergency care either
              Out of Area or at a Non-Network Hospital for an Accidental Bodily Injury or Emergency.

    2.   If the charge billed by a Non-Network Provider for any covered service is higher than the Usual and
         Customary Fees determined by the Plan, Participants are responsible for the excess unless the Provider
         accepts assignment of benefits as consideration in full for services rendered. Since Network Providers have
         agreed to accept a negotiated discounted fee as full payment for their services, Participants are not
         responsible for any billed amount that exceeds that fee.

    3.   To receive benefit consideration, Participants must submit claims for services provided by Non-Network
         Providers to the Third Party Administrator. Network Providers have agreed to bill the Plan directly, so that
         Participants do not have to submit claims themselves.

    4.   Benefits available to Network Providers are limited such that if a Network Provider advances or submits
         charges which exceed amounts that are eligible for payment in accordance with the terms of the Plan, or are
         for services or supplies for which Plan coverage is not available, or are otherwise limited or excluded by the
         Plan, benefits will be paid in accordance with the terms of the Plan.

    5.   Claims for services rendered by Auburn Surgical Center and St. Francis Medical Center will be processed at
         the Non-Network benefit level. Claims for services rendered by Midwest Surgical Center will be excluded.



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A current list of PPO Providers is available, without charge, through the Third Party Administrator’s website
(located at www.healthscopebenefits.com). If you have any questions about how to do this, contact the Human
Relations Department.

Each Participant has a free choice of any physician or surgeon, and the physician-patient relationship shall be
maintained. The Participant, together with his or her physician, is ultimately responsible for determining the
appropriate course of medical treatment, regardless of whether the Plan will pay for all or a portion of the cost of
such care. The PPO providers are merely independent contractors; neither the Plan nor the Plan Administrator make
any warranty as to the quality of care that may be rendered by any PPO provider.

3.02     Primary Care Providers
A current list of PPO providers is available, without charge, through the Third Party Administrator’s website
(located at www.healthscopebenefits.com).

Each Participant has a free choice of any physician or surgeon, and the physician-patient relationship shall be
maintained. The Participant, together with his or her Physician, is ultimately responsible for determining the
appropriate course of medical treatment, regardless of whether the Plan will pay for all or a portion of the cost of
such care. The PPO providers are merely independent contractors; neither the Plan nor the Plan Administrator make
any warranty as to the quality of care that may be rendered by any PPO provider.

3.03      Claims Audit
In addition to the Plan’s Medical Record Review process, the Plan Administrator may use its discretionary authority
to utilize an independent bill review and/or claim audit program or service for a complete claim. While every claim
may not be subject to a bill review or audit, the Plan Administrator has the sole discretionary authority for selection
of claims subject to review or audit.

The analysis will be employed to identify charges billed in error and/or charges that are not Usual and Customary
and/or Medically Necessary and Reasonable, if any, and may include a patient medical billing records review and/or
audit of the patient’s medical charts and records.

Upon completion of an analysis, a report will be submitted to the Plan Administrator or its agent to identify the
charges deemed in excess of the Usual and Customary and Reasonable amounts or other applicable provisions, as
outlined in this Plan Document.

Despite the existence of any agreement to the contrary, the Plan Administrator has the discretionary authority to
reduce any charge to a Usual and Customary and Reasonable charge, in accord with the terms of this Plan Document.

3.04     Calendar Year Maximum Benefit
The following calendar year maximums apply to each Participant:


                                     Calendar Year Maximum Benefits for:
Cardiac Rehabilitation                                                                            36 Visits
Chiropractic Care                                                                                 10 Visits
Occupational Therapy                                                                              10 Visits
Physical Therapy                                                                                  15 Visits
Speech Therapy                                                                                    10 Visits
All Essential Health Benefits                                                                     Unlimited




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3.05     Summary of Medical Benefits
The following benefits are per Participant per calendar year:


                                                           Network                                    Non-Network
Deductible
  Individual                                                $1,000                                         $5,000
  Employee + 1                                              $2,000                                        $10,000
  Family Unit                                               $3,000                                        $15,000
                                             Eligible expenses will cross apply to the Network and Non-Network Deductibles. The
                                               Employee + 1 Deductible will be met when 2 family members meet the Individual
                                             Deductible amount. The Family Unit Deductible will be met when 3 family members
                                                                       the Individual Deductible amount.
Payment Level (unless otherwise stated)                       80%                                            60%
Maximum Out-of-Pocket
   Individual                                               $6,600                                        $25,000
   Employee + 1 or Family Unit                             $13,200                                        $75,000
                                              Deductible, copayment, coinsurance and prescription expenses apply to the Network
                                               Out-of-Pocket Maximum. Excluded charges, amounts over Usual and Customary
                                               Fees and penalties are not included. Network Employee + 1 and Family coverage
                                                          includes an embedded Individual Maximum Out-of-Pocket.



      Covered Medical Expenses:                            Network                                    Non-Network

1. Allergy Services
    Office Visit                                   80% after Deductible                          60% after Deductible
    Injections                                     80% after Deductible                          60% after Deductible
    Serum                                          80% after Deductible                          60% after Deductible
2. Ambulance                                        80% after Deductible                          60% after Deductible
                                                Transport by a Non-Network ambulance to a Network facility will be paid at the
                                                             Network rate and applied to the Network Deductible.
3.   Ambulatory Surgical Center                     80% after Deductible                          60% after Deductible
4.   Anesthesia                                     80% after Deductible                          60% after Deductible
5.   Birthing Center                                80% after Deductible                          60% after Deductible

6.   Cardiac Rehabilitation                         80% after Deductible                          60% after Deductible
                                                              Phase I, II and III are covered. Limited to 36 visits.
7.   Chiropractic Care                              80% after Deductible                          60% after Deductible
                                                                          Limited to 10 visits per year.
8.   Dental Services                                80% after Deductible                          60% after Deductible
                                              Includes treatment due to accidental injury is covered if completed within 12 months
                                               of accident and outpatient surgical removal of full bony impacted teeth is covered.
9.   Dialysis Treatment - Outpatient             100% of the Usual and Reasonable Charge after all applicable
                                                                deductibles and coinsurance
                                                   Pre-certification is required. Please refer to Dialysis Treatment Outpatient
                                                                          Description in section 15.01(12).
10. Durable Medical Equipment                       80% after Deductible                          60% after Deductible
                                             Pre-certification is required for equipment over $2,000. Includes rental not exceeding
                                              the purchase price, routine maintenance, repair, and replacement if necessary due to
                                                                     the Participant’s growth and development.
11. Educational Services                            80% after Deductible                          60% after Deductible
                                                 Includes educational instruction for diabetes, ostomy and obesity weight loss.
12. Glaucoma, Cataract Surgery and                  80% after Deductible                          60% after Deductible
    Lenses (one set)
13. Home Health Care                                80% after Deductible                          60% after Deductible



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14. Hospice Care
     Inpatient                                  80% after Deductible                            60% after Deductible
     Outpatient                                 80% after Deductible                            60% after Deductible
     Family Bereavement Counseling              80% after Deductible                            60% after Deductible
                                                          Pre-certification is required. Respite care is not covered.
15. Hospital
     Inpatient Treatment                        80% after Deductible                            60% after Deductible
     Outpatient Treatment                       80% after Deductible                            60% after Deductible
                                                             Pre-certification is required for inpatient treatment.
16. Impregnation and Infertility                 80% after Deductible                            60% after Deductible
    Treatment                              Limited to maximum benefit of $10,000 for medical and prescription costs combined
                                                            per lifetime. See section 15.01(20) for details.
17. Newborn Care                                 80% after Deductible                            60% after Deductible
                                                  Charges for newborn children of a Dependent Child will not be covered.
18. Obesity Services                             80% after Deductible                            60% after Deductible
                                             Pre-certification is required. Includes 1 surgical treatment per lifetime. Covered
                                            surgeries include: gastroplasty; initial Lap Band placement; Lap Band replacement;
                                               Lap Band removal, Lap Band adjustment; gastric bypass; gastric stapling and
                                                            panniculectomy. See section 15.01(25) for eligibility.
19. Outpatient Diagnostic X-ray and Lab          80% after Deductible                            60% after Deductible
20. Outpatient Emergency Services –
    Emergency Room
     Emergency                                     $200 copay                                      $200 copay
     Non-Emergency                              80% after Deductible                            60% after Deductible
                                                           Copay is waived if patient is admitted to the hospital.
21. Physician Services
     Office Visit                                   $25 copay                                   60% after Deductible
     Lab, x-rays and Surgery                    80% after Deductible                            60% after Deductible
                                            The Network office visit copay for Physician and Urgent Care visits will be applied
                                              up to 4 times per plan year. Office visits in excess of 4 visits will be subject to
                                                                       deductible and coinsurance.
22. Podiatry Services                            80% after Deductible                            60% after Deductible
                                           Does not include care resulting from weak, strained, unstable, unbalanced or flat feet;
                                           metarsalgia or bunions, unless an open cutting operation is performed; or treatment of
                                            corns, calluses or toenails, unless at least part of the nail root is removed or care is
                                                           necessary for metabolic or peripheralvascular disease.
23. Pregnancy Expenses                           80% after Deductible               60% after Deductible
24. Preventive Care                              100% no Deductible                 60% after Deductible
                                                   See section 15.01(33) for covered preventive services.
25. Private Duty Nursing                         80% after Deductible               60% after Deductible
26. Prosthetics, Orthotics, Supplies and         80% after Deductible               60% after Deductible
    Surgical Dressings                         Includes routine maintenance, repair, and replacement if necessary due to the
                                             Participant’s natural growth and development. Custom molded are covered when
                                           required for an acquired deformity of the foot. Palliative treatment for pain is covered
                                            except for heel lifts, arch supports and foot pads. Corrective or orthopedic shoes are
                                                                        covered when attached to a brace.
27. Mental Health Expenses
     Inpatient Treatment                         80% after Deductible                           60% after Deductible
     Outpatient Treatment                        80% after Deductible                           60% after Deductible
                                                             Pre-certification is required for inpatient treatment.
                                                 The Network office visit copay will be applied up to 4 times per plan year.
                                                  Office visits in excess of 4 will be subject to deductible and coinsurance.
                                                             Pre-certification is required for impatient treatment
28. Second Surgical Opinions                      100% no Deductible                             100% no Deductible
29. Skilled Nursing Facility                      80% after Deductible                           60% after Deductible
                                           Pre-certification is required. Must follow hospital confinement of at least 3 days and
                                                          begin no more than 14 days after confinement has ended.




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30. Substance Abuse Benefits                   80% after Deductible
     Inpatient Treatment                      80% after Deductible                          60% after Deductible
     Outpatient Treatment                                                                   60% after Deductible
                                             The Network office visit copay will be applied up to 4 times per plan year.
                                              Office visits in excess of 4 will be subject to deductible and coinsurance.
                                                         Pre-certification is required for impatient treatment
31. Surgery                                    80% after Deductible                          60% after Deductible
32. Temporomandibular Joint Disorder           80% after Deductible                          60% after Deductible
    (TMJ)
33. Therapy
     Occupational Therapy                     80% after Deductible                          60% after Deductible
     Physical Therapy                         80% after Deductible                          60% after Deductible
     Speech Therapy                           80% after Deductible                          60% after Deductible
                                          Pre-certification is required. Occupational and Speech Therapy are limited to 10
                                         visits per calendar year. Physical Therapy is limited to 15 visits per calendar year.
34. Transplants                                100% no Deductible                                 Not covered
                                        The Transplant Network must be utilized. Does not include transportation, meals and
                                                                       lodging expenses.
35. Urgent Care Facility & Physician
     Office Visit                                 $25 copay                                 60% after Deductible
     All Other Services                       80% after Deductible                          60% after Deductible
                                         The Network office visit copay for Physician and Urgent Care visits will be applied
                                           up to 4 times per plan year. Office visits in excess of 4 visits will be subject to
                                                                    deductible and coinsurance.
36. Wigs                                       80% after Deductible                          80% after Deductible
                                        Limited to 1 wig every 5 years up to a maximum of $300. Covered for hair loss due
                                                             to chemotherapy/radiation or scalp burns.




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3.06     Summary of Dental Benefits
The following Deductibles, maximums and benefits are per Participant. See Article XVI for eligibility requirements:

Maximum benefit per calendar year for Class 1, 2 and 3 Services                                   $200


                             Covered Dental Expenses:                                           Benefits
Class 1 Services (Preventive Care)                                                               80%
Class 2 Services (Repair and Restoration)                                                        80%
Class 3 Services (Major Dental Repair)                                                           80%
Charges are limited to Usual and Customary Fees.


3.07     Summary of Prescription Drug Benefits
The following benefits are per Participant:


                    Covered Prescription Drug Expenses:                             Participating Pharmacy

Pharmacy Option:
Copayment, per prescription or refill, for generic                                      20% coinsurance
                                                                                   $5 minimum, $25 maximum
Copayment, per prescription or refill, for formulary name brands                        20% coinsurance
                                                                                  $25 minimum, $50 maximum
Copayment, per prescription or refill, for non-formulary name brands                    20% coinsurance
                                                                                  $40 minimum, $75 maximum

Mail Order Option:
Copayment, per prescription or refill, for generic                                      20% coinsurance
                                                                                   $15 minimum, $75 maximum
Copayment, per prescription or refill, for formulary name brands                        20% coinsurance
                                                                                  $65 minimum, $130 maximum
Copayment, per prescription or refill, for non-formulary name brands                    20% coinsurance
                                                                                 $100 minimum, $175 maximum

Specialty Drugs (30-day supply):
Copayment, per prescription or refill                                                      $100 copay




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                                                ARTICLE IV
                                                DEFINITIONS
The following words and phrases shall have the following meanings when used in the Plan Document. The
following definitions are not an indication that charges for particular care, supplies or services are eligible for
payment under the Plan, however they may be used to identify ineligible expenses; please refer to the
appropriate sections of the Plan Document for that information.

“Accident”
“Accident” shall mean a sudden and unforeseen event, or a deliberate act resulting in unforeseen consequences.

“Accidental Bodily Injury”
“Accidental Bodily Injury” shall mean an Injury sustained as the result of an Accident and independently of all other
causes by an outside traumatic event or due to exposure to the elements.

 “ADA”
“ADA” shall mean the American Dental Association.

“Adverse Benefit Determination”
“Adverse Benefit Determination” shall mean any of the following:
   1. A denial in benefits;
   2. A reduction in benefits;
   3. A rescission of coverage;
   4. A termination of benefits; or
   5. A failure to provide or make payment (in whole or in part) for a benefit, including any such denial,
        reduction, termination, or failure to provide or make payment that is based on a determination of a
        Claimant’s eligibility to participate in the Plan.

“Affordable Care Act (ACA)”
The “Affordable Care Act (ACA)” means the health care reform law enacted in March 2010. The law was enacted in
two parts: the Patient Protection and Affordable Care Act was signed into law on March 23, 2010 and was amended
by the Health Care and Education Reconciliation Act on March 30, 2010. The name “Affordable Care Act” is
commonly used to refer to the final, amended version of the law. In this document, the Plan uses the name
Affordable Care Act (ACA) to refer to the health care reform law.

“AHA”
“AHA” shall mean the American Hospital Association.

“Allowable Expenses”
“Allowable Expenses” shall mean the Maximum Allowable Charge for any Medically Necessary, eligible item of
expense, at least a portion of which is covered under a plan. When some Other Plan pays first in accordance with the
Application to Benefit Determinations provision in the Coordination of Benefits section, this Plan’s Allowable
Expenses shall in no event exceed the Other Plan’s Allowable Expenses.

When some Other Plan provides benefits in the form of services rather than cash payments, the Plan Administrator
shall assess the value of said benefit(s) and determine the reasonable cash value of each service rendered, by
determining the amount that would be payable in accordance with the terms of the Plan, shall be deemed to be the
benefit. Benefits payable under any Other Plan include the benefits that would have been payable had claim been
duly made therefore, whether or not it is actually made.

“Alternate Recipient”
“Alternate Recipient” shall mean any Child of a Participant who is recognized under a Medical Child Support Order
as having a right to enrollment under this Plan as the Participant’s Eligible Dependent. For purposes of the benefits
provided under this Plan, an Alternate Recipient shall be treated as an Eligible Dependent, but for purposes of the


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reporting and disclosure requirements under ERISA, an Alternate Recipient shall have the same status as a
Participant.

“AMA”
“AMA” shall mean the American Medical Association.

“Ambulatory Surgical Center”
“Ambulatory Surgical Center” shall mean any public or private State licensed and approved (whenever required by
law) establishment with an organized medical staff of Physicians, with permanent facilities that are equipped and
operated primarily for the purpose of performing Surgical Procedures, with continuous Physician services and
registered professional nursing service whenever a patient is in the facility, and which does not provide service or
other accommodations for patients to stay overnight.

“Approved Clinical Trial”
“Approved Clinical Trial” means a phase I, II, III or IV trial that is federally funded by specified Agencies (National
Institutes of Health, CDCP, Agency for Health Care Research, CMS, Dept. of Defense or Veterans Affairs, or a non-
governmental entity identified by NIH guidelines) or is conducted under an Investigational new drug application
reviewed by the FDA (if such application is required).

The Affordable Care Act requires that if a “qualified individual” is in an “Approved Clinical Trial,” the Plan cannot
deny coverage for related services (“routine patient costs”).

A “qualified individual” is someone who is eligible to participate in an “Approved Clinical Trial” and either the
individual’s doctor has concluded that participation is appropriate or the Participant provides medical and scientific
information establishing that their participation is appropriate.

“Routine patient costs” include all items and services consistent with the coverage provided in the plan that is
typically covered for a qualified individual who is not enrolled in a clinical trial. Routine patient costs do not include
1) the Investigational item, device or service itself; 2) items and services that are provided solely to satisfy data
collection and analysis needs and that are not used in the direct clinical management of the patient; and 3) a service
that is clearly inconsistent with the widely accepted and established standards of care for a particular Diagnosis.
Plans are not required to provide benefits for routine patient care services provided outside of the Plan’s Network
area unless out-of-network benefits are otherwise provided under the Plan.

“Assignment of Benefits”
“Assignment of Benefits” shall mean an arrangement whereby the Plan Participant assigns their right to seek and
receive payment of eligible Plan benefits, in strict accordance with the terms of this Plan Document, to a Provider. If
a provider accepts said arrangement, Providers’ rights to receive Plan benefits are equal to those of a Plan
Participant, and are limited by the terms of this Plan Document. A Provider that accepts this arrangement indicates
acceptance of an “Assignment of Benefits” as consideration in full for services, supplies, and/or treatment rendered.

“Birthing Center”
“Birthing Center” shall mean a facility that meets professionally recognized standards and all of the following
requirements:

    1.   It mainly provides an outpatient setting for childbirth following a normal, uncomplicated Pregnancy, in a
         home-like atmosphere.
    2.   It has the following: at least 2 delivery rooms; all the medical equipment needed to support the services
         furnished by the facility; laboratory diagnostic facilities; and emergency equipment, trays, and supplies for
         use in life threatening situations.
    3.   It has medical staff that: is supervised by a Physician on a full-time basis; and includes a Registered Nurse
         at all times when Covered Persons are at the facility.
    4.   If it is not part of a Hospital, it has a written agreement with a local Hospital and a local ambulance
         company for the immediate transfer of Covered Persons who develop complications or who require either
         pre or post-natal care.

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    5.   It admits only Covered Persons who: have undergone an educational program to prepare them for the birth;
         and have medical records of adequate prenatal care.
    6.   It schedules confinements of not more than 24 hours for a birth.
    7.   It maintains medical records for each Covered Person.
    8.   It complies with all licensing and other legal requirements that apply.
    9.   It is not the office or clinic of one or more Physicians or a specialized facility other than a Birthing Center.

“Break in Service”
“Break in Service” means a period of at least 13 consecutive Weeks during which the Employee has no Hours of
Service, as defined herein. A Break in Service may also include any period for which the Employee has no Hours of
Service that is at least four (4) consecutive Weeks in duration and longer than the prior period of employment
(determined after application of the procedures applicable to Special Unpaid Leaves absence prescribed herein).

“Cardiac Care Unit”
“Cardiac Care Unit” shall mean a separate, clearly designated service area which is maintained within a Hospital and
which meets all the following requirements:

    1.   It is solely for the treatment of patients who require special medical attention because of their critical
         condition;
    2.   It provides within such area special nursing care and observation of a continuous and constant nature not
         available in the regular rooms and wards of the Hospital;
    3.   It provides a concentration of special lifesaving equipment immediately available at all times for the
         treatment of patients confined within such area;
    4.   It contains at least two beds for the accommodation of critically ill patients; and
    5.   It provides at least one professional registered nurse, who continuously and constantly attends the patient
         confined in such area on a 24-hour-a-day basis.

“Centers of Excellence”
“Centers of Excellence” shall mean medical care facilities that have met stringent criteria for quality care in the
specialized procedures of organ transplantation. These centers have the greatest experience in performing transplant
procedures and the best survival rates. The Plan Administrator shall determine what Network Centers of Excellence
are to be used.

Any Participant in need of an organ transplant may contact the Claims Administrator to initiate the pre-certification
process resulting in a referral to a Center of Excellence. The Claims Administrator acts as the primary liaison with
the Center of Excellence, patient and attending Physician for all transplant admission taking place at a Center of
Excellence.

If a Participant chooses not to use a Center of Excellence, the payment for services will be limited to what would
have been the cost at the nearest Center of Excellence.

Additional information about this option, as well as a list of Centers of Excellence, will be given to covered
Employees and updated as requested.

“Certificate of Coverage”
“Certificate of Coverage” shall mean a written certification provided by any source that offers medical care
coverage, including the Plan, for the purpose of confirming the duration and type of an individual’s previous
coverage.

“Child”
“Child” shall mean, in addition to the Employee’s own blood descendant of the first degree or lawfully adopted
Child, a Child placed with a covered Employee in anticipation of adoption, a covered Employee’s Child who is an
alternate recipient under a Qualified Medical Child Support Order as required by the Federal Omnibus Budget
Reconciliation Act of 1993, any stepchild, an “eligible foster child,” which is defined as an individual placed with



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the Employee by an authorized placement agency or by judgment, decree or other order of a court of competent
jurisdiction or any other Child for whom the Employee has obtained legal guardianship.

“CHIP”
“CHIP” refers to the Children’s Health Insurance Program or any provision or section thereof, which is herein
specifically referred to, as such act, provision or section may be amended from time to time.

“CHIPRA”
“CHIPRA” refers to the Children’s Health Insurance Program Reauthorization Act of 2009 or any provision or
section thereof, which is herein specifically referred to, as such act.

“Chiropractic Care”
“Chiropractic Care” shall mean office visits, x-rays, manipulations, supplies, heat treatment, and cold treatment.

“Claim Determination Period”
“Claim Determination Period” shall mean each calendar year.

“Clean Claim”
A “Clean Claim” is one that can be processed in accordance with the terms of this document without obtaining
additional information from the service Provider or a third party. It is a claim which has no defect or impropriety. A
defect or impropriety shall include a lack of required sustaining documentation as set forth and in accordance with
this document, or a particular circumstance requiring special treatment which prevents timely payment as set forth in
this document, and only as permitted by this document, from being made. A Clean Claim does not include claims
under investigation for fraud and abuse or claims under review for Medical Necessity and Reasonableness, or fees
under review for Usual and Customariness, or any other matter that may prevent the charge(s) from being covered
expenses in accordance with the terms of this document.

Filing a Clean Claim. A Provider submits a Clean Claim by providing the required data elements on the standard
claims forms, along with any attachments and additional elements or revisions to data elements, attachments and
additional elements, of which the Provider has knowledge. The Plan Administrator may require attachments or other
information in addition to these standard forms (as noted elsewhere in this document and at other times prior to claim
submittal) to ensure charges constitute covered expenses as defined by and in accordance with the terms of this
document. The paper claim form or electronic file record must include all required data elements and must be
complete, legible, and accurate. A claim will not be considered to be a Clean Claim if the Plan Participant has failed
to submit required forms or additional information to the Plan as well.

“COBRA”
“COBRA” shall mean the Consolidated Omnibus Budget Reconciliation Act of 1985, as amended.

“Cosmetic Surgery”
“Cosmetic Surgery” shall mean any Surgery, service, Drug or supply designed to improve the appearance of an
individual by alteration of a physical characteristic which is within the broad range of normal but which may be
considered unpleasing or unsightly, except when necessitated by an Injury.

“Covered Expense”
“Covered Expense” means a Usual and Customary fee for a Reasonable, Medically Necessary service, treatment or
supply, meant to improve a condition or participant’s health, which is eligible for coverage in this Plan. Covered
Expenses will be determined based upon all other Plan provisions. When more than one treatment option is
available, and one option is no more effective than another, the Covered Expense is the least costly option that is no
less effective than any other option.

All treatment is subject to benefit payment maximums shown in the Summary of Benefits and as determined
elsewhere in this document.




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“Covered Mental Health Service Providers”
“Covered Mental Health Service Providers” are physicians and associated visits which are limited and subject to the
Summary of Benefits and terms of this document. Psychiatrists (M.D.), psychologists (Ph.D.) or counselors licensed
to provide individual psychotherapy without supervision in the State they are practicing, may bill the Plan directly.
Other licensed mental health practitioners must be under the direction of and must bill the Plan through these
professionals.

“Creditable Coverage”
“Creditable Coverage” shall mean coverage of an individual under any of the following: a group health plan, health
insurance coverage, Medicare, Medicaid (other than coverage consisting solely of benefits under the program for
distribution of pediatric vaccines), medical and dental care for members and certain former members of the
Uniformed Services and their dependents, a medical care program of the Indian Health Service or a tribal
organization, a State health benefits risk pool, a health plan offered under the Federal Employees Health Benefits
Program, a public health plan, or a health benefit plan under Section 5(e) of the Peace Corps Act, or Title XXI of the
Social Security Act (State Children’s Health Insurance Program). To the extent that further clarification is needed
with respect to the sources of Creditable Coverage listed in the prior sentence, please see the complete definition of
Creditable Coverage that is set forth in 45 C.F.R. § 146.113(a).

“Custodial Care”
“Custodial Care” shall mean care or confinement provided primarily for the maintenance of the Participant,
essentially designed to assist the Participant, whether or not Totally Disabled, in the activities of daily living, which
could be rendered at home or by persons without professional skills or training. This care is not reasonably expected
to improve the underlying medical condition, even though it may relieve symptoms or pain. Such care includes, but
is not limited to, bathing, dressing, feeding, preparation of special diets, assistance in walking or getting in and out of
bed, supervision over medication which can normally be self-administered and all domestic activities.

 “Deductible”
“Deductible” shall mean an amount of money that is paid once a calendar year per Participant and Family Unit.
Typically, there is one Deductible amount per Plan and it must be paid before any money is paid by the Plan for any
covered services. Each calendar year, a new Deductible amount is required. Eligible expenses incurred in the last 3
months of the calendar year will carry forward and be applied to the Deductible of the following calendar year.

“Dentist”
“Dentist” shall mean an individual holding a D.D.S. or D.M.D. degree, licensed to practice dentistry in the
jurisdiction where such services are provided.

“Dependent”
“Dependent” shall mean one or more of the following person(s):

    1.   An Employee’s lawfully married spouse possessing a marriage license who is not divorced from the
         Employee. For purposes of this section, “marriage or married” means a legal union between a couple of the
         same or opposite sex, but excludes domestic partnerships and common law marriages;
    2.   An Employee’s Child who is less than 26 years of age. Coverage shall continue through the end of the
         month in which the Child reaches age 26; and
    3.   An Employee’s Child, regardless of age, who was continuously covered prior to attaining the limiting age
         under the bullets above, who is mentally or physically incapable of sustaining his or her own living. Such
         Child must have been mentally or physically incapable of earning his or her own living prior to attaining the
         limiting age under the bullets above. Written proof of such incapacity and dependency satisfactory to the
         Plan must be furnished and approved by the Plan within 31 days after the date the Child attains the limiting
         age under the bullets above. The time limit for written proof of incapacity and dependency is 30 days
         following the original eligibility date for a new or re-enrolling Employee. The Plan may require, at
         reasonable intervals, subsequent proof satisfactory to the Plan during the next two years after such date.
         After such two year period, the Plan may require such proof, but not more often than once each year.




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“Dependent” does not include any person who is a member of the armed forces of any Country or who is a resident
of a Country outside the United States.

The Plan reserves the right to require documentation, satisfactory to the Plan Administrator, which establishes a
Dependent relationship.

“Detoxification”
“Detoxification” shall mean the process whereby an alcohol-intoxicated person or person experiencing the symptoms
of Substance Abuse is assisted, in a facility licensed by the Department of Health, through the period of time
necessary to eliminate, by metabolic or other means, the intoxicating alcohol, alcohol dependency factors or alcohol
in combination with drugs as determined by a licensed Physician, while keeping the physiological risk to the patient
at a minimum.

“Diagnosis”
“Diagnosis” shall mean the act or process of identifying or determining the nature and cause of a Disease or Injury
through evaluation of patient history, examination, and review of laboratory data.

“Diagnostic Service”
“Diagnostic Service” shall mean a test or procedure performed for specified symptoms to detect or to monitor a
Disease or condition. It must be ordered by a Physician or other professional Provider.

“Disease”
“Disease” shall mean any disorder which does not arise out of, which is not caused or contributed to by, and which is
not a consequence of, any employment or occupation for compensation or profit; however, if evidence satisfactory to
the Plan is furnished showing that the individual concerned is covered as an employee under any worker’s
compensation law, occupational disease law or any other legislation of similar purpose, or under the maritime
doctrine of maintenance, wages, and cure, but that the disorder involved is one not covered under the applicable law
or doctrine, then such disorder shall, for the purposes of the Plan, be regarded as a Sickness, Illness or Disease.

“Drug”
“Drug” shall mean insulin and prescription legend drugs. A prescription legend drug is a Federal legend drug (any
medicinal substance which bears the legend: “Caution: Federal law prohibits dispensing without a prescription”) or
a State restricted drug (any medicinal substance which may be dispensed only by prescription, according to State
law) and which, in either case, is legally obtained from a licensed drug dispenser only upon a prescription of a
currently licensed Physician.

“Durable Medical Equipment”
“Durable Medical Equipment” shall mean equipment which:

    1.   Can withstand repeated use;
    2.   Is primarily and customarily used to serve a medical purpose;
    3.   Generally is not useful to a person in the absence of an Illness or Injury; and
    4.   Is appropriate for use in the home.

“Emergency”
“Emergency” shall mean a situation where necessary treatment is required as the result of a sudden and severe
medical event or acute condition. An Emergency includes poisoning, shock, and hemorrhage. Other Emergencies
and acute conditions may be considered on receipt of proof, satisfactory to the Plan, that an Emergency did exist.
The Plan may, at its own discretion, request satisfactory proof that an Emergency or acute condition did exist.

“Emergency Medical Condition”
“Emergency Medical Condition” shall mean a medical condition manifesting itself by acute symptoms of sufficient
severity (including severe pain) so that a prudent layperson, who possesses an average knowledge of health and
medicine, could reasonably expect the absence of immediate medical attention to result in a condition described in
clause (i), (ii), or (iii) of section 1867(e)(1)(A) of the Social Security Act (42 U.S.C. 1395dd(e)(1)(A)). In that

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provision of the Social Security Act, clause (i) refers to placing the health of the individual (or, with respect to a
pregnant woman, the health of the woman or her unborn child) in serious jeopardy; clause (ii) refers to serious
impairment to bodily functions; and clause (iii) refers to serious dysfunction of any bodily organ or part.

“Emergency Services”
“Emergency Services” shall mean, with respect to an Emergency Medical Condition:

    1.   A medical screening examination (as required under section 1867 of the Social Security Act, 42 U.S.C.
         1395dd) that is within the capability of the emergency department of a Hospital, including ancillary services
         routinely available to the emergency department to evaluate such Emergency Medical Condition; and
    2.   Such further medical examination and treatment, to the extent they are within the capabilities of the staff
         and facilities available at the Hospital, as are required under section 1867 of the Social Security Act (42
         U.S.C. 1395dd) to stabilize the patient.

“Employee”
“Employee” shall mean the classes of Employees who are eligible for coverage under the Plan as set forth in the
Eligibility for Coverage section of this Summary Plan Description and the Plan’s Eligibility Appendix. Contact the
Plan Administrator for more information or to obtain a copy of the Plan’s Eligibility Appendix.

“ERISA”
“ERISA” shall mean the Employee Retirement Income Security Act of 1974, as amended.

“Essential Health Benefits”
“Essential Health Benefits” shall mean, under section 1302(b) of the Patient Protection and Affordable Care Act,
those health benefits to include at least the following general categories and the items and services covered within the
categories: ambulatory patient services; Emergency Services; hospitalization; maternity and newborn care; mental
health and substance abuse disorder services, including behavioral health treatment; prescription drugs; rehabilitative
and habilitative services and devices; laboratory services; preventive and wellness services and chronic disease
management; and pediatric services, including oral and vision care.

“Experimental” and/or “Investigational”
“Experimental” and/or “Investigational” (“Experimental”) shall mean services or treatments that are not widely used
or accepted by most practitioners or lack credible evidence to support positive short or long-term outcomes from
those services or treatments; these services are not included under or as Medicare reimbursable procedures, and
include services, supplies, care, procedures, treatments or courses of treatment which:

    1.   Do not constitute accepted medical practice under the standards of the case and by the standards of a
         reasonable segment of the medical community or government oversight agencies at the time rendered; or
    2.   Are rendered on a research basis as determined by the United States Food and Drug Administration and the
         AMA’s Council on Medical Specialty Societies.

All phases of clinical trials shall be considered Experimental.

A drug, device, or medical treatment or procedure is Experimental:

    1.   If the drug or device cannot be lawfully marketed without approval of the U.S. Food and Drug
         Administration and approval for marketing has not been given at the time the drug or device is furnished;
    2.   If reliable evidence shows that the drug, device or medical treatment or procedure is the subject of ongoing
         Phase I, II, or III clinical trials or under study to determine its:
              a) maximum tolerated dose;
              b) toxicity;
              c) safety;
              d) efficacy; and
              e) efficacy as compared with the standard means of treatment or diagnosis; or


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    3.   if reliable evidence shows that the consensus among experts regarding the drug, device, or medical
         treatment or procedure is that further studies or clinical trials are necessary to determine its:
              a) maximum tolerated dose;
              b) toxicity;
              c) safety;
              d) efficacy; and
              e) efficacy as compared with the standard means of treatment or diagnosis.

Reliable evidence shall mean:

    1.   Only published reports and articles in the authoritative medical and scientific literature;
    2.   The written protocol or protocols used by the treating facility or the protocol(s) of another facility studying
         substantially the same drug, device, or medical treatment or procedure; or
    3.   The written informed consent used by the treating facility or by another facility studying substantially the
         same drug, device, or medical treatment or procedure.

Notwithstanding the above, a prescription drug for a treatment that has been approved by the FDA but is used as a
non-approved treatment shall not be considered Experimental/Investigational for purposes of this Plan and shall be
afforded coverage to the same extent as any other prescription drug; provided that the drug is recognized by one of
the following as being Medically Necessary for the specific treatment for which it has been prescribed:
     1. The American Medical Association Drug Evaluations;
     2. The American Hospital Formulary Service Drug Information;
     3. The United States Pharmacopeia Drug Information; or
     4. In the treatment of cancer, the National Comprehensive Cancer Network’s Drugs and Biologics
         Compendium or Thomson Micromedex DRUGDEX.

The Plan Administrator retains maximum legal authority and discretion to determine what is Experimental.

“Family Unit”
“Family Unit” shall mean the Employee, his or her spouse and Children.

“Final Internal Adverse Benefit Determination”
“Final Internal Adverse Benefit Determination” shall mean an Adverse Benefit Determination that has been upheld
by the Plan at the conclusion of the internal claims and appeals process, or an Adverse Benefit Determination with
respect to which the internal claims and appeals process has been deemed exhausted.

“FMLA”
“FMLA” shall mean the Family and Medical Leave Act of 1993, as amended.

“FMLA Leave”
“FMLA Leave” shall mean a leave of absence, which the Company is required to extend to an Employee under the
provisions of the FMLA.

"Genetic Testing"
"Genetic Testing" shall mean medical tests used to identify changes in chromosomes, genes or proteins.

“GINA”
“GINA” shall mean the Genetic Information Nondiscrimination Act of 2008 (Public Law No. 110-233), which
prohibits group health plans, issuers of individual health care policies, and employers from discriminating on the
basis of genetic information.

“Health Breach Notification Rule”
“Health Breach Notification Rule” shall mean 16 CFR Part 318.




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“HIPAA”
“HIPAA” shall mean the Health Insurance Portability and Accountability Act of 1996, as amended.

“Home Health Care”
“Home Health Care” shall mean the continual care and treatment of an individual if:

    1.   The institutionalization of the individual would otherwise have been required if home health care was not
         provided;
    2.   The treatment plan covering the home health care service is established and approved in writing by the
         attending Physician; and
    3.   The home health care is the result of an Illness or Injury.

“Home Health Care Agency”
“Home Health Care Agency” shall mean an agency or organization which provides a program of home health care
and which:

    1.   Is approved as a Home Health Agency under Medicare;
    2.   Is established and operated in accordance with the applicable laws in the jurisdiction in which it is located
         and, where licensing is required, has been licensed and approved by the regulatory authority having the
         responsibility for licensing; or
    3.   Meets all of the following requirements:
              a. It is an agency which holds itself forth to the public as having the primary purpose of providing a
                   home health care delivery system bringing supportive services to the home;
              b. It has a full-time administrator;
              c. It maintains written records of services provided to the patient;
              d. Its staff includes at least one registered nurse (R.N.) or it has nursing care by a registered nurse
                   (R.N.) available; and
              e. Its employees are bonded and it provides malpractice insurance.

“Hospital”
“Hospital” shall mean an Institution that meets all of the following requirements:

    1.   It provides medical and Surgical facilities for the treatment and care of Injured or Sick persons on an
         Inpatient basis;
    2.   It is under the supervision of a staff of Physicians;
    3.   It provides 24-hour-a-day nursing service by registered nurses;
    4.   It is duly licensed as a hospital, except that this requirement will not apply in the case of a State tax-
         supported Institution;
    5.   It is not, other than incidentally, a place for rest, a place for the aged, a nursing home or a custodial or
         training-type Institution, or an Institution which is supported in whole or in part by a Federal government
         fund; and
    6.   It is accredited by the Joint Commission on Accreditation of Hospitals sponsored by the AMA and the
         AHA.

The requirement of surgical facilities shall not apply to a Hospital specializing in the care and treatment of mentally
ill patients, provided such Institution is accredited as such a facility by the Joint Commission on Accreditation of
Hospitals sponsored by the AMA and the AHA.

“Hospital” shall also have the same meaning, where appropriate in context, set forth in the definition of
“Ambulatory Surgical Center.”

“Hours of Service”
“Hours of Service” means each hour for which the Employee is paid or entitled to payment for performance of
services for the Employer AND any hour for which the employee is paid or entitled to payment by the Employer for



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a period of time during which no duties are performed due to any of the following, consistent with 29 C.F.R.
2530.200b-2(a)(i):

    1.   Vacation
    2.   Holiday
    3.   Illness or incapacity
    4.   Layoff
    5.   Jury duty
    6.   Military duty or leave of absence.

“Illness”
“Illness” shall have the meaning set forth in the definition of “Disease.”

“Impregnation and Infertility Treatment”
“Impregnation and Infertility Treatment” shall mean artificial insemination, fertility drugs, G.I.F.T. (Gamete
Intrafallopian Transfer), impotency drugs such as Viagra™, in-vitro fertilization, sterilization and/or reversal of a
sterilization operation, surrogate mother, donor eggs, or any type of artificial impregnation procedure, whether or not
such procedure is successful.

“Incurred”
“Incurred” shall mean that a covered expense is Incurred on the date the service is rendered or the supply is obtained.
With respect to a course of treatment or procedure which includes several steps or phases of treatment, covered
expenses are Incurred for the various steps or phases as the services related to each step are rendered and not when
services relating to the initial step or phase are rendered. More specifically, covered expenses for the entire
procedure or course of treatment are not Incurred upon commencement of the first stage of the procedure or course
of treatment.

“Initial Measurement Period”
For “Initial Measurement Period” please refer to the Plan’s Eligibility Appendix.

“Injury”
“Injury” shall mean an Accidental Bodily Injury, which does not arise out of, which is not caused or contributed to
by, and which is not a consequence of, any employment or occupation for compensation or profit.

“Inpatient”
“Inpatient” shall mean any person who, while confined to a Hospital, is assigned to a bed in any department of the
Hospital other than its outpatient department and for whom a charge for Room and Board is made by the Hospital.

“Institution”
“Institution” shall mean a facility, operating within the scope of its license, whose purpose is to provide organized
health care and treatment to individuals, such as a Hospital, Ambulatory Surgical Center, Psychiatric Hospital,
community mental health center, residential treatment facility, psychiatric treatment facility, Substance Abuse
Treatment Center, alternative birthing center, Home Health Care Center, or any other such facility that the Plan
approves.

“Intensive Care Unit”
“Intensive Care Unit” shall have the same meaning set forth in the definition of “Cardiac Care Unit.”

“Late Enrollee”
“Late Enrollee” shall mean a Participant who enrolls in the Plan other than:

    1.   On the earliest date on which coverage can become effective for the individual under the terms of the Plan;
         or
    2.   Through special enrollment.



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“Leave of Absence”
“Leave of Absence” shall mean a leave of absence of an Employee that has been approved by his or her Participating
Employer, as provided for in the Participating Employer’s rules, policies, procedures and practices.

“Mastectomy”
“Mastectomy” shall mean the surgical removal of all or part of a breast.

“Maximum Amount” or “Maximum Allowable Charge”
“Maximum Amount” and/or “Maximum Allowable Charge” shall mean the benefit payable for a specific coverage
item or benefit under the Plan. Maximum Allowable Charge(s) shall be calculated by the Plan Administrator taking
into account and after having analyzed at least one of the following:

        The Usual and Customary amount;
        The allowable charge specified under the terms of the Plan;
        The negotiated rate established in a contractual arrangement with a Provider; or
        The actual billed charges for the covered services.

The Plan will reimburse the actual charge billed if it is less than the Usual and Customary amount. The Plan has the
discretionary authority to decide if a charge is Usual and Customary and for a Medically Necessary and Reasonable
service.

The Maximum Allowable Charge will not include any identifiable billing mistakes including, but not limited to,
up-coding, duplicate charges, and charges for services not performed.

“Medical Child Support Order”
“Medical Child Support Order” shall mean any judgment, decree or order (including approval of a domestic relations
settlement agreement) issued by a court of competent jurisdiction that:

    1.   Provides for child support with respect to a Participant’s Child or directs the Participant to provide
         coverage under a health benefits plan pursuant to a State domestic relations law (including a community
         property law); or
    2.   Enforces a law relating to medical child support described in Social Security Act §1908 (as added by
         Omnibus Budget Reconciliation Act of 1993 §13822) with respect to a group health plan.

“Medically Necessary”
“Medical Care Necessity”, “Medically Necessary”, “Medical Necessity” and similar language refers to health care
services ordered by a Physician exercising prudent clinical judgment provided to a Plan Participant for the purposes
of evaluation, diagnosis or treatment of that Plan Participant’s Sickness or Injury. Such services, to be considered
Medically Necessary, must be clinically appropriate in terms of type, frequency, extent, site and duration for the
diagnosis or treatment of the Plan Participant’s Sickness or Injury. The Medically Necessary setting and level of
service is that setting and level of service which, considering the Plan Participant’s medical symptoms and
conditions, cannot be provided in a less intensive medical setting. Such services, to be considered Medically
Necessary must be no more costly than alternative interventions, including no intervention and are at least as likely
to produce equivalent therapeutic or diagnostic results as to the diagnosis or treatment of the Plan Participant’s
Sickness or Injury without adversely affecting the Plan Participant’s medical condition.
     A) It must not be maintenance therapy or maintenance treatment.
     B) Its purpose must be to restore health.
     C) It must not be primarily custodial in nature.
     D) It must not be a listed item or treatment not allowed for reimbursement by CMS (Medicare).
     E) The Plan reserves the right to incorporate CMS (Medicare) guidelines in effect on the date of
     treatment as additional criteria for determination of Medical Necessity and/or an Allowable Expense.

For Hospital stays, this means that acute care as an Inpatient is necessary due to the kind of services the Participant is
receiving or the severity of the Participant’s condition and that safe and adequate care cannot be received as an


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outpatient or in a less intensified medical setting. The mere fact that the service is furnished, prescribed or approved
by a Physician does not mean that it is “Medically Necessary.” In addition, the fact that certain services are excluded
from coverage under this Plan because they are not “Medically Necessary” does not mean that any other services are
deemed to be “Medically Necessary.”

To be Medically Necessary, all of these criteria must be met. Merely because a Physician or Dentist recommends,
approves, or orders certain care does not mean that it is Medically Necessary. The determination of whether a
service, supply, or treatment is or is not Medically Necessary may include findings of the American Medical
Association and the Plan Administrator’s own medical advisors. The Plan Administrator has the discretionary
authority to decide whether care or treatment is Medically Necessary.

“Medical Record Review”
“Medical Record Review” is the process by which the Plan, based upon a medical record review and audit,
determines that a different treatment or different quantity of a drug or supply was provided which is not supported in
the billing, then the Plan Administrator may determine the Maximum Allowable Charge according to the medical
record review and audit results.

“Medicare”
“Medicare” shall mean the program of health care for the aged established by Title XVIII of the Social Security Act
of 1965, as amended.

“Mental Health Parity Act (MHPA) of 1996 and the Mental Health Parity and Addiction Equity Act of 2008
(MHPAEA) Collectively, the Mental Health Parity Provisions in Part 7 of ERISA”
 “The Mental Health Parity Provisions” shall mean in the case of a group health plan (or health insurance coverage
offered in connection with such a plan) that provides both medical and surgical benefits and mental health or
substance use disorder benefits, such plan or coverage shall ensure that:

    1.   The financial requirements applicable to such mental health or substance use disorder benefits are no more
         restrictive than the predominant financial requirements applied to substantially all medical and surgical
         benefits covered by the Plan (or coverage) and that there are no separate cost sharing requirements that are
         applicable only with respect to mental health or substance use disorder benefits. If these benefits are
         covered by the group health plan (or health insurance coverage is offered in connection with such a plan);
         and
    2.   The treatment limitations applicable to such mental health or substance use order benefits are no more
         restrictive than the predominant treatment limitations applied to substantially all medical and surgical
         benefits covered by the Plan (or coverage), and that there are no separate treatment limitations that are
         applicable only with respect to mental health or substance use disorder benefits. If these benefits are
         covered by the group health plan (or health insurance coverage offered in connection with such a plan).

“Mental or Nervous Disorder”
“Mental or Nervous Disorder” shall mean any disease or condition, regardless of whether the cause is organic, that is
classified as a Mental or Nervous Disorder in the current edition of International Classification of Diseases,
published by the U.S. Department of Health and Human Services, is listed in the current edition of Diagnostic and
Statistical Manual of Mental Disorders, published by the American Psychiatric Association or other relevant State
guideline or applicable sources.

“National Medical Support Notice” or “NMSN”
“National Medical Support Notice” or “NMSN” shall mean a notice that contains the following information:

    1.   Name of an issuing State agency;
    2.   Name and mailing address (if any) of an employee who is a Participant under the Plan;
    3.   Name and mailing address of one or more Alternate Recipients (i.e., the child or children of the Participant
         or the name and address of a substituted official or agency that has been substituted for the mailing address
         of the Alternate Recipients(s)); and
    4.   Identity of an underlying child support order.

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“Network”
“Network” shall mean the medical provider network the Plan contracts to access discounted fees for service for
Participants. The Network Provider will be identified on the Participants identification card.

“New Employee Stability Period”
“New Employee Stability Period” means the 12 Calendar Month period that begins on the first day of the Calendar
Month following the Calendar Month that begins on or after the Employee’s anniversary date.

“No-Fault Auto Insurance”
“No-Fault Auto Insurance” is the basic reparations provision of a law providing for payments without determining
fault in connection with automobile accidents.

“Non-Occupational Injury”
“Non-occupational Injury” shall have the meaning set forth in the definition of “Injury.”

“Non Network Fee Schedule (NNFS)”
“Non Network Fee Schedule (NNFS)” is a fee schedule used to re-price non-network claims.

“Ongoing Employee”
“Ongoing Employee” shall have the same meaning as Ongoing Employee set forth in the Summary Plan Description.

“Ongoing Employee Stability Period”
“Ongoing Employee Stability Period” means the 12 Calendar Month period that begins on the first day of each Plan
Year following the end of the Plan’s Standard Measurement Period.

“Open Enrollment Period”
“Open Enrollment Period” shall mean the period of time as determined by the Plan Sponsor each Plan Year.

“Other Plan”
“Other Plan” shall include, but is not limited to:

    1.   Any primary payer besides the Plan;
    2.   Any other group health plan;
    3.   Any other coverage or policy covering the Participant;
    4.   Any first party insurance through medical payment coverage, personal injury protection, no-fault coverage,
         uninsured or underinsured motorist coverage;
    5.   Any policy of insurance from any insurance company or guarantor of a responsible party;
    6.   Any policy of insurance from any insurance company or guarantor of a third party;
    7.   Worker’s compensation or other liability insurance company; or
    8.   Any other source, including but not limited to crime victim restitution funds, any medical, disability or other
         benefit payments, and school insurance coverage.

“Participant” / “Plan Participant”
“Participant” shall mean any Employee or Dependent who is eligible for benefits under the Plan.

“Patient Protection and Affordable Care Act (PPACA)”
The “Patient Protection and Affordable Care Act (PPACA)” means the health care reform law enacted in March
2010, Public Law 111-148; PPACA, together with the Health Care and Education Reconciliation Act, is commonly
referred to as Affordable Care Act (ACA). (See “Affordable Care Act”).

“Physician”
“Physician” shall mean a Doctor of Medicine (M.D.), Doctor of Osteopathy (D.O.), Doctor of Dental Surgery
(D.D.S.), Doctor of Podiatry (D.P.M.), Doctor of Chiropractic (D.C.), Psychologist (Ph.D.), psychiatrist or midwife.




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“Plan Year”
“Plan Year” shall mean a period commencing on the Effective Date or any anniversary of the adoption of this Plan
and continuing until the next succeeding anniversary.

“Pre-admission Tests”
“Pre-admission Tests” shall mean those Diagnostic Services done prior to scheduled Surgery, provided that:

    1.   The tests are approved by both the Hospital and the Physician;
    2.   The tests are performed on an outpatient basis prior to Hospital admission; and
    3.   The tests are performed at the Hospital into which confinement is scheduled, or at a qualified facility
         designated by the Physician who will perform the Surgery.

“Preferred Provider Organization (PPO)”
“Preferred Provider Organization (PPO)” shall mean an organization that contracts with a network of providers from
which the health plan Participant can choose. Participants do not need to select a primary care physician (PCP) and
do not need referrals to see other providers in the network.

“Pregnancy”
“Pregnancy” shall mean carrying a child, resulting childbirth, miscarriage and non-elective abortion. The Plan
considers Pregnancy as a Sickness for the purpose of determining benefits.

“Preventive Care”
“Preventive Care” shall mean certain Preventive Care services.

This Plan intends to comply with the Affordable Care Act’s (ACA) requirement to offer in-Network coverage for
certain preventive services without cost-sharing. To comply with the ACA, and in accordance with the
recommendations and guidelines, the Plan will provide in-Network coverage for:

    1.   Evidence-based items or services rated A or B in the United States Preventive Services Task Force
         recommendations;
    2.   Recommendations of the Advisory Committee on Immunization Practices adopted by the Director of the
         Centers for Disease Control and Prevention;
    3.   Comprehensive guidelines for infants, Children, and adolescents supported by the Health Resources and
         Services Administration (HRSA); and
    4.   Comprehensive guidelines for women supported by the Health Resources and Services Administration
         (HRSA).

Copies of the recommendations and guidelines may be found here: http://www.uspreventiveservicestaskforce.org or
at https://www.healthcare.gov/preventive-care-benefits/.   For more information, you may contact the Plan
Administrator / Employer.

“Prior to Effective Date” or “After Termination Date”
“Prior to Effective Date” or “After Termination Date” are dates occurring before a Participant gains eligibility from
the Plan, or dates occurring after a Participant loses eligibility from the Plan, as well as charges incurred prior to the
effective date of coverage under the Plan or after coverage is terminated, unless Extension of Benefits applies.

“Privacy Standards”
“Privacy Standards” shall mean the standards of the privacy of individually identifiable health information, as
pursuant to HIPAA.

“Provider”
“Provider” shall mean a Physician, a licensed speech or occupational therapist, licensed professional physical
therapist, physiotherapist, audiologist, speech language pathologist, licensed professional counselor, certified nurse
practitioner, certified psychiatric/mental health clinical nurse, or other practitioner or facility defined or listed herein,
or approved by the Plan Administrator.

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“Psychiatric Hospital”
“Psychiatric Hospital” shall mean an Institution constituted, licensed, and operated as set forth in the laws that apply
to Hospitals, which meets all of the following requirements:

    1.   It is primarily engaged in providing psychiatric services for the diagnosis and treatment of mentally ill
         persons either by, or under the supervision of, a Physician;
    2.   It maintains clinical records on all patients and keeps records as needed to determine the degree and
         intensity of treatment provided;
    3.   It is licensed as a psychiatric hospital;
    4.   It requires that every patient be under the care of a Physician; and
    5.   It provides 24-hour-a-day nursing service.

The term Psychiatric Hospital does not include an Institution, or that part of an Institution, used mainly for nursing
care, rest care, convalescent care, care of the aged, Custodial Care or educational care.

“Qualified Medical Child Support Order” or “QMCSO”
“Qualified Medical Child Support Order” or “QMCSO” is a Medical Child Support Order that creates or recognizes
the existence of an Alternate Recipient’s right to, or assigns to an Alternate Recipient the right to, receive benefits
for which a Participant or Eligible Dependent is entitled under this Plan.

“Qualifying Part-time Employee”
“Qualifying Part-time Employee” shall have the same meaning as Qualifying Part-time Employee set forth in the
Summary Plan Description.

“Reasonable”
“Reasonable” and/or “Reasonableness” shall mean in the administrator’s discretion, services or supplies, or fees for
services or supplies which are necessary for the care and treatment of illness or injury not caused by the treating
Provider’s error or mistake. Determination that fee(s) or services are Reasonable will be made by the Plan
Administrator, taking into consideration unusual circumstances or complications requiring additional time, skill and
experience in connection with a particular service or supply; industry standards and practices as they relate to similar
scenarios; and the cause of injury or illness necessitating the service(s) and/or charge(s).

This determination will consider, but will not be limited to evidence-based guidelines, and the findings and
assessments of the following entities: (a) The National Medical Associations, Societies, and organizations; (b) The
Centers for Medicare and Medicaid Services (CMS); and (c) The Food and Drug Administration. A finding of
Provider negligence and/or malpractice is not required for service(s) and/or fee(s) to be considered not Reasonable.

To be Reasonable, service(s) and/or fee(s) must be in compliance with generally accepted billing practices for
unbundling or multiple procedures. The Plan Administrator retains discretionary authority to determine whether
service(s) and/or fee(s) are Reasonable based upon information presented to the Plan Administrator.

The Plan reserves for itself and parties acting on its behalf the right to review charges processed and/or paid by the
Plan, to identify charge(s) and/or service(s) that are not Reasonable and therefore not eligible for payment by the
Plan.

“Regular Full-time Employee”
“Regular Full-time Employee” means a common law employee who is regularly scheduled to work thirty (30) Hours
of Service or more per week.

“Rehabilitation Hospital”
“Rehabilitation Hospital” shall mean an Institution which mainly provides therapeutic and restorative services to
Sick or Injured people. It is recognized as such if:

    1.   It carries out its stated purpose under all relevant Federal, State and local laws;

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    2.   It is accredited for its stated purpose by either the Joint Commission on Accreditation of Hospitals or the
         Commission on Accreditation for Rehabilitation Facilities; or
    3.   It is approved for its stated purpose by Medicare.

“Room and Board”
“Room and Board” shall mean a Hospital’s charge for:

    1.   Room and linen service;
    2.   Dietary service, including meals, special diets and nourishment;
    3.   General nursing service; and
    4.   Other conditions of occupancy which are Medically Necessary.

“Scheduled benefit” or “Scheduled benefit amount” means a specified dollar amount that will be considered for
reimbursement under the Plan for a particular type of medical care, service or supply provided. Scheduled benefits
are based upon covered expenses not otherwise limited or excluded under the terms of the Plan. A partial listing of
scheduled benefit amounts may be found in the section, “Summary of Benefits”.

“Seasonal Employee”
“Seasonal Employee” means an Employee hired by the Employer into a position that is typically no longer in
duration than 6 months and begins at the same time of the year each year.

“Security Standards”
“Security Standards” shall mean the final rule implementing HIPAA’s Security Standards for the Protection of
Electronic PHI, as amended.

“Service Waiting Period”
“Service Waiting Period” shall mean an interval of time during which the Employee is in the continuous, Active
Employment of his or her Participating Employer.

“Sickness”
“Sickness” shall have the meaning set forth in the definition of “Disease.”

“Significant Break in Coverage”
“Significant Break in Coverage” shall mean a period of 63 consecutive days during each of which an individual does
not have any Creditable Coverage.

“Standard Measurement Period”
For “Standard Measurement Period” please refer to the Plan’s Eligibility Appendix.

“Substance Abuse”
“Substance Abuse” shall mean any use of alcohol, any Drug (whether obtained legally or illegally), any narcotic, or
any hallucinogenic or other illegal substance, which produces a pattern of pathological use, causing impairment in
social or occupational functioning, or which produces physiological dependency evidenced by physical tolerance or
withdrawal. It is the excessive use of a substance, especially alcohol or a drug. The DSM-IV definition is applied as
follows:

    A. A maladaptive pattern of substance use leading to clinically significant impairment or distress, as
       manifested by one (or more) of the following, occurring within a 12-month period:

             1.   Recurrent substance use resulting in a failure to fulfill major role obligations at work, school or
                  home (e.g., repeated absences or poor work performance related to substance use; substance-
                  related absences, suspensions or expulsions from school; neglect of children or household);
             2.   Recurrent substance use in situations in which it is physically hazardous (e.g., driving an
                  automobile or operating a machine when impaired by substance use);



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             3.   Recurrent substance-related legal problems (e.g., arrests for substance-related disorderly conduct);
                  or
             4.   Continued substance use despite having persistent or recurrent social or interpersonal problems
                  caused or exacerbated by the effects of the substance (e.g., arguments with spouse about
                  consequences of intoxication, physical fights);

    B. The symptoms have never met the criteria for Substance Dependence for this class of substance.

“Substance Abuse Treatment Center”
“Substance Abuse Treatment Center” shall mean an Institution which provides a program for the treatment of
Substance Abuse by means of a written treatment plan approved and monitored by a Physician. This Institution must
be:

    1.   Affiliated with a Hospital under a contractual agreement with an established system for patient referral;
    2.   Accredited as such a facility by the Joint Commission on Accreditation of Hospitals; or
    3.   Licensed, certified or approved as an alcohol or Substance Abuse treatment program or center by a State
         agency having legal authority to do so.

Substance Dependence: Substance use history which includes the following: (1) substance abuse (see above); (2)
continuation of use despite related problems; (3) development of tolerance (more of the drug is needed to achieve the
same effect); and (4) withdrawal symptoms.

“Surgery”
“Surgery” shall mean any of the following:

    1.   The incision, excision, debridement or cauterization of any organ or part of the body, and the suturing of a
         wound;
    2.   The manipulative reduction of a fracture or dislocation or the manipulation of a joint including application
         of cast or traction;
    3.   The removal by endoscopic means of a stone or other foreign object from any part of the body or the
         diagnostic examination by endoscopic means of any part of the body;
    4.   The induction of artificial pneumothorax and the injection of sclerosing solutions;
    5.   Arthrodesis, paracentesis, arthrocentesis and all injections into the joints or bursa;
    6.   Obstetrical delivery and dilatation and curettage; or
    7.   Biopsy.

“Surgical Procedure”
“Surgical Procedure” shall have the same meaning set forth in the definition of “Surgery.”

“Total Disability”
“Total Disability” shall mean an individual is determined as being disabled for Social Security purposes and
provides such evidence to the Plan of the determination as the Plan Administrator may, in its sole discretion, require.

“Totally Disabled”
“Totally Disabled” shall have the same meaning set forth in the definition of “Total Disability.”

“Uniformed Services”
“Uniformed Services” shall mean the Armed Forces, the Army National Guard and the Air National Guard, when
engaged in active duty for training, inactive duty training, or full-time National Guard duty, the commissioned corps
of the Public Health Service, and any other category of persons designated by the President of the United States in
time of war or Emergency.

“USERRA”
“USERRA” shall mean the Uniformed Services Employment and Reemployment Rights Act of 1994 (“USERRA”).



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“Usual and Customary”
“Usual and Customary” (U&C) shall mean covered expenses which are identified by the Plan Administrator, taking
into consideration the fee(s) which the Provider most frequently charges (or accepts for) the majority of patients for
the service or supply, the cost to the Provider for providing the services, the prevailing range of fees charged in the
same “area” by Providers of similar training and experience for the service or supply, and the Medicare
reimbursement rates. The term(s) “same geographic locale” and/or “area” shall be defined as a metropolitan area,
county, or such greater area as is necessary to obtain a representative cross-section of Providers, persons or
organizations rendering such treatment, services, or supplies for which a specific charge is made. To be Usual and
Customary, fee(s) must be in compliance with generally accepted billing practices for unbundling or multiple
procedures.

The term “Usual” refers to the amount of a charge made or accepted for medical services, care, or supplies, to the
extent that the charge does not exceed the common level of charges made by other medical professionals with similar
credentials, or health care facilities, pharmacies, or equipment suppliers of similar standing, which are located in the
same geographic locale in which the charge is incurred.

The term “Customary” refers to the form and substance of a service, supply, or treatment provided in accordance
with generally accepted standards of medical practice to one individual, which is appropriate for the care or
treatment of the same sex, comparable age and who receive such services or supplies within the same geographic
locale.

The term “Usual and Customary” does not necessarily mean the actual charge made nor the specific service or
supply furnished to a Plan Participant by a Provider of services or supplies, such as a physician, therapist, nurse,
hospital, or pharmacist. The Plan Administrator will determine what the Usual and Customary charge is, for any
procedure, service, or supply, and whether a specific procedure, service or supply is Usual and Customary.

Usual and Customary charges may, at the Plan Administrator’s discretion, alternatively be determined and
established by the Plan using normative data such as, but not limited to, Medicare cost to charge ratios, average
wholesale price (AWP) for prescriptions and/or manufacturer’s retail pricing (MRP) for supplies and devices.


                All other defined terms in this Plan Document shall have the meanings specified
                                    in the Plan Document where they appear.




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                                            ARTICLE V
                                    ELIGIBILITY FOR COVERAGE
5.01     Eligibility for Individual Coverage
The following classes of Employees will be eligible for coverage under the Plan:

    1.   New Hires -
         a. Regular Full-time Employees: Employees designated by the Employer as Regular Full-time Employees.
            Coverage for Regular Full-time Employees, if properly elected, will be effective immediately upon
            completion of a Service Waiting Period of 90 days.
         b. Qualifying Part-time Employee: Any other Employees, including but not limited to Seasonal
            Employees, who are not Regular Full-time Employees to the extent that such Employees average 30
            hours of service per week over the employee’s applicable Initial Measurement Period (as defined in the
            Plan Eligibility Appendix adopted by the Employer). Coverage for such Employees, if properly
            elected, will be effective on the first day of the Qualifying Part-time Employee’s New Employee
            Stability Period (as defined by the Plan). A Qualifying Part-time Employee will remain eligible
            throughout the New Employee Stability Period to the extent that the employee remains employed,
            subject to the Plan’s Break in Service (as defined by the Plan) rules.

             Note: if there is a gap between the end of the Qualifying Part-time Employee’s New Employee Stability
             Period and the start of the Qualifying Part-time Employee’s first Ongoing Employee Stability Period
             (see below), the Qualifying Part-time Employee will remain eligible under the Plan until the day
             preceding the start of the Ongoing Employee Stability Period to the extent the employee remains
             employed, subject to the Plan’s Break in Service rules.

             If a Qualifying Part-time Employee transfers to a Regular Full-time Employee position prior to the start
             of the Qualifying Part-time Employee’s New Employee Stability Period, the Employee will become
             eligible for coverage. If elected, coverage for such new Regular Full-time Employee will become
             eligible immediately upon completion of a Service Waiting Period of 90 days.

    2.   “Ongoing” Employees - Once an Employee has completed the Plan’s Standard Measurement Period,
         eligibility will be based solely on the Employee’s Hours of Service during the Plan’s Standard Measurement
         Period. Any Employee who averages 30 Hours of Service per week during the Plan’s Standard
         Measurement Period (“Ongoing Employees”) will be eligible for coverage under the Plan during the Plan’s
         next Ongoing Employee Stability Period to the extent that the Ongoing Employee remains employed,
         subject to the Plan’s Break in Service rules. Such coverage, if elected, will be effective on the first day of
         the Plan’s Ongoing Employee Stability Period.

Whether an Employee averages 30 Hours of Service per week will be determined in accordance with policies and
procedures adopted by the Plan Administrator.

Impact of Breaks In Service
Any Employee who resumes Hours of Service following a Break in Service (as defined in the Plan Eligibility
Appendix) will be treated as a New Hire and eligibility for coverage under the Plan upon return will be determined in
accordance with the New Hire rules above. If, however, the Employee experiences a period without any Hours of
Service, and resumes Hours of Service without experiencing a Break in Service, the Employee will be treated as a
continuous employee. A continuous employee resuming Hours of Service after a period with no Hours of Service
that does not constitute a Break in Service will be eligible for coverage under the Plan upon return if they were
enrolled in coverage prior to the start of the period with No Hours of Service. Such coverage will be effective on the
first day of the month that coincides with or follows the date you resume Hours of Service.

If you wish to review a copy of the Plan’s Eligibility Appendix, please contact the Plan Administrator.




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5.02     Eligibility Dates for Dependent Coverage
Each Employee will become eligible for coverage under this Plan for his or her Dependents on the latest of the
following dates:

    1.   His or her date of eligibility for coverage for himself or herself under the Plan;
    2.   The date coverage for his or her Dependents first becomes available under any amendment to the Plan, if
         such coverage was not provided under the Plan on the Effective Date of the Plan; and
    3.   The first date upon which he or she acquires a Dependent.

In no event will any Dependent Child be covered as a Dependent of more than one Employee who is covered under
the Plan.

Any reference in this Plan to an Employee’s Dependent being covered means that such Employee is covered for
Dependent Coverage.

5.03     Effective Dates of Coverage; Conditions
The coverage for which an individual is eligible under this Plan will become effective on the date specified below,
subject to the conditions of this section.

    1.   Enrollment Form. Coverage for an Employee or his or her Dependents must be requested by the Employee
         on a form furnished by the Plan Administrator and will become effective on the date such Employee or
         Dependents are eligible, provided the Employee has enrolled for such coverage on a form satisfactory to the
         Plan Administrator within the 31-day period immediately following the date of eligibility.

    2.   Birth of Dependent Child. If a Dependent Child is born after the date the Employee’s coverage for himself
         or herself under the Plan becomes effective and the Employee has coverage under this Plan for his or her
         Dependents, coverage shall take effect from and after the moment of birth, to the extent of the benefits
         provided herein, and any limitations of this Plan with respect to congenital defects shall not apply to such
         Child. Such coverage shall continue for the 31-day period commencing on the date of birth. In order to
         continue such coverage after the 31st day, prior to the end of the 31-day period, the Employee must make
         written application to the Plan for such Child and agree to make any required contribution.

         If the Employee does not have coverage under this Plan for any Dependents at the date of such Child’s
         birth, then coverage for such Child shall be available only if, during the first 31 days following the date of
         birth, the Employee makes written application to the Plan for such Child and agrees to make any required
         contribution. In that event, coverage will be effective as of the moment of birth, to the extent of the benefits
         provided herein, and any limitations of this Plan with respect to congenital defects shall not apply to such
         Child.

    3.   Newly Acquired Dependents. If an Employee acquires a Dependent while the Employee is eligible for
         coverage for Dependents, coverage for the newly acquired Dependent shall be effective on the date the
         Dependent becomes eligible, provided application is made to the Plan within 31 days of the date of
         eligibility and any required contributions are made.

    4.   Requirement for Employee Coverage. No coverage for Dependents of an Employee will become effective
         unless the Employee is, or simultaneously becomes, eligible for coverage for himself or herself under the
         Plan.

    5.   Coverage as Both Employee and Dependent. No person may be simultaneously covered under this Plan as
         both an Employee and a Dependent.

    6.   Medicaid Coverage. An individual’s eligibility for any State Medicaid benefits will not be taken into
         account by the Plan in determining that individual’s eligibility under the Plan.




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    7.   FMLA Leave. Regardless of any requirements set forth in the Plan, the Plan shall at all times comply with
         FMLA.

5.04    Special and Open Enrollment
The Plan provides special enrollment periods that allow Employee’s to enroll in the Plan, even if they declined
enrollment during an initial or subsequent eligibility period.

5.04A Loss of Other Coverage
If an Employee declined enrollment for himself or herself or his or her Dependents (including his or her spouse)
because of other health coverage, he or she may enroll for coverage for himself or herself and/or his or her
Dependents if the other health coverage is lost. The Employee must make written application for special enrollment
within 30 days of the date the other health coverage was lost. For example, if the Employee loses his or her other
health coverage on September 15, he or she must notify the Plan Administrator and apply for coverage by close of
business on October 15.

The following conditions apply to any eligible Employee and Dependents:

An Employee may enroll during this special enrollment period:

    1.   If the Employee is eligible for coverage under the terms of this Plan;
    2.   The Employee is not currently enrolled under the Plan;
    3.   When enrollment was previously offered, the Employee declined because of coverage under another group
         health plan or health insurance coverage. The Employee must have provided a written statement that other
         health coverage was the reason for declining enrollment under this Plan; and
    4.   If the other coverage was terminated due to loss of eligibility for the coverage (including due to legal
         separation, divorce, death, termination of employment, or reduction in the number of hours), or because
         employer contributions for the coverage were terminated.

The Employee is not eligible for this special enrollment right if:

    1.   The other coverage was COBRA continuation coverage and the Employee did not exhaust the maximum
         time available to him or her for that COBRA coverage; or
    2.   The other coverage was lost due to non-payment of requisite contribution / premium or for cause (such as
         making a fraudulent claim or an intentional misrepresentation of a material fact in connection with the other
         plan).

If the conditions for special enrollment are satisfied, coverage for the Employee and/or his or her Dependent(s) will
be effective at 12:01 A.M. on the first day of the first calendar month beginning after the date the written request is
received by the Plan.

5.04B New Dependent
If an Employee acquires a new Dependent as a result of marriage, birth, adoption, or placement for adoption, he or
she may be able to enroll himself or herself and his or her Dependents during a special enrollment period. The
Employee must make written application for special enrollment no later than 30 days after he or she acquires the new
Dependent. For example, if the Employee is married on September 15, he or she must notify the Plan Administrator
and apply for coverage by close of business on October 15.

The following conditions apply to any eligible Employee and Dependents:

An Employee may enroll himself or herself and/or his or her eligible Dependents during this special enrollment
period if:

    1.   The Employee is eligible for coverage under the terms of this Plan; and
    2.   The Employee has acquired a new Dependent through marriage, birth, adoption, or placement for adoption.


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If the conditions for special enrollment are satisfied, coverage for the Employee and his or her Dependent(s) will be
effective at 12:01 A.M.:

    1.   For a marriage, on the date of the marriage;
    2.   For a birth, on the date of birth; or
    3.   For an adoption or placement for adoption, on the date of the adoption or placement for adoption.

5.04C Additional Special Enrollment Rights
Employees and Dependents who are eligible but not enrolled are entitled to enroll under the following
circumstances:

    1.   The Employee’s or Dependent’s Medicaid or State Child Health Insurance Plan (i.e. CHIP) coverage has
         terminated as a result of loss of eligibility and the Employee requests coverage under the Plan within 60
         days after the termination; or
    2.   The Employee or Dependent become eligible for a contribution / premium assistance subsidy under
         Medicaid or a State Child Health Insurance Plan (i.e. CHIP), and the Employee requests coverage under the
         Plan within 60 days after eligibility is determined.

5.04D Open Enrollment
Participants may enroll for coverage during Open Enrollment Periods. Coverage for Participants enrolling during an
Open Enrollment Period will become effective on January 1st, unless the Employee has not satisfied the Service
Waiting Period, in which event coverage for the Employee and his or her Dependents will become effective on the
day following completion of the Service Waiting Period.

“Open Enrollment Period” shall mean the period of time as determined by the Plan Sponsor each Plan Year.

5.04E Effective Date of Coverage; Conditions
All conditions for effectiveness of coverage under the Plan, which are set forth in the section entitled “Effective
Dates of Coverage; Conditions,” will apply to Participants enrolling during a Special or Open Enrollment Period.
Coverage for Participants enrolling during a Special Enrollment Period will become effective on the first day
following the enrollment due to loss of coverage or marriage, and on the date of birth, adoption or placement for
adoption in the case of such events.

5.05     Qualified Medical Child Support Orders
The Plan Administrator shall enroll for immediate coverage under this Plan any Alternate Recipient who is the
subject of a Medical Child Support Order that is a “Qualified Medical Child Support Order” (“QMCSO”) if such an
individual is not already covered by the Plan as an Eligible Dependent, once the Plan Administrator has determined
that such order meets the standards for qualification set forth below.

“Alternate Recipient” shall mean any Child of a Participant who is recognized under a Medical Child Support
Order as having a right to enrollment under this Plan as the Participant’s Eligible Dependent. For purposes of the
benefits provided under this Plan, an Alternate Recipient shall be treated as an Eligible Dependent, but for purposes
of the reporting and disclosure requirements under ERISA, an Alternate Recipient shall have the same status as a
Participant.

“Medical Child Support Order” shall mean any judgment, decree or order (including approval of a domestic
relations settlement agreement) issued by a court of competent jurisdiction that:

    1.   Provides for child support with respect to a Participant’s Child or directs the Participant to provide
         coverage under a health benefits plan pursuant to a State domestic relations law (including a community
         property law); or
    2.   Enforces a law relating to medical child support described in Social Security Act §1908 (as added by
         Omnibus Budget Reconciliation Act of 1993 §13822) with respect to a group health plan.

“National Medical Support Notice” or “NMSN” shall mean a notice that contains the following information:

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    1.   Name of an issuing State agency;
    2.   Name and mailing address (if any) of an employee who is a Participant under the Plan;
    3.   Name and mailing address of one or more Alternate Recipients (i.e., the child or children of the Participant
         or the name and address of a substituted official or agency that has been substituted for the mailing address
         of the Alternate Recipients(s)); and
    4.   Identity of an underlying child support order.

“Qualified Medical Child Support Order” or “QMCSO” is a Medical Child Support Order that creates or
recognizes the existence of an Alternate Recipient’s right to, or assigns to an Alternate Recipient the right to, receive
benefits for which a Participant or Eligible Dependent is entitled under this Plan. In order for such order to be a
QMCSO, it must clearly specify the following:

    1.   The name and last known mailing address (if any) of the Participant and the name and mailing address of
         each such Alternate Recipient covered by the order;
    2.   A reasonable description of the type of coverage to be provided by the Plan to each Alternate Recipient, or
         the manner in which such type of coverage is to be determined;
    3.   The period of coverage to which the order pertains; and
    4.   The name of this Plan.

In addition, a National Medical Support Notice shall be deemed a QMCSO if it:

    1.   Contains the information set forth above in the definition of “National Medical Support Notice”;

    2.   a.   Identifies either the specific type of coverage or all available group health coverage. If the Employer
              receives an NMSN that does not designate either specific type(s) of coverage or all available coverage,
              the Employer and the Plan Administrator will assume that all are designated;

         b.   Informs the Plan Administrator that, if a group health plan has multiple options and the participant is
              not enrolled, the issuing agency will make a selection after the NMSN is qualified, and, if the agency
              does not respond within 20 days, the child will be enrolled under the Plan’s default option (if any); and

    3.   Specifies that the period of coverage may end for the Alternate Recipient(s) only when similarly situated
         dependents are no longer eligible for coverage under the terms of the Plan, or upon the occurrence of
         certain specified events.

However, such an order need not be recognized as “qualified” if it requires the Plan to provide any type or form of
benefit, or any option, not otherwise provided to the Participants and Eligible Plan Participants without regard to this
section, except to the extent necessary to meet the requirements of a State law relating to medical child support
orders, as described in Social Security Act §1908 (as added by Omnibus Budget Reconciliation Act of 1993
§13822).

Upon receiving a Medical Child Support Order, the Plan Administrator shall, as soon as administratively possible:

    1.   Notify the Participant and each Alternate Recipient covered by the Order (at the address included in the
         Order) in writing of the receipt of such Order and the Plan’s procedures for determining whether the Order
         qualifies as a QMCSO; and

    2.   Make an administrative determination if the order is a QMCSO and notify the Participant and each affected
         Alternate Recipient of such determination.

Upon receiving a National Medical Support Notice, the Plan Administrator shall:

    1.   Notify the State agency issuing the notice with respect to the child whether coverage of the child is available
         under the terms of the Plan and, if so:

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         a.   Whether the child is covered under the Plan; and
         b.   Either the effective date of the coverage or, if necessary, any steps to be taken by the custodial parent
              or by the official of a State or political subdivision to effectuate the coverage; and

    2.   Provide to the custodial parent (or any State official serving in a substitute capacity) a description of the
         coverage available and any forms or documents necessary to effectuate such coverage.

To give effect to this requirement, the Plan Administrator shall:

    1.   Establish reasonable, written procedures for determining the qualified status of a Medical Child Support
         Order or National Medical Support Notice; and

    2.   Permit any Alternate Recipient to designate a representative for receipt of copies of the notices that are sent
         to the Alternate Recipient with respect to the Order.

5.06     Secondary Coverage
Participants who are eligible for secondary coverage by any other health plan are encouraged to obtain such
coverage. Failure to obtain secondary coverage may result in the Plan member incurring costs, which are not
covered by the Plan and which would otherwise be covered by the secondary coverage. The Plan will not pay for
any costs which would have been payable by such secondary coverage, except to the extent that such costs are
payable in any event by the Plan.

A provider that accepts the payment from the Plan will be deemed to consent and agree that (i) such payment shall be
for the full amount due for the provision of services and supplies to a Participant and (ii) it shall not “balance bill” a
Participant for any amount billed but not paid by the Plan.

5.07      Acquired Companies
Eligible Employees of an acquired company who are Actively at Work and were covered under the prior plan of the
acquired company will be eligible for the benefits under this Plan on the date of acquisition. Any waiting period
previously satisfied under the prior health plan will be applied toward satisfaction of the Service Waiting Period of
this Plan. In the event that an acquired company did not have a health plan, all eligible Employees will be eligible on
the date of the acquisition.

5.08     “GINA”
“GINA” prohibits group health plans, issuers of individual health care policies, and employers from discriminating
on the basis of genetic information.

The term “genetic information” means, with respect to any individual, information about:

    1.   Such individual’s genetic tests;
    2.   The genetic tests of family members of such individual; and
    3.   The manifestation of a disease or disorder in family members of such individual.

The term “genetic information” includes participating in clinical research involving genetic services. Genetic tests
would include analysis of human DNA, RNA, chromosomes, proteins, or metabolite that detect genotypes,
mutations, or chromosomal changes. Genetic information is a form of Protected Health Information (PHI) as defined
by and in accordance with the Health Insurance Portability and Accountability Act of 1996 (HIPAA), and is subject
to applicable Privacy and Security Standards.

Family members as it relates to GINA include dependents, plus all relatives to the fourth degree, without regard to
whether they are related by blood, marriage, or adoption. Underwriting as it relates to GINA includes any rules for
determining eligibility, computing premiums or contributions, and applying preexisting conditions. Offering reduced
premiums or other rewards for providing genetic information would be impermissible underwriting.



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GINA will not prohibit a health care Provider who is treating an individual from requesting that the patient undergo
genetic testing. The rules permit the Plan to obtain genetic test results and use them to make claims payment
determinations when it is necessary to do so to determine whether the treatment provided to the patient was
medically advisable and/or necessary.

The Plan may request, but not require, genetic testing in certain very limited circumstances involving research, so
long as the results are not used for underwriting, and then only with written notice to the individual that participation
is voluntary and will not affect eligibility for benefits, premiums or contributions. In addition, the Plan will notify
and describe its activity to the Health and Human Services secretary of its activities falling within this exception.

While the Plan may collect genetic information after initial enrollment, it may not do so in connection with any
annual renewal process where the collection of information affects subsequent enrollment. The Plan will not adjust
premiums or increase group contributions based upon genetic information, request or require genetic testing or
collect genetic information either prior to or in connection with enrollment or for underwriting purposes.

5.09     Effect of Section 125 Tax Regulations on This Plan
The Plan Administrator has chosen to administer this Plan in accordance with Section 125 regulations of the Internal
Revenue Code. Per this regulation, by enrolling in this plan, the Participant agrees to pretax salary reduction put
toward the cost of his or her benefits.

Coverage Elections: Per Section 125 regulations, Participants are generally allowed to enroll for or change Coverage
only during each annual enrollment period. However, exceptions are allowed if the Plan Administrator agrees and
the Participant enrolls for or changes coverage within 31 days of the date the Participant meets the criteria shown
below. The change must be consistent with the event.

Change of Status: A change in status is defined as:

            Change in legal marital status due to marriage, death of a spouse, or divorce;
            Change in number of dependents due to birth, adoption, placement for adoption, or death of a
             dependent;
            Change in employment status of employee, spouse or dependent due to termination or start of
             employment, strike, lockout, beginning or end of unpaid leave of absence, including under the Family
             and Medical Leave Act (FMLA), or change in worksite;
            Changes in employment status of employee, spouse or dependent resulting in eligibility or ineligibility
             for coverage;
            Changes which cause a dependent to become eligible or ineligible for coverage; and
            Change in residence from the network coverage area.

Court Order: A change in Coverage due to and consistent with a court order of the Employee or other person to
cover a Dependent.

Medicare or Medicaid Eligibility/Entitlement: The Employee, Spouse or Dependent cancels or reduces Coverage
due to entitlement to Medicare or Medicaid, or enrolls or increases Coverage due to loss of Medicare or Medicaid
eligibility. The Employee or Dependent must request to enroll or cancel Coverage within 60 days after the Employee
or Dependent is terminated from, or determined to be eligible, for such assistance.

Children’s Health Insurance Program (CHIP): Employees and Dependents who are eligible but not enrolled for
Coverage may enroll if: 1) the Employee’s or Dependent’s Medicaid or CHIP coverage is terminated as a result of
loss of eligibility; or 2) the Employee or Dependent becomes eligible for a subsidy under Medicaid or CHIP. The
Employee or Dependent must request to enroll or cancel Coverage within 60 days after the Employee or Dependent
is terminated from, or determined to be eligible, for such assistance.




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Change in Cost of Coverage: If the cost of benefits increases or decreases during a benefit period, the Plan
Administrator may, in accordance with plan terms, automatically change the Participant’s elective contribution.

When the change in cost is significant, the Participant may either increase his or her contribution or elect less-costly
coverage. When a significant overall reduction is made to the benefit option the Participant has elected, the
Participant may elect another available benefit option. When a new benefit option is added, the Participant may
change his or her election to the new benefit option.

Changes in Coverage of Spouse or Dependent Under Another Employer’s Plan: The Participant may make a
Coverage election change if the plan of the Participant’s Spouse or Dependent: (a) incurs a change such as adding or
deleting a benefit option; (b) allows election changes due to Special Enrollment, Change in Status, Court Order or
Medicare or Medicaid Eligibility/Entitlement; or (c) this Plan and the other plan have different periods of Coverage
or open enrollment periods.

Revocation Due to Reduction in Hours: The Participant may revoke coverage under this Plan if he or she
experiences a change in employment status so that the Participant is reasonably expected to average less than 30
hours of service per week, even if such a change does not cause the Participant to be ineligible, and the revocation of
the election of coverage corresponds to the intended enrollment of the Participant and his or her dependents in
another plan that provides minimum essential coverage with an effective date no later than the first day of the second
month following the date coverage under this Plan is revoked.

Revocation Due to Enrollment in a Qualified Health Plan: The Participant may revoke coverage under this Plan
if he or she is eligible for a Special Enrollment Period in a Qualified Health Plan through a Marketplace or the
Participant seeks to enroll in a Qualified Health Plan through a Marketplace during the Marketplace’s annual open
enrollment period and the revocation of the election of coverage corresponds to the intended enrollment of the
Participant and his or her dependents in a Qualified Health Plan through a Marketplace for new coverage with an
effective date no later then the day immediately following the last day of coverage under this Plan.

There may be additional situations that qualify for a special enrollment opportunity. Contact the Plan Administrator
for additional details.




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                                           ARTICLE VI
                                    TERMINATION OF COVERAGE
6.01     Termination Dates of Individual Coverage
The coverage of any Employee for himself or herself under this Plan will terminate on the earliest to occur of the
following dates:

    1.   The date of termination of the Plan;
    2.   The date of the expiration of the last period for which the Employee has made a contribution, in the event of
         his or her failure to make, when due, any contribution for coverage for himself or herself to which he or she
         has agreed in writing;
    3.   The date of the month in which he or she ceases to be eligible for such coverage under the Plan;
    4.   The date and time of the month in which the termination of employment occurs; or
    5.   Immediately after an Employee or his or her Dependent submits, or has knowledge of the submission of, a
         fraudulent claim or any fraudulent information to the Plan, including enrollment information.

6.02     Termination Dates of Dependent Coverage
The coverage for any Dependents of any Employee who are covered under the Plan will terminate on the earliest to
occur of the following dates:

    1.   The date of termination of the Plan;
    2.   Upon the discontinuance of coverage for Dependents under the Plan;
    3.   The date of termination of the Employee’s coverage for himself or herself under the Plan;
    4.   The date of the expiration of the last period for which the Employee has made a contribution, in the event of
         his or her failure to make, when due, any contribution for coverage for Dependents to which he or she has
         agreed in writing;
    5.   In the case of a Child age 26 or older for whom coverage is being continued due to mental or physical
         inability to earn his or her own living, the earliest to occur of:
              a. Cessation of such inability;
              b. Failure to furnish any required proof of the uninterrupted continuance of such inability or to submit
                   to any required examination; or
              c. Upon the Child’s no longer being dependent on the Employee for his or her support;
    6.   The day immediately preceding the date such person ceases to be a Dependent, as defined herein, except for
         termination due to age in which case coverage shall end the date the Dependent Child reaches age 26; or
    7.   Immediately after an Employee or his or her Dependent submits, or has knowledge of the submission of, a
         fraudulent claim or any fraudulent information to the Plan, including enrollment information.

6.03     Certificates of Coverage
The Plan will provide, a Certificate of Coverage upon request, at any time while the individual is covered under a
plan and up to 24 months after the individual loses coverage under the Plan.

6.04     Prohibition on Rescission
The Plan will not rescind coverage for Covered Persons. This provision does not apply to cases where the Covered
Person has engaged in fraud or made an intentional misrepresentation of material fact and advance notice of
rescission is made by the Plan.




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                                          ARTICLE VII
                                   CONTINUATION OF COVERAGE
7.01    Employer Continuation Coverage
Coverage will be continued for eligible Participants should the following occur:

    1.   In the event of Total Disability, coverage will continue for 3 months following termination of Active
         Employment or as determined by company policy; or
    2.   In the event of a leave of absence which does not meet the requirements of FMLA Leave, coverage will
         continue to the end of the period for which the Participant has made any required contribution.

7.02     Continuation During FMLA Leave
Regardless of the established leave policies mentioned above, the Plan shall at all times comply with FMLA. During
any leave taken under FMLA, the Employee will maintain coverage under this Plan on the same conditions as
coverage would have been provided if the covered Employee had been continuously employed during the entire
leave period.

The Family and Medical Leave Act is a Federal law that applies, generally, to employers with 50 or more
Employees, and provides that an eligible Employee may elect to continue coverage under this Plan during a period of
approved FMLA Leave at the same cost as if the leave had not been taken.

If provisions under the Plan change while an Employee is on FMLA Leave, the changes will be effective for him or
her on the same date as they would have been had he or she not taken leave.

7.02A Eligible Employees
Employees are eligible for FMLA Leave if all of the following conditions are met:

    1.   The Employee has been employed with the Participating Employer for at least 12 months;
    2.   The Employee has been employed with the Participating Employer at least 1,250 hours during the 12
         consecutive months prior to the request for FMLA Leave; and
    3.   The Employee is employed at a worksite that employs at least 50 employees within a 75-mile radius.

7.02B Qualifying Circumstances for FMLA Leave
Coverage under FMLA Leave is limited to a total of 12 workweeks during any 12-month period that follows:

    1.   The birth of, and to care for, a Son or Daughter;
    2.   The placement of a Child with the Employee for adoption or foster care;
    3.   The Employee’s taking leave to care for his or her Spouse, Son or Daughter, or Parent who has a Serious
         Health Condition;
    4.   The Employee’s taking leave due to a Serious Health Condition which makes him or her unable to perform
         the functions of his or her position; or,
    5.   A Qualifying Exigency arising out of the fact that a Spouse, Son, Daughter, or Parent of the Employee is a
         member of a regular or reserve component of the Armed Forces and is on (or has been notified of
         impending call to) covered active duty.

Coverage under FMLA Leave is limited to a total of 26 workweeks during any 12-month period for the following
situations:

    1.   To care for a service member following a Serious Illness or Injury to that service member, when the
         Employee is that service member’s Spouse, Son or Daughter, Parent, or Next of Kin; or
    2.   To care for a veteran who is undergoing medical treatment, recuperation, or therapy for a Serious Illness or
         Injury that occurred any time during the five years preceding the date of treatment, when the Employee is
         that veteran’s Spouse, Son or Daughter, Parent, or Next of Kin.



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This leave may be considered as a paid (accrued vacation time, personal leave or family or sick leave, as applicable)
or unpaid leave. The Participating Employer has the right to require that all paid leave be used prior to providing
any unpaid leave.

An Employee must continue to pay his or her portion of the Plan contribution, if any, during the FMLA Leave.
Payment must be made within 30 days of the due date established by the Plan Administrator. If payment is not
received, coverage will terminate on the last date for which the contribution was received in a timely manner.

7.02C Notice Requirements
An Employee must provide at least 30 days’ notice to his or her Participating Employer prior to beginning any leave
under FMLA. If the nature of the leave does not permit such notice, the Employee must provide notice of the leave
as soon as possible. The Participating Employer has the right to require medical certification to support the
Employee’s request for leave due to a Serious Health Condition for the Employee or his or her eligible family
members.

7.02D Length of Leave
During any one 12-month period, the maximum amount of FMLA Leave may not exceed 12 workweeks for most
FMLA related situations. The maximum periods for an Employee who is the primary care giver of a service member
with a Serious Illness or Injury that was Incurred in the line of active duty may take up to 26 weeks of FMLA Leave
in a single 12-month period to care for that service member. The Participating Employer may use any of four
methods for determining this 12-month period.

If the Employee and his or her Spouse are both employed by the Participating Employer, FMLA Leave may be
limited to a combined period of 12 workweeks, for both Spouses, when FMLA Leave is due to:

    1.   The birth or placement for adoption or foster care of a Child; or
    2.   The need to care for a Parent who has a Serious Health Condition.

7.02E Termination of FMLA Leave
Coverage may end before the maximum 12-week (or 26-week) period under the following circumstances:

    1.   When the Employee informs his or her Participating Employer of his or her intent not to return from leave;
    2.   When the employment relationship would have terminated but for the leave (such as during a reduction in
         force);
    3.   When the Employee fails to return from the leave;
    4.   If any required Plan contribution is not paid within 30 days of its due date;
    5.   The Participating Employer and/or Plan Administrator is advised and/or determines that no FMLA
         Qualifying Circumstance occurred.

If an Employee does not return to work when coverage under FMLA Leave ends, he or she will be eligible for
COBRA continuation of coverage at that time, in accordance with the parameters set forth by this Plan and applicable
law.

7.02F Recovery of Plan Contributions
The Participating Employer has the right to recover the portion of the Plan contributions it paid to maintain coverage
under the Plan during an unpaid FMLA Leave if an Employee does not return to work at the end of the leave. This
right will not apply if failure to return is due to the continuation, recurrence or onset of a Serious Health Condition
that entitles the Employee to FMLA Leave (in which case the Participating Employer may require medical
certification) or other circumstances beyond the Employee’s control.

7.02G Reinstatement of Coverage
The law requires that coverage be reinstated upon the Employee’s return to work following an FMLA Leave whether
or not the Employee maintained coverage under the Plan during the FMLA Leave.




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On reinstatement, all provisions and limits of the Plan will apply as they would have applied if FMLA Leave had not
been taken. The Service Waiting Period will be credited as if the Employee had been continually covered under the
Plan.

7.02H Definitions
For this provision only, the following terms are defined as stated.

“Next of Kin”
“Next of Kin” shall mean the nearest blood relative to the service member.

“Parent”
“Parent” shall mean the Employee’s biological parent or someone who has acted as his or her parent in place of his
or her biological parent when he or she was a Son or Daughter.

“Qualifying Exigency”
“Qualifying Exigency” shall mean:

    1.   Short-notice deployment.

         a.   To address any issue that arises from the fact that a covered military member is notified seven or less
              calendar days prior to the date of deployment of an impending call or order to active duty in support of
              a contingency operation; and
         b.   Leave taken for this purpose can be used for a period of seven calendar days beginning on the date a
              covered military member is notified of an impending call or order to active duty in support of a
              contingency operation;

    2.   Military events and related activities.

         a.   To attend any official ceremony, program, or event sponsored by the military that is related to the active
              duty or call to active duty status of a covered military member; and
         b.   To attend family support or assistance programs and informational briefings sponsored or promoted by
              the military, military service organizations, or the American Red Cross that are related to the active duty
              or call to active duty status of a covered military member;

    3.   Childcare and school activities.

         a.   To arrange for alternative childcare when the active duty or call to active duty status of a covered
              military member necessitates a change in the existing childcare arrangement for a biological, adopted, or
              foster Child, a stepchild, or a legal ward of a covered military member, or a Child for whom a covered
              military member stands in loco parentis, who is either under age 18, or age 18 or older and incapable of
              self-care because of a mental or physical disability at the time that FMLA Leave is to commence;
         b.   To provide childcare on an urgent, immediate need basis (but not on a routine, regular, or everyday
              basis) when the need to provide such care arises from the active duty or call to active duty status of a
              covered military member for a biological, adopted, or foster Child, a stepchild, or a legal ward of a
              covered military member, or a Child for whom a covered military member stands in loco parentis, who
              is either under age 18, or age 18 or older and incapable of self-care because of a mental or physical
              disability at the time that FMLA Leave is to commence;
         c.   To enroll in or transfer to a new school or daycare facility, a biological, adopted, or foster Child, a
              stepchild, or a legal ward of the covered military member, or a Child for whom the covered military
              member stands in loco parentis, who is either under age 18, or age 18 or older and incapable of self-care
              because of a mental or physical disability at the time that FMLA Leave is to commence, when
              enrollment or transfer is necessitated by the active duty or call to active duty status of a covered military
              member; and
         d.   To attend meetings with staff at a school or a daycare facility, such as meetings with school officials
              regarding disciplinary measures, parent-teacher conferences, or meetings with school counselors, for a

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              biological, adopted, or foster Child, a stepchild, or a legal ward of the covered military member, or a
              Child for whom the covered military member stands in loco parentis, who is either under age 18, or age
              18 or older and incapable of self-care because of a mental or physical disability at the time that FMLA
              Leave is to commence, when such meetings are necessary due to circumstances arising from the active
              duty or call to active duty status of a covered military member;

    4.   Financial and legal arrangements. To make or update financial or legal arrangements to address the covered
         military member’s absence while on active duty or call to active duty status, such as preparing and
         executing financial and healthcare powers of attorney, transferring bank account signature authority,
         enrolling in the Defense Enrollment Eligibility Reporting System (DEERS), obtaining military
         identification cards, or preparing or updating a will or living trust; and

    5.   Counseling. To attend counseling provided by someone other than a health care Provider for oneself, for
         the covered military member, or for the biological, adopted, or foster Child, a stepchild, or a legal ward of
         the covered military member, or a Child for whom the covered military member stands in loco parentis, who
         is either under age 18, or age 18 or older and incapable of self-care because of a mental or physical
         disability at the time that FMLA Leave is to commence, provided that the need for counseling arises from
         the active duty or call to active duty status of a covered military member;

    6.   Post-deployment activities.

         a.   To attend arrival ceremonies, reintegration briefings and events, and any other official ceremony or
              program sponsored by the military for a period of 90 days following the termination of the covered
              military member’s active duty status; and
         b.   To address issues that arise from the death of a covered military member while on active duty status,
              such as meeting and recovering the body of the covered military member and making funeral
              arrangements; and

    7.   Additional activities. To address other events which arise out of the covered military member’s active duty
         or call to active duty status provided that the Participating Employer and Employee agree that such leave
         shall qualify as an exigency, and agree to both the timing and duration of such leave.

“Serious Health Condition”
“Serious Health Condition” shall mean an Illness, Injury, impairment, or physical or mental condition that involves:

    1.   Inpatient care in a Hospital, hospice, or residential medical facility; or
    2.   Continuing treatment by a health care Provider (a doctor of medicine or osteopathy who is authorized to
         practice medicine or Surgery, as appropriate, by the State in which the doctor practices, or any other person
         determined by the Secretary of Labor to be capable of providing health care services).

“Serious Illness or Injury”
“Serious Illness or Injury” shall mean an Illness or Injury Incurred in the line of duty that may render the service
member medically unfit to perform his or her military duties.

“Son or Daughter”
“Son or Daughter” shall mean the Employee’s biological child, adopted child, stepchild, foster child, a child placed
in the Employee’s legal custody, or a child for which the Employee is acting as the parent in place of the child’s
natural blood related parent.

“Spouse”
“Spouse” shall mean an Employee’s husband or wife.

NOTE: For complete information regarding FMLA rights, contact the Participating Employer.




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7.03     Continuation During USERRA
Participants who are absent from employment because they are in the Uniformed Services may elect to continue their
coverage under this Plan for up to 24 months. If a Participant elected to continue coverage under USERRA before
December 10, 2004, the maximum period for continuing coverage is 18 months. To continue coverage, Participants
must comply with the terms of the Plan, including election during the Plan’s annual enrollment period, and pay their
contributions, if any. In addition, USERRA also requires that, regardless of whether a Participant elected to continue
his or her coverage under the Plan, his or her coverage and his or her dependents’ coverage be reinstated
immediately upon his or her return to employment, so long as he or she meets certain requirements contained in
USERRA. Participants should contact their participating employer for information concerning their eligibility for
USERRA and any requirements of the Plan.

7.04     Continuation During COBRA – Introduction
The right to this form of continued coverage was created by a Federal law, under the Consolidated Omnibus Budget
Reconciliation Act of 1985, as amended (“COBRA”). COBRA Continuation Coverage can become available to
Participants when they otherwise would lose their group health coverage. It also can become available to other
members of the Participants family who are covered under the Plan when they otherwise would lose their group
health coverage. The entire cost (plus a reasonable administration fee) must be paid by the person. Coverage will
end in certain instances, including if the Participant or their covered dependents fail to make timely payment of
contributions or premiums. Participants should check with their employer to see if COBRA applies to them and/or
their covered dependents.

7.04A COBRA Continuation Coverage
 “COBRA Continuation Coverage” is a continuation of Plan coverage when coverage otherwise would end because
of a life event known as a “Qualifying Event.” Life insurance, accidental death and dismemberment benefits and
weekly income or long-term disability benefits (if a part of the employer’s plan) are not considered for continuation
under COBRA.

7.04B Qualifying Events
Specific Qualifying Events are listed below. After a Qualifying Event, COBRA Continuation Coverage must be
offered to each person who is a “Qualified Plan Participant.” The Employee, the Employee’s spouse, and the
Employee’s dependent children could become Qualified Plan Participants if coverage under the Plan is lost because
of the Qualifying Event.

A covered Employee (meaning an employee covered under the Plan) will become a Qualified Plan Participant if he
or she loses his or her coverage under the Plan because either one of the following Qualifying Events happens:

    1.   The hours of employment are reduced; or
    2.   The employment ends for any reason other than gross misconduct.

The spouse of a covered Employee will become a Qualified Plan Participant if he or she loses his or her coverage
under the Plan because any of the following Qualifying Events happens:

    1.   The spouse dies;
    2.   The spouse’s hours of employment are reduced;
    3.   The spouse’s employment ends for any reason other than his or her gross misconduct;
    4.   The spouse becomes entitled to Medicare benefits (under Part A, Part B, or both); or
    5.   The spouse becomes divorced or legally separated from his or her spouse.

Dependent children will become Qualified Plan Participants if they lose coverage under the Plan because any of the
following Qualifying Events happens:

    1.   The parent-covered Employee dies;
    2.   The parent-covered Employee’s hours of employment are reduced;
    3.   The parent-covered Employee’s employment ends for any reason other than his or her gross misconduct;
    4.   The parent-covered Employee becomes entitled to Medicare benefits (Part A, Part B, or both);

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    5.   The parents become divorced or legally separated; or
    6.   The child stops being eligible for coverage under the Plan as a Dependent Child.

If a proceeding in bankruptcy is filed with respect to Gilster-Mary Lee Corporation, and that bankruptcy results in
the loss of coverage of any retired employee, spouse, surviving spouse, and Dependent Children covered under the
Plan, such member will become a Qualified Plan Participant with respect to the bankruptcy.

7.04C Employer Notice of Qualifying Events
When the Qualifying Event is the end of employment (for reasons other than gross misconduct), reduction of hours
of employment, death of the covered Employee, or the covered Employee’s becoming entitled to Medicare benefits
(under Part A, Part B, or both), the Employer must notify the Third Party Administrator of the Qualifying Event.

7.04D Employee Notice of Qualifying Events
Each covered Employee or Qualified Plan Participant is responsible for providing the Plan Administrator with the
following notices, in writing, by U.S. First Class Mail:

    1.   Notice of the occurrence of a Qualifying Event that is a divorce or legal separation of a covered Employee
         (or former employee) from his or her spouse;
    2.   Notice of the occurrence of a Qualifying Event that is an individual’s ceasing to be eligible as a Dependent
         Child under the terms of the Plan;
    3.   Notice of the occurrence of a second Qualifying Event after a Qualified Plan Participant has become
         entitled to COBRA Continuation Coverage with a maximum duration of 18 (or 29) months;
    4.   Notice that a Qualified Plan Participant entitled to receive Continuation Coverage with a maximum duration
         of 18 months has been determined by the Social Security Administration (“SSA”) to be disabled at any time
         during the first 60 days of Continuation Coverage; and
    5.   Notice that a Qualified Plan Participant, with respect to whom a notice described above has been provided,
         has subsequently been determined by the SSA to no longer be disabled.

The Third Party Administrator is:

         HealthSCOPE Benefits
         P.O. Box 2459
         Little Rock, AR 72203

A form of notice is available, free of charge, from the Third Party Administrator and must be used when providing
the notice.

7.04E Deadline for providing the notice
For Qualifying Events described above, the notice must be furnished by the date that is 60 days after the latest of:

    1.   The date on which the relevant Qualifying Event occurs;
    2.   The date on which the Qualified Plan Participant loses (or would lose) coverage under the Plan as a result
         of the Qualifying Event; or
    3.   The date on which the Qualified Plan Participant is informed, through the furnishing of the Plan’s SPD or
         the general notice, of both the responsibility to provide the notice and the Plan’s procedures for providing
         such notice to the Third Party Administrator.

For the disability determination described above, the notice must be furnished by the date that is 60 days after the
latest of:

    1.   The date of the disability determination by the SSA;
    2.   The date on which a Qualifying Event occurs;
    3.   The date on which the Qualified Plan Participant loses (or would lose) coverage under the Plan as a result
         of the Qualifying Event; or



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    4.   The date on which the Qualified Plan Participant is informed, through the furnishing of the Plan’s SPD or
         the general notice, of both the responsibility to provide the notice and the Plan’s procedures for providing
         such notice to the Third Party Administrator.

In any event, this notice must be furnished before the end of the first 18 months of Continuation Coverage.

For a change in disability status described above, the notice must be furnished by the date that is 30 days after the
later of:

    1.   The date of the final determination by the SSA that the Qualified Plan Participant is no longer disabled; or
    2.   The date on which the Qualified Plan Participant is informed, through the furnishing of the Plan’s SPD or
         the general notice, of both the responsibility to provide the notice and the Plan’s procedures for providing
         such notice to the Third Party Administrator.

The notice must be postmarked by the deadline set forth above. If the notice is late, the opportunity to elect or
extend COBRA Continuation Coverage is lost, and if the person is electing COBRA Continuation Coverage, his
or her coverage under the Plan will terminate on the last date for which he or she is eligible under the terms of
the Plan, or if the person is extending COBRA Continuation Coverage, such Coverage will end on the last day of
the initial 18-month COBRA coverage period.

7.04F Who Can Provide the Notice
Any individual who is the covered Employee (or former employee), a Qualified Plan Participant with respect to the
Qualifying Event, or any representative acting on behalf of the covered Employee (or former employee) or Qualified
Plan Participant, may provide the notice, and the provision of notice by one individual shall satisfy any responsibility
to provide notice on behalf of all related Qualified Plan Participants with respect to the Qualifying Event.

7.04G Required Contents of the Notice
The notice must contain the following information:

    1.  Name and address of the covered Employee or former employee;
    2.  Identification of the initial Qualifying Event and its date of occurrence, if the person is already receiving
        COBRA Continuation Coverage and wishes to extend the maximum coverage period;
    3. A description of the Qualifying Event (for example, divorce, legal separation, cessation of dependent status,
        entitlement to Medicare by the covered Employee or former employee, death of the covered Employee or
        former employee, disability of a Qualified Plan Participant or loss of disability status);
    4. In the case of a Qualifying Event that is divorce or legal separation, name(s) and address(es) of spouse and
        dependent child(ren) covered under the Plan, date of divorce or legal separation, and a copy of the decree of
        divorce or legal separation;
    5. In the case of a Qualifying Event that is Medicare entitlement of the covered Employee or former employee,
        date of entitlement, and name(s) and address(es) of spouse and Dependent child(ren) covered under the
        Plan;
    6. In the case of a Qualifying Event that is a Dependent Child’s cessation of Dependent status under the Plan,
        name and address of the Child, reason the Child ceased to be an eligible Dependent (for example, attained
        limiting age, lost student status, married or other);
    7. In the case of a Qualifying Event that is the death of the covered Employee or former employee, the date of
        death, and name(s) and address(es) of spouse and Dependent Child(ren) covered under the Plan;
    8. In the case of a Qualifying Event that is disability of a Qualified Plan Participant, name and address of the
        disabled Qualified Plan Participant, name(s) and address(es) of other family members covered under the
        Plan, the date the disability began, the date of the SSA’s determination, and a copy of the SSA’s
        determination;
    9. In the case of a Qualifying Event that is loss of disability status, name and address of the Qualified Plan
        Participant who is no longer disabled, name(s) and address(es) of other family members covered under the
        Plan, the date the disability ended and the date of the SSA’s determination; and
    10. A certification that the information is true and correct, a signature and date.



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If a copy of the decree of divorce or legal separation or the SSA’s determination cannot be provided by the deadline
for providing the notice, complete and provide the notice, as instructed, by the deadline and submit the copy of the
decree of divorce or legal separation or the SSA’s determination within 30 days after the deadline. The notice will
be timely if done so. However, no COBRA Continuation Coverage, or extension of such Coverage, will be available
until the copy of the decree of divorce or legal separation or the SSA’s determination is provided.

If the notice does not contain all of the required information, the Third Party Administrator may request additional
information. If the individual fails to provide such information within the time period specified by the Third Party
Administrator in the request, the Plan Administrator may reject the notice if it does not contain enough information
for the Plan Administrator to identify the plan, the covered Employee (or former employee), the Qualified Plan
Participants, the Qualifying Event or disability, and the date on which the Qualifying Event, if any, occurred.

7.04H Electing COBRA Continuation Coverage
Complete instructions on how to elect COBRA Continuation Coverage will be provided by the Third Party
Administrator within 14 days of receiving the notice of the Qualifying Event. The individual then has 60 days in
which to elect COBRA Continuation Coverage. The 60-day period is measured from the later of the date coverage
terminates and the date of the notice containing the instructions. If COBRA Continuation Coverage is not elected in
that 60-day period, then the right to elect it ceases.

Each Qualified Plan Participant will have an independent right to elect COBRA Continuation Coverage. Covered
Employees may elect COBRA Continuation Coverage on behalf of their spouses, and parents may elect COBRA
Continuation Coverage on behalf of their children.

In the event that the Plan Administrator determines that the individual is not entitled to COBRA Continuation
Coverage, the Third Party Administrator will provide to the individual an explanation as to why he or she is not
entitled to COBRA Continuation Coverage.

7.04I Duration of COBRA Continuation Coverage
COBRA Continuation Coverage will be available up to the maximum time period shown below. Generally, multiple
Qualifying Events which may be combined under COBRA will not continue coverage for more than 36 months
beyond the date of the original Qualifying Event. When the Qualifying Event is “entitlement to Medicare,” the
36-month continuation period is measured from the date of the original Qualifying Event. For all other Qualifying
Events, the continuation period is measured from the date of the Qualifying Event, not the date of loss of coverage.

When the Qualifying Event is the death of the covered Employee (or former employee), the covered Employee’s (or
former employee’s) becoming entitled to Medicare benefits (under Part A, Part B, or both), a divorce or legal
separation, or a Dependent Child’s losing eligibility as a Dependent Child, COBRA Continuation Coverage lasts for
up to a total of 36 months.

When the Qualifying Event is the end of employment or reduction of the covered Employee’s hours of employment,
and the covered Employee became entitled to Medicare benefits less than 18 months before the Qualifying Event,
COBRA Continuation Coverage for Qualified Plan Participants other than the covered Employee lasts until 36
months after the date of Medicare entitlement. For example, if a covered Employee becomes entitled to Medicare
eight months before the date on which his or her employment terminates, COBRA Continuation Coverage for his or
her spouse and children can last up to 36 months after the date of Medicare entitlement, which is equal to 28 months
after the date of the Qualifying Event (36 months minus 8 months).

Otherwise, when the Qualifying Event is the end of employment (for reasons other than gross misconduct) or
reduction of the covered Employee’s hours of employment, COBRA Continuation Coverage generally lasts for only
up to a total of 18 months. There are two ways in which this 18-month period of COBRA Continuation Coverage
can be extended.

7.04J Disability Extension of COBRA Continuation Coverage
If an Employee or anyone in an Employee’s family covered under the Plan is determined by the SSA to be disabled
and the Employee notifies the Third Party Administrator as set forth above, the Employee and his or her entire

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family may be entitled to receive up to an additional 11 months of COBRA Continuation Coverage, for a total
maximum of 29 months. The disability would have to have started at some time before the 60 th day of COBRA
Continuation Coverage and must last at least until the end of the 18-month period of COBRA Continuation
Coverage. An extra fee will be charged for this extended COBRA Continuation Coverage.

7.04K Second Qualifying Event Extension of COBRA Continuation Coverage
If an Employee’s family experiences another Qualifying Event while receiving 18 months of COBRA Continuation
Coverage, the spouse and Dependent Children in the family can get up to 18 additional months of COBRA
Continuation Coverage, for a maximum of 36 months, if notice of the second Qualifying Event properly is given to
the Plan as set forth above. This extension may be available to the spouse and any Dependent Children receiving
COBRA Continuation Coverage if the covered Employee or former employee dies, becomes entitled to Medicare
benefits (under Part A, Part B, or both), or gets divorced or legally separated, or if the Dependent Child stops being
eligible under the Plan as a Dependent Child, but only if the event would have caused the spouse or Dependent Child
to lose coverage under the Plan had the first Qualifying Event not occurred.

7.04L Shorter Duration of COBRA Continuation Coverage
COBRA Continuation Coverage also may end before the end of the maximum period on the earliest of the following
dates:

    1.   The date the employer ceases to provide a group health plan to any employee;
    2.   The date on which coverage ceases by reason of the Qualified Plan Participant’s failure to make timely
         payment of any required contributions or premium;
    3.   The date that the Qualified Plan Participant first becomes, after the date of election, covered under any
         other group health plan (as an employee or otherwise), or entitled to either Medicare Part A or Part B
         (whichever comes first) except as stated under COBRA’s special bankruptcy rules; or
    4.   The first day of the month that begins more than 30 days after the date of the SSA’s determination that the
         Qualified Plan Participant is no longer disabled, but in no event before the end of the maximum coverage
         period that applied without taking into consideration the disability extension.

7.04M Contribution and/or Premium Requirements
Once COBRA Continuation Coverage is elected, the individual must pay for the cost of the initial period of coverage
within 45 days. Payments then are due on the first day of each month to continue coverage for that month. If a
payment is not received within 30 days of the due date, COBRA Continuation Coverage will be canceled and will
not be reinstated.

7.05    Additional Information
Additional information about the Plan and COBRA Continuation Coverage is available from the Plan Administrator,
who is:

         Gilster-Mary Lee Corporation
         Plan Administrator
         1037 State Street
         Chester, IL 62233
         618-826-2361

For more information about a Participant’s rights under the Employee Retirement Income Security Act (ERISA),
including COBRA, the Affordable Care Act, and other laws affecting group health plans, contact the nearest
Regional or District Office of the U.S. Department of Labor’s Employee Benefits Security Administration (EBSA)
or visit www.dol.gov/ebsa. (Addresses and phone numbers of Regional and District EBSA Offices are available
through EBSA’s website.) For more information about the Marketplace, visit www.HealthCare.gov.

7.06      Current Addresses
In order to protect the rights of the Employee’s family, the Employee should keep the Plan Administrator (who is
identified above) informed of any changes in the addresses of family members.



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                                      ARTICLE VIII
                           GENERAL LIMITATIONS AND EXCLUSIONS
This section applies to all benefits provided under any section of this Plan. This Plan does not cover any charge for
care, supplies, treatment, and/or services:

Complications of Non-Covered Treatments. Care, services or treatment required as a result of complications from
a treatment not covered under the Plan; unless specified as covered herein;

Custodial Care. That do not restore health, unless specifically mentioned otherwise;

Deductible Applicable.      That are not payable due to the application of any specified Deductible provisions
contained herein;

Error. That are required to treat injuries that are sustained or an illness that is contracted, including infections and
complications, while the Plan Participant was under, and due to, the care of a Provider wherein such illness, injury,
infection or complication is not reasonably expected to occur. This exclusion will apply to expenses directly or
indirectly resulting from the circumstances of the course of treatment that, in the opinion of the Plan Administrator,
in its sole discretion, unreasonably gave rise to the expense;

Excess. That are not payable under the Plan due to application of any Plan maximum or limit or because the
charges are in excess of the Usual and Customary amount, or are for services not deemed to be Reasonable or
Medically Necessary, based upon the Plan Administrator’s determination as set forth by and within the terms of this
document;

Experimental. That are Experimental or Investigational;

Government. That are expenses to the extent paid, or which the Participant is entitled to have paid or obtain
without cost, in accordance with the laws or regulations of any government;

Illegal acts. For services and supplies incurred as a result of an Illness or Injury, caused by or contributed to by
engaging in an illegal act, by committing or attempting to commit a crime or by participating in a riot or public
disturbance;

Incurred by Other Persons. For expenses actually incurred by other persons;

Medical Necessity. That are not Medically Necessary;

Medicare. For benefits that are provided, or which would have been provided had the Participant enrolled, applied
for, or maintained eligibility for such care and service benefits, under Title XVIII of the Federal Social Security Act
of 1965 (Medicare), including any amendments thereto, or under any Federal law or regulation, except as provided
in the sections entitled “Coordination of Benefits” and “Medicare;”

Negligence. For Injuries resulting from negligence, misfeasance, malfeasance, nonfeasance or malpractice on the
part of any licensed Physician;

No Legal Obligation. That are provided to a Participant for which the Provider of a service customarily makes no
direct charge, or for which the Participant is not legally obligated to pay, or for which no charges would be made in
the absence of this coverage, including but not limited to fees, care, supplies, or services for which a person,
company or any other entity except the Participant or this benefit plan, may be liable for necessitating the fees, care,
supplies, or services;

Not Acceptable.      That are not accepted as standard practice by the AMA, ADA, or the Food and Drug
Administration;


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Not Actually Rendered. That are not actually rendered;

Not Specifically Covered. That are not specifically covered under this Plan;

Occupational. For any condition, Illness, Injury or complication thereof arising out of or in the course of
employment, including self-employment, or an activity for wage or profit where workers’ compensation or another
form of occupational injury medical coverage is available;

Participant Liability Waived. For charges in connection with a claim where the Participant does not meet his or
her cost-sharing responsibility (i.e. copay, deductible or coinsurance). This exclusion applies regardless of whether
the Provider charges or attempts to collect the Participant's cost-sharing responsibility.

Prior to Coverage. That are rendered or received prior to or after any period of coverage hereunder, except as
specifically provided herein;

Prohibited by Law. To the extent that payment under this Plan is prohibited by law;

Provider Error. Required as a result of unreasonable provider error;

Subrogation, Reimbursement, and/or Third Party Responsibility. Of an Injury or Sickness not payable by virtue
of the Plan’s subrogation, reimbursement, and/or third party responsibility provisions; and

War. Incurred as a result of war or any act of war, whether declared or undeclared, or any act of aggression, when
the Participant is a member of the armed forces of any Country, or during service by a Participant in the armed forces
of any Country. This exclusion does not apply to any Participant who is not a member of the armed forces.

  With respect to any Injury which is otherwise covered by the Plan, the Plan will not deny benefits otherwise
provided for treatment of the Injury if the Injury results from an act of domestic violence or a medical condition.




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                                              ARTICLE IX
                                         PLAN ADMINISTRATION
The Plan is administered by the Plan Administrator. The Plan Administrator has retained the services of the Third
Party Administrator to provide certain claims processing and other technical services.

9.01     Plan Administrator
The Plan is administered by the Plan Administrator within the purview of ERISA, and in accordance with these
provisions. An individual or entity may be appointed by the Plan Sponsor to be Plan Administrator and serve at the
convenience of the Plan Sponsor. If the Plan Administrator resigns, dies, is otherwise unable to perform, is
dissolved, or is removed from the position, the Plan Sponsor shall appoint a new Plan Administrator as soon as
reasonably possible.

The Plan Administrator shall administer this Plan in accordance with its terms and establish its policies,
interpretations, practices, and procedures. It is the express intent of this Plan that the Plan Administrator shall have
maximum legal discretionary authority to construe and interpret the terms and provisions of the Plan, to make
determinations regarding issues which relate to eligibility for benefits (including the determination of what services,
supplies, care and treatments are Experimental), to decide disputes which may arise relative to a Participant’s rights,
and to decide questions of Plan interpretation and those of fact relating to the Plan. The decisions of the Plan
Administrator as to the facts related to any claim for benefits and the meaning and intent of any provision of the Plan,
or its application to any claim, shall receive the maximum deference provided by law and will be final and binding
on all interested parties. Benefits under this Plan will be paid only if the Plan Administrator decides, in its
discretion, that the Participant is entitled to them.

The Plan Administrator has the discretionary authority to decide whether a charge is Usual and Reasonable. Benefits
under this Plan shall be paid only if the Plan Administrator decides in its discretion that a Plan member is entitled to
them.

9.02     Duties of the Plan Administrator
The duties of the Plan Administrator include the following:

    1.  To administer the Plan in accordance with its terms;
    2.  To determine all questions of eligibility, status and coverage under the Plan;
    3.  To interpret the Plan, including the authority to construe possible ambiguities, inconsistencies, omissions
        and disputed terms;
    4. To make factual findings;
    5. To decide disputes which may arise relative to a Participant’s rights and/or availability of benefits;
    6. To prescribe procedures for filing a claim for benefits, to review claim denials and appeals relating to them
        and to uphold or reverse such denials;
    7. To keep and maintain the Plan documents and all other records pertaining to the Plan;
    8. To appoint and supervise a third party administrator to pay claims;
    9. To perform all necessary reporting as required by ERISA;
    10. To establish and communicate procedures to determine whether a medical child support order is a QMCSO;
    11. To delegate to any person or entity such powers, duties and responsibilities as it deems appropriate; and
    12. To perform each and every function necessary for or related to the Plan’s administration.

9.03     Amending and Terminating the Plan
The Plan Sponsor expects to maintain this Plan indefinitely; however, as the settlor of the Plan, the Plan Sponsor,
through its directors and officers, may, in its sole discretion, at any time, amend, suspend or terminate the Plan in
whole or in part. This includes amending the benefits under the Plan or the Trust Agreement (if any). This includes
amending the benefits under the Plan.

Any such amendment, suspension or termination shall be enacted, if the Plan Sponsor is a corporation, by resolution
of the Plan Sponsor’s directors and officers, which shall be acted upon as provided in the Plan Sponsor’s Articles of


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Incorporation or Bylaws, as applicable, and in accordance with applicable Federal and State law. Notice shall be
provided as required by ERISA. In the event that the Plan Sponsor is a different type of entity, then such
amendment, suspension or termination shall be taken and enacted in accordance with applicable Federal and State
law and any applicable governing documents. In the event that the Plan Sponsor is a sole proprietorship, then such
action shall be taken by the sole proprietor, in his or her own discretion.

If the Plan is terminated, the rights of the Participants are limited to expenses incurred before termination. All
amendments to this Plan shall become effective as of a date established by the Plan Sponsor.

9.04      Final Authority of the Plan Document
The terms and provisions contained in this Plan Document and Summary Plan Description shall be final and binding
upon all Participants. Contradictory benefit information received from any other source will not effect the terms of
the Plan as set forth herein. Participants are advised to conclusively rely upon the benefit information provided in
this Plan Document and Summary Plan Description only.

9.05    Summary of Material Reduction (SMR)
A Material Reduction generally means any modification that would be considered by the average Participant to be an
important reduction in covered services or benefits. Examples include reductions in benefits or increases in
Deductibles or copayments.

The Plan Administrator shall notify all eligible Employees of any plan amendment considered a Material Reduction
in covered services or benefits provided by the Plan as soon as administratively feasible after its adoption, but no
later than 60 days after the date of adoption of the reduction. Eligible Employees and beneficiaries must be furnished
a summary of such reductions, and any changes so made shall be binding on each Participant. The 60 day period for
furnishing a summary of Material Reduction does not apply to any Employee covered by the Plan who would
reasonably expect to receive a summary through other means within the next 90 days.

Material Reduction disclosure provisions are subject to the requirements of ERISA and the Health Insurance
Portability and Accountability Act of 1996 (HIPAA) and any related amendments.

9.06     Summary of Material Modification (SMM)
A Summary of Material Modifications reports changes in the information provided within the Summary Plan
Description. Examples include a change to Deductibles, eligibility or the addition or deletion of coverage.

The Plan Administrator shall notify all covered Employees of any plan amendment considered a Summary of
Material Modifications by the Plan as soon as administratively feasible after its adoption, but no later than within
210 days after the close of the Plan Year in which the changes became effective.

Note: The Affordable Care Act (ACA) requires that if a Plan’s Material Modifications are not reflected in the Plan’s
most recent Summary of Benefits and Coverage (SBC) then the Plan must provide written notice to Participants at
least 60 days before the effective date of the Material Modification.

9.07    Misuse of Identification Card
If an Employee or covered Dependent permits any person who is not a covered Participant of the Family Unit to use
any identification card issued, the Plan Sponsor may give Employee written notice that his (and his family's)
coverage will be terminated at the end of 31 days from the date written notice is given.




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                                       ARTICLE X
                          CLAIM PROCEDURES; PAYMENT OF CLAIMS
The procedures outlined below must be followed by Participants to obtain payment of health benefits under this Plan.

10.01 Health Claims
All claims and questions regarding health claims should be directed to the Third Party Administrator. The Plan
Administrator shall be ultimately and finally responsible for adjudicating such claims and for providing full and fair
review of the decision on such claims in accordance with the following provisions and with ERISA. Benefits under
the Plan will be paid only if the Plan Administrator decides in its discretion that the Participant is entitled to them.
The responsibility to process claims in accordance with the Plan Document may be delegated to the Third Party
Administrator; provided, however, that the Third Party Administrator is not a fiduciary of the Plan and does not have
the authority to make decisions involving the use of discretion.

Each Participant claiming benefits under the Plan shall be responsible for supplying, at such times and in such
manner as the Plan Administrator in its sole discretion may require, written proof that the expenses were incurred or
that the benefit is covered under the Plan. If the Plan Administrator in its sole discretion shall determine that the
Participant has not incurred a covered expense or that the benefit is not covered under the Plan, or if the Participant
shall fail to furnish such proof as is requested, no benefits shall be payable under the Plan.

A call from a Provider who wants to know if an individual is covered under the Plan, or if a certain procedure is
covered by the Plan, prior to providing treatment is not a “claim,” since an actual claim for benefits is not being filed
with the Plan. These are simply requests for information, and any response is not a guarantee of benefits, since
payment of benefits is subject to all Plan provisions, limitations and exclusions. Once treatment is rendered, a
Clean Claim must be filed with the Plan (which will be a “Post-service Claim”). At that time, a determination will be
made as to what benefits are payable under the Plan.

A Participant has the right to request a review of an Adverse Benefit Determination. If the claim is denied at the end
of the appeal process, as described below, the Plan's final decision is known as a final Adverse Benefit
Determination. If the Participant receives notice of a final Adverse Benefit Determination, or if the Plan does not
follow the claims procedures properly, the Participant then has the right to request an independent external review.
The external review procedures are described below.

The claims procedures are intended to provide a full and fair review. This means, among other things, that claims
and appeals will be decided in a manner designed to ensure the independence and impartiality of the persons
involved in making these decisions.

Benefits will be payable to a Plan Participant, or to a Provider that has accepted an assignment of benefits as
consideration in full for services rendered.

According to Federal regulations which apply to the Plan, there are four types of claims: Pre-service (Urgent and
Non-urgent), Concurrent Care and Post-service.

        Pre-service Claims. A “pre-service claim” is a claim for a benefit under the Plan where the Plan conditions
         receipt of the benefit, in whole or in part, on approval of the benefit in advance of obtaining medical care.

         A “pre-service urgent care claim” is any claim for medical care or treatment with respect to which the
         application of the time periods for making non-urgent care determinations could seriously jeopardize the
         life or health of the Participant or the Participant’s ability to regain maximum function, or, in the opinion of
         a physician with knowledge of the Participant’s medical condition, would subject the Participant to severe
         pain that cannot be adequately managed without the care or treatment that is the subject of the claim.

         If the Plan does not require the Participant to obtain approval of a specific medical service prior to getting
         treatment, then there is no pre-service claim. The Participant simply follows the Plan’s procedures with


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         respect to any notice which may be required after receipt of treatment, and files the claim as a post-service
         claim.

        Concurrent Claims. A “concurrent claim” arises when the Plan has approved an on-going course of
         treatment to be provided over a period of time or number of treatments, and either:

            The Plan Administrator determines that the course of treatment should be reduced or terminated; or

            The Participant requests extension of the course of treatment beyond that which the Plan Administrator
             has approved.

         If the Plan does not require the Participant to obtain approval of a medical service prior to getting treatment,
         then there is no need to contact the Plan Administrator to request an extension of a course of treatment. The
         Participant simply follows the Plan’s procedures with respect to any notice which may be required after
         receipt of treatment, and files the claim as a post-service claim.

        Post-service Claims. A “post-service claim” is a claim for a benefit under the Plan after the services have
         been rendered.

When Health Claims Must Be Filed
Post-service health claims must be filed with the Third Party Administrator within 365 days of the date charges for
the service were incurred. Benefits are based upon the Plan’s provisions at the time the charges were incurred.
Claims filed later than that date shall be denied.

A pre-service claim (including a concurrent claim that also is a pre-service claim) is considered to be filed when the
request for approval of treatment or services is made and received by the Third Party Administrator in accordance
with the Plan’s procedures.

Upon receipt of the required information, the claim will be deemed to be filed with the Plan. The Third Party
Administrator will determine if enough information has been submitted to enable proper consideration of the claim.
If not, more information may be requested as provided herein. This additional information must be received by the
Contract Administrator within 45 days from receipt by the Participant of the request for additional information.
Failure to do so may result in claims being declined or reduced.

Timing of Claim Decisions
The Plan Administrator shall notify the Participant, in accordance with the provisions set forth below, of any
Adverse Benefit Determination (and, in the case of pre-service claims and concurrent claims, of decisions that a
claim is payable in full) within the following timeframes:

        Pre-service Urgent Care Claims:

            If the Participant has provided all of the necessary information, as soon as possible, taking into account
             the medical exigencies, but not later than 72 hours after receipt of the claim.

            If the Participant has not provided all of the information needed to process the claim, then the
             Participant will be notified as to what specific information is needed as soon as possible, but not later
             than 72 hours after receipt of the claim.

            The Participant will be notified of a determination of benefits as soon as possible, but not later than 72
             hours, taking into account the medical exigencies, after the earliest of:

             º    The Plan’s receipt of the specified information; or

             º    The end of the period afforded the Participant to provide the information.


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           If there is an Adverse Benefit Determination, a request for an expedited appeal may be submitted orally
            or in writing by the Participant. All necessary information, including the Plan’s benefit determination
            on review, may be transmitted between the Plan and the Participant by telephone, facsimile, or other
            similarly expeditious method. Alternatively, the Participant may request an expedited review under the
            external review process.

       Pre-service Non-urgent Care Claims:

           If the Participant has provided all of the information needed to process the claim, in a reasonable
            period of time appropriate to the medical circumstances, but not later than 15 days after receipt of the
            claim, unless an extension has been requested, then prior to the end of the 15-day extension period.

           If the Participant has not provided all of the information needed to process the claim, then the
            Participant will be notified as to what specific information is needed as soon as possible, but not later
            than 5 days after receipt of the claim. The Participant will be notified of a determination of benefits in
            a reasonable period of time appropriate to the medical circumstances, either prior to the end of the
            extension period (if additional information was requested during the initial processing period), or by
            the date agreed to by the Plan Administrator and the Participant (if additional information was
            requested during the extension period).

       Concurrent Claims:

           Plan Notice of Reduction or Termination. If the Plan Administrator is notifying the Participant of a
            reduction or termination of a course of treatment (other than by Plan amendment or termination),
            before the end of such period of time or number of treatments. The Participant will be notified
            sufficiently in advance of the reduction or termination to allow the Participant to appeal and obtain a
            determination on review of that Adverse Benefit Determination before the benefit is reduced or
            terminated. This rule does not apply if benefits are reduced or eliminated due to plan amendment or
            termination. A similar process applies for claims based on a rescission of coverage for fraud or
            misrepresentation.

           Request by Participant Involving Urgent Care. If the Plan Administrator receives a request from a
            Participant to extend the course of treatment beyond the period of time or number of treatments that is a
            claim involving urgent care, as soon as possible, taking into account the medical exigencies, but not
            later than 72 hours after receipt of the claim, as long as the Participant makes the request at least 72
            hours prior to the expiration of the prescribed period of time or number of treatments. If the Participant
            submits the request with less than 24 hours prior to the expiration of the prescribed period of time or
            number of treatments, the request will be treated as a claim involving urgent care and decided within
            the urgent care timeframe.

           Request by Participant Involving Non-urgent Care. If the Plan Administrator receives a request from
            the Participant to extend the course of treatment beyond the period of time or number of treatments that
            is a claim not involving urgent care, the request will be treated as a new benefit claim and decided
            within the timeframe appropriate to the type of claim (either as a pre-service non-urgent claim or a
            post-service claim).

           Request by Participant Involving Rescission. With respect to rescissions, the following timetable
            applies:

            º   Notification to Participant                   30 days

            º   Notification of Adverse Benefit Determination on appeal          30 days




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        Post-service Claims:

            If the Participant has provided all of the information needed to process the claim, in a reasonable
             period of time, but not later than 30 days after receipt of the claim, unless an extension has been
             requested, then prior to the end of the 15-day extension period.

            If the Participant has not provided all of the information needed to process the claim and additional
             information is requested during the initial processing period, then the Participant will be notified of a
             determination of benefits prior to the end of the extension period, unless additional information is
             requested during the extension period, then the Participant will be notified of the determination by a
             date agreed to by the Plan Administrator and the Participant.

        Extensions – Pre-service Urgent Care Claims. No extensions are available in connection with Pre-service
         urgent care claims.

        Extensions – Pre-service Non-urgent Care Claims. This period may be extended by the Plan for up to 15
         days, provided that the Plan Administrator both determines that such an extension is necessary due to
         matters beyond the control of the Plan and notifies the Participant, prior to the expiration of the initial 15-
         day processing period, of the circumstances requiring the extension of time and the date by which the Plan
         expects to render a decision.

        Extensions – Post-service Claims. This period may be extended by the Plan for up to 15 days, provided that
         the Plan Administrator both determines that such an extension is necessary due to matters beyond the
         control of the Plan and notifies the Participant, prior to the expiration of the initial 30-day processing
         period, of the circumstances requiring the extension of time and the date by which the Plan expects to
         render a decision.

        Calculating Time Periods. The period of time within which a benefit determination is required to be made
         shall begin at the time a claim is deemed to be filed in accordance with the procedures of the Plan.

Notification of an Adverse Benefit Determination
The Plan Administrator shall provide a Participant with a notice, either in writing or electronically (or, in the case of
pre-service urgent care claims, by telephone, facsimile or similar method, with written or electronic notice). The
notice will state in a culturally and linguistically appropriate manner and in a manner calculated to be understood by
the Participant. The notice will contain the following information:

        Information sufficient to allow the Participant to identify the claim involved (including date of service, the
         healthcare provider, the claim amount, if applicable, and a statement describing the availability, upon
         request, of the diagnosis code and its corresponding meaning, and the treatment code and its corresponding
         meaning);

        A reference to the specific portion(s) of the plan provisions upon which a denial is based;

        Specific reason(s) for a denial, including the denial code and its corresponding meaning, and a description
         of the Plan’s standard, if any, that was used in denying the claim;

        A description of any additional information necessary for the Participant to perfect the claim and an
         explanation of why such information is necessary;

        A description of the Plan’s internal appeals and external review processes and the time limits applicable to
         the processes. This description will include information on how to initiate the appeal and a statement of the
         Participant’s right to bring a civil action under section 502(a) of ERISA following an Adverse Benefit
         Determination on final review;



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       A statement that the Participant is entitled to receive, upon request and free of charge, reasonable access to,
        and copies of, all documents, records and other information relevant to the Participant’s claim for benefits;

       The identity of any medical or vocational experts consulted in connection with a claim, even if the Plan did
        not rely upon their advice (or a statement that the identity of the expert will be provided, upon request);

       Any rule, guideline, protocol or similar criterion that was relied upon, considered, or generated in making
        the determination will be provided free of charge. If this is not practical, a statement will be included that
        such a rule, guideline, protocol or similar criterion was relied upon in making the determination and a copy
        will be provided to the Participant, free of charge, upon request;

       In the case of denials based upon a medical judgment (such as whether the treatment is medically necessary
        or experimental), either an explanation of the scientific or clinical judgment for the determination, applying
        the terms of the Plan to the Participant’s medical circumstances, will be provided. If this is not practical, a
        statement will be included that such explanation will be provided to the Participant, free of charge, upon
        request;

       Information about the availability of, and contact information for, an applicable office of health insurance
        consumer assistance or ombudsman established under applicable federal law to assist individuals with the
        internal claims and appeals and external review processes; and

       In a claim involving urgent care, a description of the Plan’s expedited review process.

Appeal Process
In cases where a claim for benefits is denied, in whole or in part, and the Participant believes the claim has been
denied wrongly, the Participant may appeal the denial and review pertinent documents. The Plan provides for 2
levels of appeal following an Adverse Benefit Determination. The Participant has 180 days following an initial
Adverse Benefit Determination to file an appeal of that determination, and 60 days following a second Adverse
Benefit Determination to file an appeal of that determination. To initiate the appeal process, the Third Party
Administrator must receive written request from the Participant, or an Authorized Representative of the Participant,
with the proper form for review of an Adverse Benefit Determination.

Full and Fair Review of All Claims
The appeal process of this Plan provides a Participant with a reasonable opportunity for a full and fair review of a
claim and Adverse Benefit Determination. More specifically, the Plan provides:

       Participants at least 180 days following receipt of a notification of an initial Adverse Benefit Determination
        within which to appeal the determination;

       Participants at least 60 days following receipt of a second Adverse Benefit Determination within which to
        appeal the determination;

       Participants the opportunity to submit written comments, documents, records, and other information relating
        to the claim for benefits;

       Participants the opportunity to review the Claim file and to present evidence and testimony as part of the
        internal claims and appeals process.

       For a review that does not afford deference to the previous Adverse Benefit Determination and that is
        conducted by an appropriate named fiduciary of the Plan, who shall be neither the individual who made the
        Adverse Benefit Determination that is the subject of the appeal, nor the subordinate of such individual;




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        For a review that takes into account all comments, documents, records, and other information submitted by
         the Participant relating to the claim, without regard to whether such information was submitted or
         considered in any prior benefit determination;

        That, in deciding an appeal of any Adverse Benefit Determination that is based in whole or in part upon a
         medical judgment, the Plan fiduciary shall consult with a health care professional who has appropriate
         training and experience in the field of medicine involved in the medical judgment, who is neither an
         individual who was consulted in connection with the Adverse Benefit Determination that is the subject of
         the appeal, nor the subordinate of any such individual;

        For the identification of medical or vocational experts whose advice was obtained on behalf of the Plan in
         connection with a claim, even if the Plan did not rely upon their advice;

        That a Participant will be provided, free of charge: (a) reasonable access to, and copies of, all documents,
         records, and other information relevant to the Participant’s claim in possession of the Plan Administrator or
         Third Party Administrator; (b) information regarding any voluntary appeals procedures offered by the Plan;
         (c) information regarding the Participant’s right to an external review process; (d) any internal rule,
         guideline, protocol or other similar criterion relied upon, considered or generated in making the adverse
         determination; and (e) an explanation of the scientific or clinical judgment for the determination, applying
         the terms of the Plan to the Participant’s medical circumstances;

        That a Participant will be provided, free of charge, and sufficiently in advance of the date that the notice of
         final internal Adverse Benefit Determination is required, with new or additional evidence considered, relied
         upon, or generated by the Plan in connection with the Claim, as well as any new or additional rationale for a
         denial at the internal appeals stage, and a reasonable opportunity for the Participant to respond to such new
         evidence or rationale; and

        The first level of appeal will be the responsibility of the Third Party Administrator and will be decided within
         30 days of the Third Party Administrator’s receipt of the request. The second level of appeal will be decided
         within 30 days of the Plan’s receipt of the request.

FIRST APPEAL LEVEL

Requirements for Appeal
The Participant must file the first appeal, in writing (although oral appeals are permitted for pre-service urgent care
claims), within 180 days following receipt of the notice of an Adverse Benefit Determination. For pre-service urgent
care claims, if the Participant chooses to orally appeal, the Participant may telephone:

    HealthSCOPE Benefits, Inc.
    P.O. Box 2860
    Little Rock, AR 72203
    1-800-797-1693

To file an appeal in writing, the Participant’s appeal must be addressed as follows and mailed or faxed as follows:

    HealthSCOPE Benefits, Inc.
    P.O. Box 2860
    Little Rock, AR 72203
    1-800-797-1693

It shall be the responsibility of the Participant to submit proof that the claim for benefits is covered and payable
under the provisions of the Plan. Any appeal must include:

        The name of the employee/Participant;


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        The employee/Participant’s social security number;

        The group name or identification number;

        All facts and theories supporting the claim for benefits. Failure to include any theories or facts in the
         appeal will result in their being deemed waived. In other words, the Participant will lose the right to
         raise factual arguments and theories which support this claim if the Participant fails to include them
         in the appeal;

        A statement in clear and concise terms of the reason or reasons for disagreement with the handling of the
         claim; and

        Any material or information that the Participant has which indicates that the Participant is entitled to
         benefits under the Plan.

    If the Participant provides all of the required information, it may be that the expenses will be eligible for
    payment under the Plan.

Timing of Notification of Benefit Determination on Review
The Plan Administrator shall notify the Participant of the Plan’s benefit determination on review within the following
timeframes:

        Pre-service Urgent Care Claims: As soon as possible, taking into account the medical exigencies, but not
         later than 72 hours after receipt of the appeal.

        Pre-service Non-urgent Care Claims: Within a reasonable period of time appropriate to the medical
         circumstances, but not later than 30 days after receipt of the appeal.

        Concurrent Claims: The response will be made in the appropriate time period based upon the type of claim
         – pre-service urgent, pre-service non-urgent or post-service.

        Post-service Claims: Within a reasonable period of time, but not later than 60 days after receipt of the
         appeal.

        Calculating Time Periods. The period of time within which the Plan’s determination is required to be made
         shall begin at the time an appeal is filed in accordance with the procedures of this Plan, without regard to
         whether all information necessary to make the determination accompanies the filing.

Manner and Content of Notification of Adverse Benefit Determination on First Appeal
The Plan Administrator shall provide a Participant with notification, with respect to pre-service urgent care claims,
by telephone, facsimile or similar method, and with respect to all other types of claims, in writing or electronically,
of a Plan’s Adverse Benefit Determination on review, setting forth:

        Information sufficient to allow the Participant to identify the claim involved (including date of service, the
         healthcare provider, the claim amount, if applicable, and a statement describing the availability, upon
         request, of the diagnosis code and its corresponding meaning, and the treatment code and its corresponding
         meaning);

        A reference to the specific portion(s) of the plan provisions upon which a denial is based;

        Specific reason(s) for a denial, including the denial code and its corresponding meaning, and a description
         of the Plan’s standard, if any, that was used in denying the claim, and a discussion of the decision;




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        A description of any additional information necessary for the Participant to perfect the claim and an
         explanation of why such information is necessary;

        A description of available internal appeals and external review processes, including information regarding
         how to initiate an appeal;

        A description of the Plan’s review procedures and the time limits applicable to the procedures. This
         description will include information on how to initiate the appeal and a statement of the Participant’s right
         to bring a civil action under section 502(a) of ERISA following an Adverse Benefit Determination on final
         review;

        A statement that the Participant is entitled to receive, upon request and free of charge, reasonable access to,
         and copies of, all documents, records, and other information relevant to the Participant’s claim for benefits;

        The identity of any medical or vocational experts consulted in connection with a claim, even if the Plan did
         not rely upon their advice (or a statement that the identity of the expert will be provided, upon request);

        Any rule, guideline, protocol or similar criterion that was relied upon, considered, or generated in making
         the determination will be provided free of charge. If this is not practical, a statement will be included that
         such a rule, guideline, protocol or similar criterion was relied upon in making the determination and a copy
         will be provided to the Participant, free of charge, upon request;

        In the case of denials based upon a medical judgment (such as whether the treatment is medically necessary
         or experimental), either an explanation of the scientific or clinical judgment for the determination, applying
         the terms of the Plan to the Participant’s medical circumstances, will be provided. If this is not practical, a
         statement will be included that such explanation will be provided to the Participant, free of charge, upon
         request; and

        The following statement: “You and your Plan may have other voluntary alternative dispute resolution
         options, such as mediation. One way to find out what may be available is to contact your local U.S.
         Department of Labor Office and your state insurance regulatory agency.”

Furnishing Documents in the Event of an Adverse Determination
In the case of an Adverse Benefit Determination on review, the Plan Administrator shall provide such access to, and
copies of, documents, records, and other information described in the section relating to “Manner and Content of
Notification of Adverse Benefit Determination on Review” as appropriate.

Decision on Review
If, for any reason, the Participant does not receive a written response to the appeal within the appropriate time period
set forth above, the Participant may assume that the appeal has been denied. The decision by the Plan Administrator
or other appropriate named fiduciary of the Plan on review will be final, binding and conclusive and will be afforded
the maximum deference permitted by law. All claim review procedures provided for in the Plan must be
exhausted before any legal action is brought.

SECOND APPEAL LEVEL

Adverse Decision on First Appeal; Requirements for Second Appeal
Upon receipt of notice of the Plan’s Adverse Benefit Determination regarding the first appeal, the Participant has 60
days to file a second appeal of the denial of benefits. The Participant again is entitled to a "full and fair review" of any
denial made at the first appeal, which means the Participant has the same rights during the second appeal as he or she
had during the first appeal. As with the first appeal, the Participant's second appeal must be in writing and must include
all of the items set forth in the section entitled "Requirements for First Appeal."




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Timing of Notification of Benefit Determination on Second Appeal
The Plan shall notify the Participant of the Plan’s Benefit Determination on review within a reasonable period of time,
but not later than 30 days after receipt of the second appeal.

The period of time within which the Plan's determination is required to be made shall begin at the time the second appeal
is filed in accordance with the procedures of this Plan, without regard to whether all information necessary to make the
determination accompanies the filing.

Manner and Content of Notification of Adverse Benefit Determination on Second Appeal
The same information must be included in the Plan’s response to a second appeal as a first appeal, except for: (a) a
description of any additional information necessary for the Participant to perfect the Claim and an explanation of why
such information is needed; and (b) a description of the Plan’s review procedures and the time limits applicable to the
procedures. See the section entitled "Notice of Benefit Determination on First Appeal."

Furnishing Documents in the Event of an Adverse Determination
In the case of an Adverse Benefit Determination on the second appeal, the Plan Administrator shall provide such access
to, and copies of, documents, records, and other information described in the section relating to the Notice of Benefit
Determination on First Appeal, as appropriate.

Decision on Second Appeal to be Final
If, for any reason, the Participant does not receive a written response to the appeal within the appropriate time period set
forth above, the Participant may assume that the appeal has been denied. The decision will be final, binding and
conclusive, and will be afforded the maximum deference permitted by law. All Claim review procedures provided
for in the Plan must be exhausted before any legal action is brought. Any legal action for the recovery of any
benefits must be commenced within 3 years after the Plan's Claim review procedures have been exhausted. Any
action with respect to a fiduciary’s breach of any responsibility, duty or obligation hereunder must be brought
within 3 years after the date of service.

Appointment of Authorized Representative
A Participant is permitted to appoint an Authorized Representative to act on his behalf with respect to a benefit Claim or
appeal of an Adverse Benefit Determination. An assignment of benefits by a Participant to a provider will not constitute
appointment of that provider as an Authorized Representative. To appoint such a representative, the Participant must
complete a form which can be obtained from the Plan Administrator. In the event a Participant designates an Authorized
Representative, all future communications from the Plan will be with the Authorized Representative, rather than the
Participant, unless the Participant directs the Plan Administrator, in writing, to the contrary.

External Review Process

    A. Scope

    1.   The Federal external review process does not apply to a denial, reduction, termination, or a failure to
         provide payment for a benefit based on a determination that a participant or beneficiary fails to meet the
         requirements for eligibility under the terms of a group health plan.

    2.   The Federal external review process applies only to:
             (a) An Adverse Benefit Determination (including a final internal Adverse Benefit Determination) by a
                 plan or issuer that involves medical judgment (including, but not limited to, those based on the
                 plan's or issuer's requirements for medical necessity, appropriateness, health care setting, level of
                 care, or effectiveness of a covered benefit; or its determination that a treatment is experimental or
                 investigational), as determined by the external reviewer; and
             (b) A rescission of coverage (whether or not the rescission has any effect on any particular benefit at
                 that time).

    B. Standard external review
    Standard external review is external review that is not considered expedited (as described in paragraph B of this
    section).


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    1.   Request for external review. The Plan will allow a claimant to file a request for an external review with the
         Plan if the request is filed within 4 months after the date of receipt of a notice of an Adverse Benefit
         Determination or final internal Adverse Benefit Determination. If there is no corresponding date four
         months after the date of receipt of such a notice, then the request must be filed by the first day of the fifth
         month following the receipt of the notice. For example, if the date of receipt of the notice is October 30,
         because there is no February 30, the request must be filed by March 1. If the last filing date would fall on a
         Saturday, Sunday, or Federal holiday, the last filing date is extended to the next day that is not a Saturday,
         Sunday, or Federal holiday.

    2.   Preliminary review. Within 5 business days following the date of receipt of the external review request, the
         Plan will complete a preliminary review of the request to determine whether:
              (a) The claimant is or was covered under the Plan at the time the health care item or service was
                  requested or, in the case of a retrospective review, was covered under the Plan at the time the
                  health care item or service was provided;
              (b) The Adverse Benefit Determination or the final Adverse Benefit Determination does not relate to
                  the claimant’s failure to meet the requirements for eligibility under the terms of the Plan (e.g.,
                  worker classification or similar determination);
              (c) The claimant has exhausted the Plan’s internal appeal process unless the claimant is not required to
                  exhaust the internal appeals process under the interim final regulations; and
              (d) The claimant has provided all the information and forms required to process an external review.
         Within 1 business day after completion of the preliminary review, the Plan will issue a notification in
         writing to the claimant. If the request is complete but not eligible for external review, such notification will
         include the reasons for its ineligibility and contact information for the Employee Benefits Security
         Administration (toll-free number 866-444-EBSA (3272)). If the request is not complete, such notification
         will describe the information or materials needed to make the request complete and the Plan will allow a
         claimant to perfect the request for external review with the four-month filing period or within the 48 hour
         period following the receipt of the notification, whichever is later.

    3.   Referral to Independent Review Organization. The Plan will assign an independent review organization
         (IRO) that is accredited by URAC or by a similar nationally-recognized accrediting organization to conduct
         the external review. Moreover, the Plan will take action against bias and to ensure independence.
         Accordingly, the Plan will contract with (or direct the Claims Processor to contract with, on its behalf) at
         least 3 IROs for assignments under the Plan and rotate claims assignments among them (or incorporate
         other independent unbiased method for selection of IROs, such as random selection). In addition, the IRO
         may not be eligible for any financial incentives based on the likelihood that the IRO will support the denial
         of benefits.

    4.   Reversal of Plan’s decision. Upon receipt of a notice of a final external review decision reversing the
         Adverse Benefit Determination or final internal Adverse Benefit Determination, the Plan will provide
         coverage or payment for the claim without delay, regardless of whether the plan intends to seek judicial
         review of the external review decision and unless or until there is a judicial decision otherwise.

    C. Expedited external review

         Urgent or Emergency Care

         This Plan does not require a Participant to obtain prior approval for pre-service urgent care Claims
         or emergency care services before getting treatment; therefore, neither the internal appeals nor the
         external review procedures will apply to these Claims. In an emergency or urgent care situation, the
         Participant should follow instructions from his/her health care provider, and file the Claim as a post-service
         Claim. If the post-service Claim results in an Adverse Benefit Determination, the Participant may file an
         appeal in accordance with the Plan’s provisions for “Appeal Process”, which are explained above.




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         Appeals of Claims involving concurrent care will be subject to the Plan’s provisions for expedited external
         review, as explained below.

    1.   Request for expedited external review. The Plan will allow a claimant to make a request for an expedited
         external review with the Plan at the time the claimant receives:
             (a) An Adverse Benefit Determination if the Adverse Benefit Determination involves a medical
                  condition of the claimant for which the timeframe for completion of a standard internal appeal
                  under the interim final regulations would seriously jeopardize the life or health of the claimant or
                  would jeopardize the claimant's ability to regain maximum function and the claimant has filed a
                  request for an expedited internal appeal; or
             (b) A first internal Adverse Benefit Determination, if the claimant has a medical condition where the
                  timeframe for completion of a standard external review would seriously jeopardize the life or
                  health of the claimant or would jeopardize the claimant's ability to regain maximum function, or if
                  the first internal Adverse Benefit Determination concerns an admission, availability of care,
                  continued stay, or health care item or service for which the claimant received emergency services,
                  but has not been discharged from a facility.
             (c) A second internal Adverse Benefit Determination, if the claimant has a medical condition where
                  the timeframe for completion of a standard external review would seriously jeopardize the life or
                  health of the claimant or would jeopardize the claimant's ability to regain maximum function, or if
                  the second internal Adverse Benefit Determination concerns an admission, availability of care,
                  continued stay, or health care item or service for which the claimant received emergency services,
                  but has not been discharged from a facility.

    2.   Preliminary review. Immediately upon receipt of the request for expedited external review, the Plan will
         determine whether the request meets the reviewability requirements set forth in paragraph B.2 above for
         standard external review. The Plan will immediately send a notice that meets the requirements set forth in
         paragraph B.2 above for standard external review to the claimant of its eligibility determination.

    3.   Referral to independent review organization. Upon a determination that a request is eligible for external
         review following the preliminary review, the Plan will assign an IRO pursuant to the requirements set forth
         in paragraph B.3 above for standard review. The Plan will provide or transmit all necessary documents and
         information considered in making the Adverse Benefit Determination or final internal Adverse Benefit
         Determination to the assigned IRO electronically or by telephone or facsimile or any other available
         expeditious method.

         The assigned IRO, to the extent the information or documents are available and the IRO considers them
         appropriate, will consider the information or documents described above under the procedures for standard
         review. In reaching a decision, the assigned IRO will review the claim de novo and is not bound by any
         decisions or conclusions reached during the Plan’s internal claims and appeals process.

    4.   Notice of final external review decision. The Plan’s (or Claim Processor’s) contract with the assigned IRO
         will require the IRO to provide notice of the final external review decision, as expeditiously as the
         claimant’s medical condition or circumstances require, but in no event more than 72 hours after the IRO
         receives the request for an expedited external review. If the notice is not in writing, within 48 hours after the
         date of providing that notice, the assigned IRO will provide written confirmation of the decision to the
         claimant and the Plan.

10.02    Deemed Exhaustion of Internal Claims Procedures and De Minimis

Exception to the Deemed Exhaustion Rule

A Participant will not be required to exhaust the internal claims and appeals procedures described above if the Plan
fails to adhere to the claims procedures requirements. In such an instance, a Participant may proceed immediately to
the External Review Program or make a claim in court. However, the internal claim and appeals procedures will not
be deemed exhausted (meaning the Participant must adhere to them before participating in the External Review

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Program or bringing a claim in court) in the event of a de minimis violation that does not cause, and is not likely to
cause, prejudice or harm to the Participant as long as the Plan Administrator demonstrates that the violation was for
good cause or due to matters beyond the control of the Plan, the violation occurred in the context of an ongoing,
good faith exchange of information between the Plan and the Participant, and the violation is not reflective of a
pattern or practice of non- compliance.

If a Participant believes the Plan Administrator has engaged in a violation of the claims procedures and would like to
pursue an immediate review, the Participant may request that the Plan provide a written explanation of the violation,
including a description of the Plan’s basis for asserting that the violation should not result in a “deemed exhaustion”
of the claims procedures. The Plan will respond to this request within ten days. If the External Reviewer or a court
rejects a request for immediate review because the Plan has met the requirements for the “de minimis” exception
described above, the Plan will provide the Participant with notice of an opportunity to resubmit and pursue an
internal appeal of the claim.

10.03 Appointment of Authorized Representative
A Participant is permitted to appoint an authorized representative to act on his or her behalf with respect to a benefit
claim or appeal of a denial. An assignment of benefits by a Participant to a Provider will not constitute appointment
of that Provider as an authorized representative. To appoint such a representative, the Participant must complete a
form which can be obtained from the Plan Administrator or the Third Party Administrator. However, in connection
with a claim involving Urgent Care, the Plan will permit a health care professional with knowledge of the
Participant’s medical condition to act as the Participant’s authorized representative without completion of this form.
In the event a Participant designates an authorized representative, all future communications from the Plan will be
with the representative, rather than the Participant, unless the Participant directs the Plan Administrator, in writing, to
the contrary.

10.04 Physical Examinations
The Plan reserves the right to have a Physician of its own choosing examine any Participant whose condition,
Sickness or Injury is the basis of a claim. All such examinations shall be at the expense of the Plan. This right may
be exercised when and as often as the Plan may reasonably require during the pendency of a claim. The Participant
must comply with this requirement as a necessary condition to coverage.

10.05 Autopsy
The Plan reserves the right to have an autopsy performed upon any deceased Participant whose condition, Sickness,
or Injury is the basis of a claim. This right may be exercised only where not prohibited by law.

10.06 Payment of Benefits
All benefits under this Plan are payable, in U.S. Dollars, to the covered Employee whose Sickness or Injury, or
whose covered Dependent’s Sickness or Injury, is the basis of a claim. In the event of the death or incapacity of a
covered Employee and in the absence of written evidence to this Plan of the qualification of a guardian for his or her
estate, this Plan may, in its sole discretion, make any and all such payments to the individual or institution which, in
the opinion of this Plan, is or was providing the care and support of such Employee.

10.06A Assignments
Benefits for medical expenses covered under this Plan may be assigned by a Participant to the Provider as
consideration in full for services rendered; however, if those benefits are paid directly to the Employee, the Plan
shall be deemed to have fulfilled its obligations with respect to such benefits. The Plan will not be responsible for
determining whether any such assignment is valid. Payment of benefits which have been assigned will be made
directly to the assignee unless a written request not to honor the assignment, signed by the covered Employee and the
assignee, has been received before the proof of loss is submitted.

No Participant shall at any time, either during the time in which he or she is a Participant in the Plan, or following his
or her termination as a Participant, in any manner, have any right to assign his or her right to sue to recover benefits
under the Plan, to enforce rights due under the Plan or to any other causes of action which he or she may have
against the Plan or its fiduciaries.



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A Provider which accepts an assignment of benefits, in accordance with this Plan as consideration in full for services
rendered, is bound by the rules and provisions set forth within the terms of this document.

10.06B Recovery of Payments
Occasionally, benefits are paid more than once, are paid based upon improper billing or a misstatement in a proof of
loss or enrollment information, are not paid according to the Plan’s terms, conditions, limitations or exclusions, or
should otherwise not have been paid by the Plan. As such this Plan may pay benefits that are later found to be greater
than the Maximum Allowable Charge. In this case, this Plan may recover the amount of the overpayment from the
source to which it was paid, primary payers, or from the party on whose behalf the charge(s) were paid. As such,
whenever the Plan pays benefits exceeding the amount of benefits payable under the terms of the Plan, the Plan
Administrator has the right to recover any such erroneous payment directly from the person or entity who received
such payment and/or from other payers and/or the Plan Participant or dependent on whose behalf such payment was
made.

A Plan Participant, Dependent, Provider, another benefit plan, insurer, or any other person or entity who receives a
payment exceeding the amount of benefits payable under the terms of the Plan or on whose behalf such payment was
made, shall return or refund the amount of such erroneous payment to the Plan within 30 days of discovery or
demand. The Plan Administrator shall have no obligation to secure payment for the expense for which the erroneous
payment was made or to which it was applied.

The person or entity receiving an erroneous payment may not apply such payment to another expense. The Plan
Administrator shall have the sole discretion to choose who will repay the Plan for an erroneous payment and whether
such payment shall be reimbursed in a lump sum. When a Plan Participant or other entity does not comply with the
provisions of this section, the Plan Administrator shall have the authority, in its sole discretion, to deny payment of
any claims for benefits by the Plan Participant and to deny or reduce future benefits payable (including payment of
future benefits for other injuries or illnesses) under the Plan by the amount due as reimbursement to the Plan. The
Plan Administrator may also, in its sole discretion, deny or reduce future benefits (including future benefits for other
injuries or illnesses) under any other group benefits plan maintained by the Plan Sponsor. The reductions will equal
the amount of the required reimbursement.

Providers and any other person or entity accepting payment from the Plan or to whom a right to benefits has been
assigned, in consideration of services rendered, payments and/or rights, agrees to be bound by the terms of this Plan
and agree to submit claims for reimbursement in strict accordance with their State’s health care practice acts, ICD-10
or CPT standards, Medicare guidelines, HCPCS standards, or other standards approved by the Plan Administrator or
insurer. Any payments made on claims for reimbursement not in accordance with the above provisions shall be
repaid to the Plan within 30 days of discovery or demand or incur prejudgment interest of 1.5% per month. If the
Plan must bring an action against a Plan Participant, Provider or other person or entity to enforce the provisions of
this section, then that Plan Participant, Provider or other person or entity agrees to pay the Plan’s attorneys’ fees and
costs, regardless of the action’s outcome.

Further, Plan Participants and/or their dependents, beneficiaries, estate, heirs, guardian, personal representative, or
assigns (Plan Participants) shall assign or be deemed to have assigned to the Plan their right to recover said payments
made by the Plan, from any other party and/or recovery for which the Plan Participant(s) are entitled, for or in
relation to facility-acquired condition(s), Provider error(s), or damages arising from another party’s act or omission
for which the Plan has not already been refunded.

The Plan reserves the right to deduct from any benefits properly payable under this Plan the amount of any payment
which has been made:

    1.   In error;
    2.   Pursuant to a misstatement contained in a proof of loss or a fraudulent act;
    3.   Pursuant to a misstatement made to obtain coverage under this Plan within two years after the date such
         coverage commences;
    4.   With respect to an ineligible person;



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    5.   In anticipation of obtaining a recovery if a Plan Participant fails to comply with the Plan’s Third Party
         Recovery, Subrogation and Reimbursement provisions; or
    6.   Pursuant to a claim for which benefits are recoverable under any policy or act of law providing for coverage
         for occupational Injury or disease to the extent that such benefits are recovered. This provision (6) shall not
         be deemed to require the Plan to pay benefits under this Plan in any such instance.

The deduction may be made against any claim for benefits under this Plan by a Plan Participant or by any of his
Covered Dependents if such payment is made with respect to the Plan Participant or any person covered or asserting
coverage as a Dependent of the Plan Participant.

If the Plan seeks to recoup funds from a Provider, due to a claim being made in error, a claim being fraudulent on the
part of the Provider, and/or the claim that is the result of the Provider’s misstatement, said Provider shall, as part of
its assignment to benefits from the Plan, abstain from billing the plan participant for any outstanding amount(s).

10.06C Medicaid Coverage
A Participant’s eligibility for any State Medicaid benefits will not be taken into account in determining or making
any payments for benefits to or on behalf of such Participant. Any such benefit payments will be subject to the
State’s right to reimbursement for benefits it has paid on behalf of the Participant, as required by the State Medicaid
program; and the Plan will honor any Subrogation rights the State may have with respect to benefits which are
payable under the Plan.

10.06E Limitation of Action
A Participant cannot bring any legal action against the Company or the Third Party Administrator to recover
reimbursement until 90 days after the Participant has properly submitted a request for reimbursement as described in
this section and all required reviews of the Participant’s claim have been completed. If the Participant wants to bring
a legal action against the Company or the Third Party Administrator, he/she must do so within 3 years from the
expiration of the time period in which a request for reimbursement must be submitted or he/she loses any rights to
bring such an action against the Company or the Third Party Administrator.

A Participant cannot bring any legal action against the Company or the Third Party Administrator for any other
reason unless he/she first completes all the steps in the appeal process described in this section. After completing that
process, if he/she wants to bring a legal action against the Company or the Third Party Administrator he/she must do
so within 3 years of the date he/she is notified of the final decision on the appeal or he/she will lose any rights to
bring such an action against the Company or the Third Party Administrator.




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                                            ARTICLE XI
                                     COORDINATION OF BENEFITS
11.01 Benefits Subject to This Provision
This provision shall apply to all benefits provided under any section of this Plan.

11.02 Excess Insurance
If at the time of injury, sickness, disease or disability there is available, or potentially available any Coverage
(including but not limited to Coverage resulting from a judgment at law or settlements), the benefits under this Plan
shall apply only as an excess over such other sources of Coverage.

The Plan’s benefits will be excess to, whenever possible:

    a) Any primary payer besides the Plan;
    b) Any first party insurance through medical payment coverage, personal injury protection, no-fault coverage,
       uninsured or underinsured motorist coverage;
    c) Any policy of insurance from any insurance company or guarantor of a third party;
    d) Worker’s compensation or other liability insurance company; or
    e) Any other source, including but not limited to crime victim restitution funds, any medical, disability or other
       benefit payments, and school insurance coverage.

11.03 Vehicle Limitation
When medical payments are available under any vehicle insurance, the Plan shall pay excess benefits only, without
reimbursement for vehicle plan and/or policy deductibles. This Plan shall always be considered secondary to such
plans and/or policies. This applies to all forms of medical payments under vehicle plans and/or policies regardless of
its name, title or classification.

11.04 Allowable Expenses
“Allowable Expenses” shall mean the Usual and Customary charge for any Medically Necessary, Reasonable,
eligible item of expense, at least a portion of which is covered under a plan. When some Other Plan pays first in
accordance with Section 10.06A herein, this Plan’s Allowable Expenses shall consist of the Plan Participant's
responsibility, if any, after the Other Plan has paid but shall in no event exceed the Other Plan’s Allowable
Expenses. When some Other Plan provides benefits in the form of services rather than cash payments, the
reasonable cash value of each service rendered, in the amount that would be payable in accordance with the terms of
the Plan, shall be deemed to be the benefit. Benefits payable under any Other Plan include the benefits that would
have been payable had claim been duly made therefore.

11.05 “Claim Determination Period”
“Claim Determination Period” shall mean each calendar year.

11.06    Effect on Benefits:

11.06A Application to Benefit Determinations
The plan that pays first according to the rules in the section entitled “Order of Benefit Determination” will pay as if
there were no other plan involved. The secondary and subsequent plans will pay the balance due up to 100% of the
plan's Allowable Expenses. Benefits will be coordinated on the basis of a Claim Determination Period.

When medical payments are available under automobile insurance, this Plan will pay excess benefits only, without
reimbursement for automobile plan deductibles. This Plan will always be considered the secondary carrier
regardless of the individual’s election under personal injury protection (PIP) coverage with the automobile insurance
carrier.

In certain instances, the benefits of the Other Plan will be ignored for the purposes of determining the benefits under
this Plan. This is the case when:


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    1.   The Other Plan would, according to its rules, determine its benefits after the benefits of this Plan have been
         determined; and
    2.   The rules in the section entitled “Order of Benefit Determination” would require this Plan to determine its
         benefits before the Other Plan.

11.06B Order of Benefit Determination
For the purposes of the section entitled “Application to Benefit Determinations,” the rules establishing the order of
benefit determination are:

    1.   A plan without a coordinating provision will always be the primary plan;
    2.   The benefits of a plan which covers the person on whose expenses claim is based, other than as a
         dependent, shall be determined before the benefits of a plan which covers such person as a dependent;
    3.   If the person for whom claim is made is a dependent child covered under both parents’ plans, the plan
         covering the parent whose birthday (month and day of birth, not year) falls earlier in the year will be
         primary, except:

             a.   When the parents are separated or divorced, and the parent with the custody of the child has not
                  remarried, the benefits of a plan which covers the child as a dependent of the parent with custody
                  will be determined before the benefits of a plan which covers the child as a dependent of the parent
                  without custody; or
             b.   When the parents are divorced and the parent with custody of the child has remarried, the benefits
                  of a plan which covers the child as a dependent of the parent with custody shall be determined
                  before the benefits of a plan which covers that child as a dependent of the stepparent, and the
                  benefits of a plan which covers that child as a dependent of the stepparent will be determined
                  before the benefits of a plan which covers that child as a dependent of the parent without custody.

         Notwithstanding the above, if there is a court decree which would otherwise establish financial
         responsibility for the child’s health care expenses, the benefits of the plan which covers the child as a
         dependent of the parent with such financial responsibility shall be determined before the benefits of
         any Other Plan which covers the child as a dependent child; and

    4.   When the rules above do not establish an order of benefit determination, the benefits of a plan which has
         covered the person on whose expenses claim is based for the longer period of time shall be determined
         before the benefits of a plan which has covered such person the shorter period of time.

11.07 Right to Receive and Release Necessary Information
For the purpose of determining the applicability of and implementing the terms of this provision or any provision of
similar purpose of any Other Plan, this Plan may, without the consent of or notice to any person, release to or obtain
from any insurance company, or other organization or individual, any information with respect to any person, which
the Plan deems to be necessary for such purposes. Any person claiming benefits under this Plan shall furnish to the
Plan such information as may be necessary to implement this provision.

11.08 Facility of Payment
Whenever payments which should have been made under this Plan in accordance with this provision have been made
under any Other Plans, the Plan Administrator may, in its sole discretion, pay any organizations making such other
payments any amounts it shall determine to be warranted in order to satisfy the intent of this provision, and amounts
so paid shall be deemed to be benefits paid under this Plan and, to the extent of such payments, this Plan shall be
fully discharged from liability.

11.09 Right of Recovery
In accordance with section 10.06C, whenever payments have been made by this Plan with respect to Allowable
Expenses in a total amount, at any time, in excess of the maximum amount of payment necessary at that time to
satisfy the intent of this Article, the Plan shall have the right to recover such payments, to the extent of such excess,
from any one or more of the following as this Plan shall determine: any person to or with respect to whom such

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payments were made, or such person’s legal representative, any insurance companies, or any other individuals or
organizations which the Plan determines are responsible for payment of such Allowable Expenses, and any future
benefits payable to the Participant or his or her Dependents. Please see 10.06C above for more details.




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                                                 ARTICLE XII
                                                  MEDICARE
12.01 Applicable to Active Employees and Their Spouses Ages 65 and Over
An active Employee and his or her spouse (ages 65 and over) may, at the option of such Employee, elect or reject
coverage under this Plan. If such Employee elects coverage under this Plan, the benefits of this Plan shall be
determined before any benefits provided by Medicare. If coverage under this Plan is rejected by such Employee,
benefits listed herein will not be payable even as secondary coverage to Medicare.

12.02 Applicable to All Other Participants Eligible for Medicare Benefits
To the extent required by Federal regulations, this Plan will pay before any Medicare benefits. There are some
circumstances under which Medicare would be required to pay its benefits first. In these cases, benefits under this
Plan would be calculated as secondary payor (as described under the Article entitled “Coordination of Benefits”).
The Participant will be assumed to have full Medicare coverage (that is, both Part A & B) whether or not the
Participant has enrolled for the full coverage. If the Provider accepts assignment with Medicare, covered expenses
will not exceed the Medicare-approved expenses.

12.03    Applicable to Medicare Services Furnished to End Stage Renal Disease (“ESRD”) Plan Participants
         Who Are Covered Under This Plan
If any Participant is eligible for Medicare benefits because of ESRD, the benefits of the Plan will be determined
before Medicare benefits for the first 18 months of Medicare entitlement (with respect to charges incurred on or after
February 1, 1991 and before August 5, 1997), and for the first 30 months of Medicare entitlement (with respect to
charges incurred on or after August 5, 1997), unless applicable Federal law provides to the contrary, in which event
the benefits of the Plan will be determined in accordance with such law.




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                              ARTICLE XIII
          THIRD PARTY RECOVERY, SUBROGATION AND REIMBURSEMENT
13.01    Payment Condition

1.   The Plan, in its sole discretion, may elect to conditionally advance payment of benefits in those situations where
     an injury, sickness, disease or disability is caused in whole or in part by, or results from the acts or omissions of
     Plan Participants, and/or their dependents, beneficiaries, estate, heirs, guardian, personal representative, or
     assigns (collectively referred to hereinafter in this section as “Plan Participant(s)”) or a third party, where any
     party besides the Plan may be responsible for expenses arising from an incident, and/or other funds are
     available, including but not limited to no-fault, uninsured motorist, underinsured motorist, medical payment
     provisions, third party assets, third party insurance, and/or grantor(s) of a third party (collectively “Coverage”).

2.   Plan Participant(s), his or her attorney, and/or legal guardian of a minor or incapacitated individual agrees that
     acceptance of the Plan’s conditional payment of medical benefits is constructive notice of these provisions in
     their entirety and agrees to maintain one hundred percent (100%) of the Plan’s conditional payment of benefits
     or the full extent of payment from any one or combination of first and third party sources in trust, without
     disruption except for reimbursement to the Plan or the Plan’s assignee. By accepting benefits the Plan
     Participant(s) agrees the Plan shall have an equitable lien on any funds received by the Plan Participant(s) and/or
     their attorney from any source and said funds shall be held in trust until such time as the obligations under this
     provision are fully satisfied. The Plan Participant(s) agrees to include the Plan’s name as a co-payee on any and
     all settlement drafts.

3.   In the event a Plan Participant(s) settles, recovers, or is reimbursed by any Coverage, the Plan Participant(s)
     agrees to reimburse the Plan for all benefits paid or that will be paid by the Plan on behalf of the Plan
     Participant(s). If the Plan Participant(s) fails to reimburse the Plan out of any judgment or settlement received,
     the Plan Participant(s) will be responsible for any and all expenses (fees and costs) associated with the Plan’s
     attempt to recover such money.

4.   If there is more than one party responsible for charges paid by the Plan, or may be responsible for charges paid
     by the Plan, the Plan will not be required to select a particular party from whom reimbursement is due.
     Furthermore, unallocated settlement funds meant to compensate multiple injured parties of which the Plan
     Participant(s) is/are only one or a few, that unallocated settlement fund is considered designated as an
     “identifiable” fund from which the plan may seek reimbursement.

13.02    Subrogation

1.   As a condition to participating in and receiving benefits under this Plan, the Plan Participant(s) agrees to assign
     to the Plan the right to subrogate and pursue any and all claims, causes of action or rights that may arise against
     any person, corporation and/or entity and to any Coverage to which the Plan Participant(s) is entitled, regardless
     of how classified or characterized, at the Plan’s discretion.

2.   If a Plan Participant(s) receives or becomes entitled to receive benefits, an automatic equitable lien attaches in
     favor of the Plan to any claim, which any Plan Participant(s) may have against any Coverage and/or party
     causing the sickness or injury to the extent of such conditional payment by the Plan plus reasonable costs of
     collection.

3.   The Plan may, at its discretion, in its own name or in the name of the Plan Participant(s) commence a
     proceeding or pursue a claim against any party or Coverage for the recovery of all damages to the full extent of
     the value of any such benefits or conditional payments advanced by the Plan.

4.   If the Plan Participant(s) fails to file a claim or pursue damages against:

         a)   The responsible party, its insurer, or any other source on behalf of that party;


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          b) Any first party insurance through medical payment coverage, personal injury protection, no-fault
              coverage, uninsured or underinsured motorist coverage;
          c) Any policy of insurance from any insurance company or guarantor of a third party;
          d) Worker’s compensation or other liability insurance company; or
          e) Any other source, including but not limited to crime victim restitution funds, any medical, disability or
              other benefit payments, and school insurance coverage;
     the Plan Participant(s) authorizes the Plan to pursue, sue, compromise and/or settle any such claims in the Plan
     Participant(s)’ and/or the Plan’s name and agrees to fully cooperate with the Plan in the prosecution of any such
     claims. The Plan Participant(s) assigns all rights to the Plan or its assignee to pursue a claim and the recovery of
     all expenses from any and all sources listed above.

13.03    Right of Reimbursement

1.   The Plan shall be entitled to recover 100% of the benefits paid, without deduction for attorneys’ fees and costs
     or application of the common fund doctrine, make whole doctrine, or any other similar legal theory, without
     regard to whether the Plan Participant(s) is fully compensated by his/her recovery from all sources. The Plan
     shall have an equitable lien which supersedes all common law or statutory rules, doctrines, and laws of any State
     prohibiting assignment of rights which interferes with or compromises in any way the Plan’s equitable lien and
     right to reimbursement. The obligation to reimburse the Plan in full exists regardless of how the judgment or
     settlement is classified and whether or not the judgment or settlement specifically designates the recovery or a
     portion of it as including medical, disability, or other expenses. If the Plan Participant(s)’ recovery is less than
     the benefits paid, then the Plan is entitled to be paid all of the recovery achieved.

2.   No court costs, experts’ fees, attorneys’ fees, filing fees, or other costs or expenses of litigation may be deducted
     from the Plan’s recovery without the prior, expressed written consent of the Plan.

3.   The Plan’s right of subrogation and reimbursement will not be reduced or affected as a result of any fault or
     claim on the part of the Plan Participant(s), whether under the doctrines of causation, comparative fault or
     contributory negligence, or other similar doctrine in law. Accordingly, any lien reduction statutes, which
     attempt to apply such laws and reduce a subrogating Plan’s recovery will not be applicable to the Plan and will
     not reduce the Plan’s reimbursement rights.

4.   These rights of subrogation and reimbursement shall apply without regard to whether any separate written
     acknowledgment of these rights is required by the Plan and signed by the Plan Participant(s).

5.   This provision shall not limit any other remedies of the Plan provided by law. These rights of subrogation and
     reimbursement shall apply without regard to the location of the event that led to or caused the applicable
     sickness, injury, disease or disability.

13.04    Excess Insurance

1.   If at the time of injury, sickness, disease or disability there is available, or potentially available any Coverage
     (including but not limited to Coverage resulting from a judgment at law or settlements), the benefits under this
     Plan shall apply only as an excess over such other sources of Coverage, except as otherwise provided for under
     the Plan’s Coordination of Benefits section.

     The Plan’s benefits shall be excess to:

         a) The responsible party, its insurer, or any other source on behalf of that party;
         b) Any first party insurance through medical payment coverage, personal injury protection, no-fault
            coverage, uninsured or underinsured motorist coverage;
         c) Any policy of insurance from any insurance company or guarantor of a third party;
         d) Worker’s compensation or other liability insurance company; or
         e) Any other source, including but not limited to crime victim restitution funds, any medical, disability or
            other benefit payments, and school insurance coverage.

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13.05 Separation of Funds
Benefits paid by the Plan, funds recovered by the Plan Participant(s), and funds held in trust over which the Plan has
an equitable lien exist separately from the property and estate of the Plan Participant(s), such that the death of the
Plan Participant(s), or filing of bankruptcy by the Plan Participant(s), will not affect the Plan’s equitable lien, the
funds over which the Plan has a lien, or the Plan’s right to subrogation and reimbursement.

13.06 Wrongful Death
In the event that the Plan Participant(s) dies as a result of his or her injuries and a wrongful death or survivor claim is
asserted against a third party or any Coverage, the Plan’s subrogation and reimbursement rights shall still apply.

13.07    Obligations

1.   It is the Plan Participant(s)’ obligation at all times, both prior to and after payment of medical benefits by the
     Plan:

         a) To cooperate with the Plan, or any representatives of the Plan, in protecting its rights, including
            discovery, attending depositions, and/or cooperating in trial to preserve the Plan’s rights;
         b) To provide the Plan with pertinent information regarding the sickness, disease, disability, or injury,
            including accident reports, settlement information and any other requested additional information;
         c) To take such action and execute such documents as the Plan may require to facilitate enforcement of its
            subrogation and reimbursement rights;
         d) To do nothing to prejudice the Plan’s rights of subrogation and reimbursement;
         e) To promptly reimburse the Plan when a recovery through settlement, judgment, award or other
            payment is received; and
         f) To not settle or release, without the prior consent of the Plan, any claim to the extent that the Plan
            Participant may have against any responsible party or Coverage.

2.   If the Plan Participant(s) and/or his or her attorney fails to reimburse the Plan for all benefits paid or to be paid,
     as a result of said injury or condition, out of any proceeds, judgment or settlement received, the Plan
     Participant(s) will be responsible for any and all expenses (whether fees or costs) associated with the Plan’s
     attempt to recover such money from the Plan Participant(s).

3.   The Plan’s rights to reimbursement and/or subrogation are in no way dependent upon the Plan Participant(s)’
     cooperation or adherence to these terms.

13.08 Offset
Failure by the Plan Participant(s) and/or his or her attorney to comply with any of these requirements may, at the
Plan’s discretion, result in a forfeiture of payment by the Plan of medical benefits and any funds or payments due
under this Plan on behalf of the Plan Participant(s) may be withheld until the Plan Participant(s) satisfies his or her
obligation.

13.09    Minor Status

1.   In the event the Plan Participant(s) is a minor as that term is defined by applicable law, the minor’s parents or
     court-appointed guardian shall cooperate in any and all actions by the Plan to seek and obtain requisite court
     approval to bind the minor and his or her estate insofar as these subrogation and reimbursement provisions are
     concerned.

2.   If the minor’s parents or court-appointed guardian fail to take such action, the Plan shall have no obligation to
     advance payment of medical benefits on behalf of the minor. Any court costs or legal fees associated with
     obtaining such approval shall be paid by the minor’s parents or court-appointed guardian.




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13.10 Language Interpretation
The Plan Administrator retains sole, full and final discretionary authority to construe and interpret the language of
this provision, to determine all questions of fact and law arising under this provision, and to administer the Plan’s
subrogation and reimbursement rights. The Plan Administrator may amend the Plan at any time without notice.

13.11 Severability
In the event that any section of this provision is considered invalid or illegal for any reason, said invalidity or
illegality shall not affect the remaining sections of this provision and Plan. The section shall be fully severable. The
Plan shall be construed and enforced as if such invalid or illegal sections had never been inserted in the Plan.




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                                           ARTICLE XIV
                                    MISCELLANEOUS PROVISIONS
14.01 Applicable Law
This is a self-funded benefit plan coming within the purview of the Employee Retirement Income Security Act of
1974 (“ERISA”). The Plan is funded with employee and/or employer contributions. As such, when applicable,
Federal law and jurisdiction preempt State law and jurisdiction.

14.02 Clerical Error/Delay
Clerical errors made on the records of the Plan and delays in making entries on such records shall not invalidate
coverage nor cause coverage to be in force or to continue in force. Rather, the Effective Dates of coverage shall be
determined solely in accordance with the provisions of this Plan regardless of whether any contributions with respect
to Participants have been made or have failed to be made because of such errors or delays. Upon discovery of any
such error or delay, an equitable adjustment of any such contributions will be made.

14.03 Conformity With Applicable Laws
This Plan shall be deemed to automatically be amended to conform as required by any applicable law, regulation or
the order or judgment of a court of competent jurisdiction governing provisions of this Plan, including, but not
limited to, stated maximums, exclusions or limitations. In the event that any law, regulation or the order or judgment
of a court of competent jurisdiction causes the Plan Administrator to pay claims which are otherwise limited or
excluded under this Plan, such payments will be considered as being in accordance with the terms of this Plan
Document. It is intended that the Plan will conform to the requirements of ERISA, as it applies to employee welfare
plans, as well as any other applicable law.

14.04 Fraud
The following actions by any Participant, or a Participant’s knowledge of such actions being taken by another,
constitute fraud and will result in immediate termination of all coverage under this Plan for the entire Family Unit of
which the Participant is a member:

    1.   Attempting to submit a claim for benefits (which includes attempting to fill a prescription) for a person who
         is not a Participant of the Plan;
    2.   Attempting to file a claim for a Participant for services which were not rendered or Drugs or other items
         which were not provided;
    3.   Providing false or misleading information in connection with enrollment in the Plan; or
    4.   Providing any false or misleading information to the Plan.

14.05 Headings
The headings used in this Plan Document are used for convenience of reference only. Participants are advised not to
rely on any provision because of the heading.

14.06 No Waiver or Estoppel
No term, condition or provision of this Plan shall be deemed to have been waived, and there shall be no estoppel
against the enforcement of any provision of this Plan, except by written instrument of the party charged with such
waiver or estoppel. No such written waiver shall be deemed a continuing waiver unless specifically stated therein,
and each such waiver shall operate only as to the specific term or condition waived and shall not constitute a waiver
of such term or condition for the future or as to any act other than the one specifically waived.

14.07 Plan Contributions
The Plan Administrator shall, from time to time, evaluate the funding method of the Plan and determine the amount
to be contributed by the Participating Employer and the amount to be contributed (if any) by each Participant.

The Plan Sponsor shall fund the Plan in a manner consistent with the provisions of the Internal Revenue Code,
ERISA, and such other laws and regulations as shall be applicable to the end that the Plan shall be funded on a
lawful and sound basis; but, to the extent permitted by governing law, the Plan Administrator shall be free to


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determine the manner and means of funding the Plan. The amount of the Participant’s contribution (if any) will be
determined from time to time by the Plan Administrator.

14.08 Right to Receive and Release Information
For the purpose of determining the applicability of and implementing the terms of these benefits, the Plan
Administrator may, without the consent of or notice to any person, release or obtain any information necessary to
determine the acceptability of any applicant or Participant for benefits from this Plan. In so acting, the Plan
Administrator shall be free from any liability that may arise with regard to such action. Any Participant claiming
benefits under this Plan shall furnish to the Plan Administrator such information as may be necessary to implement
this provision.

14.09 Written Notice
Any written notice required under this Plan which, as of the Effective Date, is in conflict with the law of any
governmental body or agency which has jurisdiction over this Plan shall be interpreted to conform to the minimum
requirements of such law.

14.10 Right of Recovery
In accordance with 10.06C, whenever payments have been made by this Plan in a total amount, at any time, in excess
of the maximum amount of benefits payable under this Plan, the Plan shall have the right to recover such payments,
to the extent of such excess, from any one or more of the following as this Plan shall determine: any person to or
with respect to whom such payments were made, or such person’s legal representative, any insurance companies, or
any other individuals or organizations which the Plan determines are responsible for payment of such amount, and
any future benefits payable to the Participant or his or her Dependents. See 10.06C above for full details.

14.11 Statements
All statements made by the Company or by a Plan Participant will, in the absence of fraud, be considered
representations and not warranties, and no statements made for the purpose of obtaining benefits under this document
will be used in any contest to avoid or reduce the benefits provided by the document unless contained in a written
application for benefits and a copy of the instrument containing such representation is or has been furnished to the Plan
Participant.

Any Plan Participant who knowingly and with intent to defraud the Plan, files a statement of claim containing any
materially false information, or conceals for the purpose of misleading, information concerning any material fact,
commits a fraudulent act. The Plan Participant may be subject to prosecution by the United States Department of
Labor. Fraudulently claiming benefits may be punishable by a substantial fine, imprisonment, or both.

14.12 Binding Arbitration
Note: You are enrolled in a plan provided by your Employer that is subject to ERISA, any dispute involving an
adverse benefit decision must be resolved under ERISA’s claims procedure rules, and is not subject to mandatory
binding arbitration. You may pursue voluntary binding arbitration after you have completed an appeal under
ERISA. If you have any other dispute which does not involve an adverse benefit decision, this Binding Arbitration
provision applies.

Any dispute or claim, of whatever nature, arising out of, in connection with, or in relation to this Plan, or breach or
rescission thereof, or in relation to care or delivery of care, including any claim based on contract, tort or statute,
must be resolved by arbitration if the amount sought exceeds the jurisdictional limit of the small claims court. Any
dispute regarding a claim for damages within the jurisdictional limits of the small claims court will be resolved in
such court.

The Federal Arbitration Act shall govern the interpretation and enforcement of all proceedings under this BINDING
ARBITRATION provision. To the extent that the Federal Arbitration Act is inapplicable, or is held not to require
arbitration of a particular claim, State law governing agreements to arbitrate shall apply.

The Participant and the Plan Administrator agree to be bound by this Binding Arbitration provision and acknowledge
that they are each giving up their right to a trial by court or jury.

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The Participant and the Plan Administrator agree to give up the right to participate in class arbitration against each
other. Even if applicable law permits class actions or class arbitrations, the Participant waives any right to pursue, on
a class basis, any such controversy or claim against the Plan Administrator and the Plan Administrator waives any
right to pursue on a class basis any such controversy or claim against the Participant.

The arbitration findings will be final and binding except to the extent that State or Federal law provides for the
judicial review of arbitration proceedings.

The arbitration is begun by the Participant making written demand on the Plan Administrator. The arbitration will be
conducted by Judicial Arbitration and Mediation Services (“JAMS”) according to its applicable Rules and
Procedures. If, for any reason, JAMS is unavailable to conduct the arbitration, the arbitration will be conducted by
another neutral arbitration entity, by mutual agreement of the Participant and the Plan Administrator, or by order of
the court, if the Participant and the Plan Administrator cannot agree.

The costs of the arbitration will be allocated per the JAMS Policy on Consumer Arbitrations. If the arbitration is not
conducted by JAMS, the costs will be shared equally by the parties, except in cases of extreme financial hardship,
upon application to the neutral arbitration entity to which the parties have agreed, in which cases, the Plan
Administrator will assume all or a portion of the costs of the arbitration.

14.13 Unclaimed Self-Insured Plan Funds
In the event a benefits check issued by the Third Party Administrator for this self-insured Plan is not cashed within
one year of the date of issue, the check will be voided and the funds will be returned to this Plan and applied to the
payment of current benefits and administrative fees under this Plan. In the event a Participant subsequently requests
payment with respect to the voided check, the Third Party Administrator for the self-insured Plan shall make such
payment under the terms and provisions of the Plan as in effect when the claim was originally processed. Unclaimed
self-insured Plan funds may be applied only to the payment of benefits (including administrative fees) under the Plan
pursuant to ERISA and any other applicable State law(s).




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                                                  ARTICLE XV
                                               MEDICAL BENEFITS
15.01 Medical Benefits
Subject to the Plan’s provisions, limitations and exclusions, the following are covered major medical benefits:

    1.   Allergy Services. Charges related to the Treatment of allergies;

    2.   Ambulance (ground). Transportation by professional ambulance, including approved available train
         transportation, to a local Hospital or transfer to the nearest facility having the capability to treat the condition, if
         the transportation is connected with an Inpatient Confinement.

         Ambulance (air/flight). Inter-facility patient transport by air transport, for Participants if there is a life
         threatening situation or it is deemed to be Medically Necessary.

         For a Participant who is in a Hospital or other health care facility under the care or supervision of a licensed
         health care Provider pre-certification is required before transport of the Participant via air transport / any
         form of flight to another Hospital or facility.

         Failure to notify Sentinel Air Medical Alliance, LLC and subsequently obtain a pre-certification number
         from Sentinel Air Medical Alliance, LLC may, solely in the Plan Administrator’s discretion, result in a
         reduction or denial of benefits for charges arising from or related to inter-facility patient transport via
         air/flight. Non-compliance penalties imposed for failure to notify Sentinel Air Medical Alliance, LLC will
         not be included as part of the annual out of pocket maximum.

         The Plan Administrator retains the discretionary authority to limit benefit availability to alternative
         Providers of flight-based inter-facility patient transport if and when a Provider fails to comply with the
         terms of the Plan, or proposed charges exceed the Maximum Allowable Charge in accordance with the
         terms of the Plan;

    3.   Ambulatory Surgical Center. Services of an Ambulatory Surgical Center for Medically Necessary care
         provided;

    4.   Anesthesia. Anesthesia, anesthesia supplies, and administration of anesthesia by facility staff;

    5.   Birthing Center. Services of a Birthing Center for Medically Necessary care provided within the scope of its
         license;

    6.   Blood and Plasma. Blood transfusions, plasma and blood derivatives and charges for whole blood not
         donated or replaced by a blood bank;

    7.   Chemotherapy. Charges for chemotherapy. The Plan shall refer to the Centers for Medicare & Medicaid
         Services (CMS) authoritative compendia, including the NCCN Drugs and Biologics Compendium and
         Thomson Micromedex, in the determination of medically accepted drugs and biologicals used off-label in an
         anti-cancer chemotherapeutic regimen;

    8.   Chiropractic Care. Spinal adjustment and manipulation, x-rays for manipulation and adjustment and other
         modalities performed by a Physician or other licensed practitioner, as limited in the Summary of Benefits;

    9.   Contraceptives. The charges for all FDA approved contraceptives methods, in accordance with Health
         Resources and Services Administration (HRSA) guidelines;

    10. Dental. Emergency repair due to Injury to sound natural teeth, if the repair is made within 12 months from the
        date of the Injury (unless otherwise required by applicable law);


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    11. Diagnostic Tests; Examinations. Charges for x-rays, microscopic tests, laboratory tests, esophagoscopy,
        gastroscopy, proctosigmoidoscopy, colonoscopy and other diagnostic tests and procedures;

    12. Dialysis Treatment - Outpatient.
        This Section describes the Plan’s Dialysis Benefit Preservation Program (the “Dialysis Program”). The
        Dialysis Program shall be the exclusive means for determining the amount of Plan benefits to be provided to
        Plan members and for managing cases and claims involving dialysis services and supplies, regardless of the
        condition causing the need for dialysis.
        A.       Reasons for the Dialysis Program. The Dialysis Program has been established for the following
                 reasons:
                 (1)      the concentration of dialysis providers in the market in which Plan members reside may
                          allow such providers to exercise control over prices for dialysis-related products and
                          services,
                 (2)      the potential for discrimination by dialysis providers against the Plan because it is a non-
                          governmental and non-commercial health plan, which discrimination may lead to
                          increased prices for dialysis-related products and services charged to Plan members,
                 (3)      evidence of (i) significant inflation of the prices charged to Plan members by dialysis
                          providers, (ii) the use of revenues from claims paid on behalf of Plan members to
                          subsidize reduced prices to other types of payers as incentives, and (iii) the specific
                          targeting of the Plan and other non-governmental and non-commercial plans by the
                          dialysis providers as profit centers, and
                 (4)      the fiduciary obligation to preserve Plan assets against charges which (i) exceed
                          reasonable value due to factors not beneficial to Plan members, such as market
                          concentration and discrimination in charges, and (ii) are used by the dialysis providers for
                          purposes contrary to the Plan members’ interests, such as subsidies for other plans and
                          discriminatory profit-taking.
        B.       Dialysis Program Components. The components of the Dialysis Program are as follows:
                 (1)      Application. The Dialysis Program shall apply to all claims filed by, or on behalf of, Plan
                          members for reimbursement of products and services provided for purposes of outpatient
                          dialysis, regardless of the condition causing the need for dialysis (“dialysis-related
                          claims”).
                 (2)      Claims Affected. The Dialysis Program shall apply to all dialysis-related claims received
                          by the Plan on or after September 1, 2013, regardless when the expenses related to such
                          claim were incurred or when the initial claim for such products or services was received
                          by the Plan with respect to the Plan member.
                 (3)      Mandated Cost Review. All dialysis-related claims will be subject to cost review by the
                          Plan Administrator to determine whether the charges indicate the effects of market
                          concentration or discrimination in charges. In making this determination the Plan
                          Administrator shall consider factors including:
                          i.        Market concentration: The Plan Administrator shall consider whether the market
                                    for outpatient dialysis products and services is sufficiently concentrated to permit
                                    providers to exercise control over charges due to limited competition, based on
                                    reasonably available data and authorities. For purposes of this consideration
                                    multiple dialysis facilities under common ownership or control shall be counted
                                    as a single provider.
                          ii.       Discrimination in charges: The Plan Administrator shall consider whether the
                                    claims reflect potential discrimination against the Plan, by comparison of the
                                    charges in such claims against reasonably available data about payments to
                                    outpatient dialysis providers by governmental and commercial plans for the same
                                    or materially comparable goods and services.
                 (4)      In the event that the Plan Administrator’s charge review indicates a reasonable probability
                          that market concentration and/or discrimination in charges have been a material factors
                          resulting in an increase of the charges for outpatient dialysis products and/or services for
                          the dialysis-related claims under review, the Plan Administrator may, in its sole

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                           discretion, determine that there is a reasonable probability that the charges exceed the
                           reasonable value of the goods and/or services. Based upon such a determination, the Plan
                           Administrator may subject the claims and all future claims for outpatient dialysis goods
                           and services from the same provider with respect to the Plan member, to the following
                           payment limitations, under the following conditions:
                           i.        Where the Plan Administrator deems it appropriate in order to minimize
                                     disruption and administrative burdens for the Plan member, dialysis-related
                                     claims received prior to the cost review determination may, but are not required
                                     to be, paid at the face or otherwise applicable rate.
                           ii.       Where the provider is or has been a participating provider under a Preferred
                                     Provider Organization (PPO) available to the Plan’s members, upon the Plan
                                     Administrator’s determination that payment limitations should be implemented,
                                     the rate payable to such provider shall be subject to the limitations of this
                                     Section.
                           iii.      Maximum Benefit. The maximum Plan benefit payable to dialysis-related claims
                                     subject to the payment limitation shall be the Usual and Reasonable Charge for
                                     covered services and/or supplies, after deduction of all amounts payable by
                                     coinsurance or deductibles.
                           iv.       Usual and Reasonable Charge. With respect to dialysis-related claims, the Plan
                                     Administrator shall determine the Usual and Reasonable Charge based upon the
                                     average payment actually made for reasonably comparable services and/or
                                     supplies to all providers of the same services and/or supplies by all types of
                                     plans in the applicable market during the preceding calendar year, based upon
                                     reasonably available data, adjusted for the national Consumer Price Index
                                     medical care rate of inflation. The Plan Administrator may increase or decrease
                                     the payment based upon factors concerning the nature and severity of the
                                     condition being treated.
                           v.        Additional Information related to Value of Dialysis-Related Services and
                                     Supplies. The Plan member, or where the right to Plan benefits has been
                                     properly assigned to the provider, may provide information with respect to the
                                     reasonable value of the supplies and/or services, for which payment is claimed,
                                     on appeal of the denial of any claim or claims. In the event the Plan
                                     Administrator, in its sole discretion, determines that such information
                                     demonstrates that the payment for the claim or claims did not reflect the
                                     reasonable value, the Plan Administrator shall increase or decrease the payments
                                     (as applicable) to the amount of the reasonable value, as determined by the Plan
                                     Administrator based upon credible information from identified sources. The
                                     Plan Administrator may, but is not required to, review additional information
                                     from third-party sources in making this determination.
                           vi.       All charges must be billed by a provider in accordance with generally accepted
                                     industry standards.
                  5.       Provider Agreements. Where appropriate, and a willing appropriate provider acceptable
                           to the Plan member is available, the Plan Administrator may enter into an agreement
                           establishing the rates payable for outpatient dialysis goods and/or services with the
                           provider, provided that such agreement must identify this Section of the Plan and clearly
                           state that such agreement is intended to supersede this Section.
                  6.       Discretion. The Plan Administrator shall have full authority and discretion to interpret,
                           administer and apply this Section, to the greatest extent permitted by law;

    13. Durable Medical Equipment. Charges for rental, up to the purchase price, of Durable Medical Equipment,
        including glucose home monitors for insulin-Dependent diabetics. At its option, and with its advance written
        approval, the Plan may cover the purchase of such items when it is less costly and more practical than rental.
        The Plan does not pay for:

             a.   Any purchases without its advance written approval;

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             b.   Replacements or repairs; or
             c.   The rental or purchase of items which do not fully meet the definition of “Durable Medical
                  Equipment”;

    14. Foot Disorders. Surgical treatment of foot disorders, including associated services, performed by a
        licensed podiatrist (excluding routine foot care);

    15. Glaucoma. Treatment of glaucoma, cataract Surgery and one set of lenses (contacts or frame-type);

    16. Home Health Care. Charges by a Home Health Care Agency:

             a.   Registered Nurses or Licensed Practical Nurses;
             b.   Certified home health aides under the direct supervision of a Registered Nurse;
             c.   Registered therapist performing physical, occupational or Speech Therapy;
             d.   Physician calls in the office, home, clinic or Outpatient department;
             e.   Services, drugs and medical supplies which are Medically Necessary for the treatment of the Plan
                  Participant that would have been provided in the Hospital, but not including Custodial Care; and
             f.   Rental of Durable Medical Equipment or the purchase of this equipment if economically justified,
                  whichever is less.

        NOTE: Transportation services are not covered under this benefit;

    17. Hospice Care. Charges relating to Hospice Care, provided the Plan Participant has a life expectancy of 6
        months or less, subject to the maximums, if any, stated in the Summary of Benefits. Covered Hospice expenses
        are limited to:

             a.   Room and Board for Confinement in a Hospice;
             b.   Ancillary charges furnished by the Hospice while the patient is confined therein, including rental of
                  Durable Medical Equipment which is used solely for treating an Injury or Sickness;
             c.   Medical supplies, drugs and medicines prescribed by the attending Physician, but only to the extent
                  such items are necessary for pain control and management of the terminal condition;
             d.   Physician services and nursing care by a Registered Nurse, Licensed Practical Nurse or a Licensed
                  Vocational Nurse (L.V.N.);
             e.   Home health aide services;
             f.   Home care furnished by a Hospital or Home Health Care Agency, under the direction of a Hospice,
                  including Custodial Care if it is provided during a regular visit by a Registered Nurse, a Licensed
                  Practical Nurse or a home health aide;
             g.   Medical social services by licensed or trained social workers, Psychologists or counselors;
             h.   Nutrition services provided by a licensed dietitian; and
             i.   Bereavement counseling, which is a supportive service provided by the Hospice team to Plan
                  Participants in the deceased’s Family after the death of the Terminally Ill person, to assist the Plan
                  Participants in adjusting to the death. Benefits will be payable if the following requirements are met:
                       (1) On the date immediately before his or her death, the Terminally Ill person was in a Hospice
                            Care Program and a Plan Participant under the Plan; and
                       (2) Charges for such services are Incurred by the Plan Participants within 6 months of the
                            Terminally Ill person’s death.

        The Hospice Care Program must be renewed in writing by the attending Physician every 30 days. Hospice
        Care ceases if the terminal Illness enters remission;

    18. Hospital. Charges made by a Hospital for:

        a.   Inpatient Treatment

             (1) Daily Semi-Private Room and Board charges;

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             (2) Intensive Care Unit (ICU) and Cardiac Care Unit (CCU) Room and Board charges;
             (3) General nursing services; and
             (4) Medically Necessary services and supplies furnished by the Hospital, other than Room and Board

        b.   Outpatient Treatment

             (1)   Emergency room;
             (2)   Treatment for chronic conditions;
             (3)   Physical Therapy treatments;
             (4)   Hemodialysis; and
             (5)   X-ray, laboratory and linear therapy;

    19. Impregnation and Infertility Treatment. Following charges related to Impregnation and Infertility
        Treatment: initial diagnosis; artificial insemination; fertility drugs; G.I.F.T. (Gamete Intrafallopian
        Transfer); Z.I.F.T. (Zygote Intrafallopian Transfer); and in-vitro fertilization. Benefits for in-vitro
        fertilization, G.I.F.T. and Z.I.F.T. are covered only when:

             a.    The Participant has been unable to attain or sustain a successful pregnancy through reasonable, less
                   costly, medically appropriate infertility treatment;
             b.    The Participant has not undergone 4 completed oocyte retrievals, except if a live birth followed a
                   completed oocyte retrieval, 2 or more oocyte retrievals shall be covered. In no event will more
                   than 6 oocyte retrievals be covered by this Plan.

    20. Mastectomy. The Federal Women’s Health and Cancer Rights Act, signed into law on October 21, 1998,
        contains coverage requirements for breast cancer patients who elect reconstruction in connection with a
        Mastectomy. The new Federal law requires group health plans that provide Mastectomy coverage to also
        cover breast reconstruction Surgery and prostheses following Mastectomy.

        As required by law, you are being provided this notice to inform you about these provisions. The law
        mandates that individuals receiving benefits for a Medically Necessary Mastectomy will also receive
        coverage for:

             a. Reconstruction of the breast on which the Mastectomy has been performed;
             b. Surgery and reconstruction of the other breast to produce a symmetrical appearance; and
             c. Prostheses and physical complications from all stages of Mastectomy, including lymphedamas;
        in a manner determined in consultation with the attending Physician and the patient.

        This coverage will be subject to the same annual Deductible and coinsurance provisions that currently apply to
        Mastectomy coverage, and will be provided in consultation with you and your attending Physician;

    21. Medical Supplies. Dressings, casts, splints, trusses, braces and other Medically Necessary medical supplies,
        with the exception of dental braces or corrective shoes, but including syringes for diabetic and allergy
        diagnosis, and lancets and chemstrips for diabetics;

    22. Newborn Care. Hospital and Physician nursery care for Newborns who are natural children of the Employee
        or spouse and properly enrolled in the Plan, as set forth below. Benefits will be provided under the child’s
        coverage, and the child’s own Deductible and coinsurance provisions will apply;

             a.    Hospital routine care for a Newborn during the child’s initial Hospital Confinement at birth; and
             b.    The following Physician services for well-baby care during the Newborn’s initial Hospital
                   Confinement at birth:
                       (1) The initial Newborn examination and a second examination performed prior to discharge
                            from the Hospital; and
                       (2) Circumcision.



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        NOTE: The Plan will cover Hospital and Physician nursery care for an ill Newborn as any other medical
        condition, provided the Newborn is properly enrolled in the Plan. These benefits are provided under the
        baby’s coverage;

    23. Nursing Services. Services of a Registered Nurse or Licensed Practical Nurse;

    24. Obesity Services. Charges for bariatric surgery for treatment of morbid obesity when the following 3
        criteria are met:

            a.   A diagnosis of Morbid Obesity, defined as:
                       1. A Body Mass Index (BMI) of greater than or equal to 40 kg/meter squared; or
                       2. A BMI greater than or equal to 35 kg/meter squared with at least 2 of the following co-
                           morbid conditions which have not responded to maximum medical management and
                           which are generally expected to be reversed or improved by bariatric treatment:
                           hypertension, dyslipidemia, diabetes mellitus, coronary heart disease, and/or sleep apnea.
            b.   At least a 5 year history of Morbid Obesity supported by medical documentation.
            c.   It is expected that appropriate non-surgical treatment should have been attempted prior to surgical
                 treatment of obesity. The non-surgical treatment of Morbid Obesity appropriateness criteria
                 includes:
                       1) Medical record documentation of active participation in a clinically supervised, non-
                           surgical program of weight reduction for at least 6 months, occurring within the twenty-
                           four (24) months prior to the proposed surgery and preferably unaffiliated with the
                           bariatric surgery program. Note: The initial BMI at the beginning of a weight reduction
                           program will be the “qualifying” BMI used to meet the BMI criteria for the definition of
                           morbid obesity.
                       2) A program will be considered appropriate if it includes the following components:
                                 i. Nutrition therapy, which may include medical nutrition therapy as a very low
                                     calorie diet such as MediFast or OptiFast OR a recognized commercial diet-
                                     based weight loss program such as Weight Watchers, Jenny Craig, etc.
                                ii. Behavior modification or behavioral health interventions.
                               iii. Counseling and instruction on exercise and increased physical activity.
                               iv. Pharmacologic therapy (as appropriate).
                                v. Ongoing support for lifestyle changes to make and maintain appropriate choices
                                     that will reduce health risk factors and improve overall health.

        To be eligible for surgical treatment of Morbid Obesity, documentation of the following requirements must
        be met:
            a. Documentation that growth is completed. (Generally, growth is considered completed 18 years of
                 age or with documentation of completed bone growth).
            b. Evaluation by a licensed professional counselor, psychologist or psychiatrist, should be completed
                 within the 12 months preceding the request for surgery. This evaluation should document:
                      1) The absence of significant psychopathology that would hinder the ability of an individual
                           to understand the procedure and comply with medical/surgical recommendations.
                      2) Any psychological co-morbidities that are contributing to weight mismanagement or a
                           diagnosed eating disorder.
                      3) Patient’s willingness to comply with preoperative and postoperative treatment plans.

        A Participant may not be eligible for surgical treatment of Morbid Obesity if the following contraindications
        are present:
             a. Mental handicaps that render a patient unable to understand the rules of eating and exercise and
                 therefore make them unable to participate effectively in the post-operative treatment program. An
                 example is a patient with malignant hyperphagia (Prader-Willi syndrome), which combines mental
                 retardation with an uncontrollable desire for food.
             b. Portal hypertension, which is an excessive hazard when laparoscopic gastric bypass surgery is
                 performed.

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             c.   Age greater than 65 because for these patients the weight loss is less effective, the duration of
                  benefits is shorter and the risks of the procedures are greater.

    25. Occupational Therapy. Treatment or services rendered by a registered occupational therapist, under the
        direct supervision of a Physician, in a home setting or at a facility or institution whose primary purpose is to
        provide medical care for an Illness or Injury, or at a free-standing Outpatient facility;

    26. Oral Surgery. Oral Surgery in relation to the bone, including tumors, cysts and growths, not related to the
        teeth and extraction of soft tissue impacted teeth by a Physician or Dentist;

    27. Osseous Surgery. Charges for osseous Surgery;

    28. Pathology Services. Charges for Pathology Services;

    29. Physical Therapy. Treatment or services rendered by a physical therapist, under direct supervision of a
        Physician, in a home setting or a facility or institution whose primary purpose is to provide medical care for an
        Illness or Injury, or at a free-standing duly licensed Outpatient therapy facility;

    30. Physician Services. Services of a Physician for Medically Necessary care, including office visits, home visits,
        Hospital Inpatient care, Hospital Outpatient visits and exams, clinic care and surgical opinion consultations;

    31. Pregnancy Expenses. Dependent Children are eligible for coverage for any expenses in connection with
        Pregnancy.

        Under the Newborns’ and Mothers’ Health Protection Act of 1996, group health plans and health insurance
        issuers generally may not restrict benefits for any Hospital length of stay in connection with childbirth for the
        mother or newborn Child to less than 48 hours following a vaginal delivery, or less than 96 hours following a
        cesarean section. However, Federal law generally does not prohibit the mother’s or newborn’s attending
        Provider, after consulting with the mother, from discharging the mother or her newborn earlier than 48 hours
        (or 96 hours as applicable). In any case, plans and issuers may not, under Federal law, require that a Provider
        obtain authorization from the Plan or the issuer for prescribing a length of stay not in excess of 48 hours (or 96
        hours). In no event will an “attending provider” include a plan, hospital, managed care organization, or other
        issuer.

        Benefits are payable in the same manner as for medical or Surgical care of an Illness, shown in the
        “Summary of Benefits” and this section, and subject to the same maximums;

    32. Preventive Care. Charges for Preventive Care services.
        Benefits mandated through the ACA legislation include Preventive Care such as immunizations, screenings,
        and other services that are listed as recommended by the United States Preventive Services Task Force
        (USPSTF), the Health Resources and Services Administration (HRSA), and the Federal Centers for Disease
        Control (CDC).

        See http://www.uspreventiveservicestaskforce.org or https://www.healthcare.gov/preventive-care-benefits/
        for more details.

        Important Note: The Preventive Care services identified through this link are recommended services, not
        mandated services. It is up to the Provider and/or Physician of care to determine which services to provide; the
        Plan Administrator has the authority to determine which services will be covered;

        Preventive and Wellness Services for Adults and Children – In compliance with section (2713) of the
        Affordable Care Act, benefits are available for evidence-based items or services that have in effect a rating
        of “A” or “B” in the current recommendations of the United States Preventive Services Task Force
        (USPSTF).


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        Immunizations that have in effect a recommendation from the Advisory Committee on Immunization
        Practices (ACIP) of the Centers for Disease Control and Prevention with respect to the individual involved.
        With respect to infants, Children, and adolescents, evidence-informed Preventive Care and screenings as
        provided for in the comprehensive guidelines supported by the Health Resources and Services
        Administration (HRSA).

        A description of Preventive and Wellness Services can be found at: https://www.healthcare.gov/preventive-
        care-benefits/.

        Women’s Preventive Services – With respect to women, such additional Preventive Care and screenings
        as provided for in comprehensive guidelines supported by the Health Resources and Services
        Administration not otherwise addressed by the recommendations of the United States Preventive Service
        Task Force, which will be commonly known as HRSA’s Women’s Preventive Services Required Health
        Plan Coverage Guidelines. The HRSA has added the following eight categories of women’s services to the
        list of mandatory preventive services:

        a.   Well-woman visits;
        b.   Gestational diabetes screening;
        c.   HPV DNA testing;
        d.   Sexually transmitted infection counseling;
        e.   HIV screening and counseling;
        f.   FDA-approved contraception methods and contraceptive counseling;
        g.   Breastfeeding support, supplies and counseling; and
        h.   Domestic violence screening and counseling.

        A description of Women’s Preventive Services can be found at:
        http://www.hrsa.gov/womensguidelines/ or at https://www.healthcare.gov/preventive-care-benefits/.

        For information about breastfeeding support and supplies, including breast pumps, please contact the
        customer service number on the back of the member ID card;

    33. Private Duty Nursing. Private duty nursing (outpatient only);

    34. Prosthetics, Orthotics, Supplies and Surgical Dressings. Prosthetic devices (other than dental) to replace
        all or part of an absent body organ or part, including replacement due to natural growth or pathological
        change, but not including charges for repair or maintenance. Orthotic devices, but excluding orthopedic
        shoes and other supportive devices for the feet;

    35. Radiation Therapy. Charges for radiation and dialysis therapy and treatment;

    36. Respiration Therapy. Respiration therapy services, when rendered in accordance with a Physician’s
        written treatment plan;

    37. Routine Patient Costs for Participation in an Approved Clinical Trial. Charges for any Medically
        Necessary services, for which benefits are provided by the Plan, when a Participant in participating in a
        phase I, II, III or IV clinical trial, conducted in relation to the prevention, detection or treatment of a life-
        threatening Disease or condition, provided:

        a.    The clinical trial is approved by:
               i. The Centers for Disease Control and Prevention of the U.S. Department of Health and Human
                  Services;
              ii. The National Institute of Health;
             iii. The U.S. Food and Drug Administration;
             iv. The U.S. Department of Defense;

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            v. The U.S. Department of Veterans Affairs; or
           vi. An Institutional review board of an Institution in Missouri that has an agreement with the Office
                for Human Research Protections in the U.S. Department of Health and Human Services; and
        b. The research Institution conducting the Approved Clinical Trial and each health professional providing
           routine patient care through the Institution, agree to accept reimbursement at the applicable Allowable
           Expense, as payment in full for routine patient care provided in connection with the Approved Clinical
           Trial.

        Coverage will not be provided for:

        a.   The cost of an Investigational new drug or device that is not approved for any indication by the U.S.
             Food and Drug Administration, including a drug or device that is the subject of the Approved Clinical
             Trial;
        b.   The cost of a service that is not in a health care service, regardless of whether the service is required in
             connection with participation in an Approved Clinical Trial;
        c.   The cost of a service that is clearly inconsistent with wisely accepted and established standards of care
             for a particular Diagnosis;
        d.   A cost associated with managing an Approved Clinical Trial;
        e.   The cost of a health care service that is specifically excluded by the Plan; or
        f.   Services that are part of the subject matter of the Approved Clinical Trial and that are customarily paid
             for by the research Institution conducting the Approved Clinical Trial;

    38. Second Surgical Opinions. Charges for second surgical opinions. Third surgical opinions will be covered if
        second opinion does not agree with the first. Expenses associated with the following are not included: surgical
        procedures which are not covered under the Plan; minor surgical procedures that are routinely performed in a
        Physician’s office, such as incision and drainage of an abscess or excision of benign lesions; an opinion
        obtained more than 3 months after a surgeon first recommended the elective surgical procedure;

    39. Skilled Nursing Facility. Charges made by a Skilled Nursing Facility or a Convalescent Care Facility, up to
        the limits set forth in the Summary of Benefits, in connection with convalescence from an Illness or Injury
        (excluding drug addiction, chronic brain syndrome, alcoholism, senility, mental retardation or other Mental or
        Nervous Disorders) for which the Plan Participant is confined;

    40. Speech Therapy. Speech therapy by a Physician or qualified speech therapist, when needed due to a Sickness
        or Injury (other than a functional nervous disorder) or due to surgery performed as the result of a Sickness or
        Injury, excluding Speech Therapy services that are educational in any part or due to articulation disorders,
        tongue thrust, stuttering, lisping, abnormal speech development, changing an accent, dyslexia, hearing loss
        which is not medically documented or similar disorders;

    41. Sterilization. All FDA approved charges related to sterilization procedures, to the extent required by the
        Affordable Care Act (ACA);

    42. Surgery. Surgical operations and procedures, unless otherwise specifically excluded under the Plan, and
        limited as follows:

             a.   Multiple procedures adding significant time or complexity will be allowed at:

                      (1) 100% of the full Usual and Customary Fee value for the first or major procedure;
                      (2) 50% of the Usual and Customary Fee value for the secondary and subsequent procedures;

             b.   Bilateral procedures which add significant time or complexity, which are provided at the same
                  operative session, will be allowed at 100% of Usual and Customary Fee value for the major
                  procedure, and 50% of the Usual and Customary Fee value for the secondary or lesser procedure;




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             c.   Charges made for services rendered by an assistant surgeon will be allowed at 25% of the Usual, and
                  Customary Fee value for the type of surgery performed;

             d.   No benefit will be payable for incidental procedures, such as appendectomy during an abdominal
                  Surgery, performed during a single operative session;

    43. Surgical Treatment of Jaw. Surgical treatment of Diseases, Injuries, fractures and dislocations of the jaw
        by a Physician or Dentist;

    44. Temporomandibular Joint Disorder. Charges for the diagnosis and treatment of, or in connection with,
        temporomandibular joint disorders, myofacial pain dysfunction or orthognathic treatment; and

    45. Transplants. Organ or tissue transplants are covered for the following human to human organ or tissue
        transplant procedures:

             a.   Bone marrow;
             b.   Heart;
             c.   Lung;
             d.   Heart and lung;
             e.   Liver;
             f.   Pancreas;
             g.   Kidney; and
             h.   Cornea.

         In addition, the Plan will cover any other transplant that is not Experimental.

         Covered expenses will be considered the same as any other Sickness for Employees or Dependents as a
         recipient of an organ or tissue transplant. Covered expenses include:

             a.   Organ or tissue procurement from a cadaver consisting of removing, preserving and transporting
                  the donated part;
             b.   Services and supplies furnished by a Provider; and
             c.   Drug therapy treatment to prevent rejection of the transplanted organ or tissue.

15.02 Psychiatric and Substance Abuse Benefits
The Plan will provide benefits for intermediate levels of care for mental health conditions and substance abuse
disorders in parity with medical or surgical care of the same level. For instance, if the Plan provides benefits for a
skilled nursing or rehabilitation facility for medical or surgical treatment, the Plan will provide equal benefits for
intensive outpatient therapy or partial hospitalization. Contact the customer service number on the back of the
member ID card for more information.

15.02A Inpatient Benefits
Subject to the limitations contained in the Summary of Benefits, the Plan will pay covered expenses for:

    1.   Semi-private hospital Room and Board;
    2.   Miscellaneous facility charges on days a Room and Board charge is covered;
    3.   Individual psychotherapy;
    4.   Group psychotherapy;
    5.   Psychological testing;
    6.   Family counseling; and
    7.   Convulsive therapy treatment.

The benefits above are also available when receiving treatment during the day only or during the night only at a
day/night Psychiatric Hospital or at a Substance Abuse Treatment Center and/or Rehabilitation Hospital.



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15.02B Outpatient Benefits
Subject to the limitations contained in the Summary of Benefits, the Plan will pay covered expenses for:

    1.   Individual psychotherapy;
    2.   Group psychotherapy;
    3.   Psychological testing;
    4.   Family counseling;
    5.   Convulsive therapy treatment; and
    6.   Prescription drugs or medicines for the treatment of mental illness or chemical dependency.

15.03 Exclusions
Some health care services are not covered by the Plan. In addition to the General Exclusions set forth in Article VII,
these include, but are not limited to, any charge for care, supplies, or services, which are:

    1.   Abortion. Expenses incurred directly or indirectly as the result of an abortion, except when the pregnancy
         is the result of rape or incest or the mother’s life is endangered;

    2.   Acupuncture. Charges relating directly or indirectly to acupuncture;

    3.   Biofeedback. Biofeedback;

    4.   Consultations. Consultations, charges for failure to keep a scheduled visit, or charges for completion of a
         claim form;

    5.   Cosmetic Surgery. Charges for Cosmetic Surgery;

    6.   Custodial Care. Custodial Care, domiciliary care or rest cures, or home health care except as specifically
         provided herein;

    7.   Education or Training Program. Services performed by a Physician or other Provider enrolled in an
         education or training program when such services are related to the education or training program, except as
         specifically provided herein;

    8.   Eye Refractions. Eye refractions, eyeglasses, contact lenses, or the vision examination for prescribing or
         fitting eyeglasses or contact lenses (except for aphakic patients, and soft lenses or sclera shells intended for
         use in the treatment of Disease or Injury);

    9.   Glaucoma. Treatment of glaucoma, cataract Surgery and one set of lenses (contacts or frame-type);

    10. Genetic Testing. Expenses related to Genetic Testing performed as a diagnostic tool; to predict the
        presence of a specific disease in those with familial history, preconception or prenatal screening; or
        population screening;

    11. Hair Pieces. Wigs, artificial hair pieces, human or artificial hair transplants, or any drug, prescription or
        otherwise, used to eliminate baldness;

    12. Hearing Devices. Hearing aids or examinations for the prescription or fitting of hearing aids;

    13. Hypnosis. Expenses related to the use of hypnosis;

    14. Oral Surgery. Oral Surgery or dental treatment, except as specifically provided in the Plan;

    15. Organ Transplants. Expenses related to donation of a human organ or tissue, except as specifically
        provided;


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    16. Orthopedic Shoes. Orthopedic shoes, unless they are an integral part of a leg brace and the cost is
        included in the orthotist’s charge, and other supportive devices for the feet;

    17. Personal Convenience Items. Equipment that does not meet the definition of Durable Medical Equipment,
        including air conditioners, humidifiers and exercise equipment, whether or not recommended by a
        Physician;

    18. Radial Keratotomy. Radial keratotomy or other plastic surgeries on the cornea in lieu of eyeglasses;

    19. Routine Physical Examinations. Routine or periodic physical examinations, related x-ray and laboratory
        expenses, and nutritional supplements, except as provided in the Summary of Benefits;

    20. Sex Change Operation. Expenses related to a sex change operation or treatment of sexual dysfunction not
        related to organic disease;

    21. Travel. Travel, whether or not recommended by a Physician, except as specifically provided herein; and

    22. Vitamins. Vitamins.

15.04    Cost Containment

15.04A Pre-Certification Procedures
The Inpatient Utilization Management Service is simple and easy for Participants to use. Whenever a Participant is
advised that Inpatient Hospital care is needed, it is the Participant’s responsibility to call the pre-certification
department at its toll-free number, which is 1-877-284-0102. The review process will continue, as outlined below,
until the Participant is discharged from the Hospital. Pre-certification is not required for Inpatient admission to
skilled nursing facilities, convalescent or rehabilitation facilities unless otherwise stated in this document.

Urgent Care or Emergency Admissions:
If a Participant needs medical care for a condition which could seriously jeopardize his or her life, obtain
such care without delay, and communicate with the Plan as soon as reasonably possible.

If a Participant must be admitted on an Emergency basis, the Participant should follow the Physician’s instructions
carefully and contact the pre-certification department as follows:

    1.   For Emergency admissions after business hours on Friday, on a weekend or over a holiday weekend, a call
         to the pre-certification department must be made within 72 hours after the admission date, but no later than
         the first business day following the Emergency admission, by or on behalf of the covered patient; and
    2.   For Emergency admissions on a weekday, a call to the pre-certification department must be made within 24
         hours after the admission date.

The Plan does not require the Participant to obtain approval of a medical service prior to getting treatment for an
urgent care or emergency situation, so there are no “Pre-service Urgent Care Claims” under the Plan. The
Participant simply follows the Plan’s procedures with respect to any notice which may be required after receipt of
treatment, and files the claim as a Post-service Claim.

Non-emergency Admissions:
For Inpatient Hospital stays that are scheduled in advance, a call to the pre-certification department should be
completed as soon as possible before actual services are rendered. Once the pre-certification call is received, it will
be routed to an appropriate review specialist who will create an on-line patient file. The review specialist will
contact the Participant’s attending Physician to obtain information and to discuss the specifics of the admission
request. An on-line expert system that features state-of-the-art, widely accepted clinical review criteria is used to
effectively guide the review process. If appropriate, alternative care will be explored with the Physician.




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If, after assessing procedure necessity, the need for an Inpatient confinement is confirmed, the review specialist will
determine the intensity of management required and will remain in contact with the Physician or Hospital during the
confinement.

If, at any time during the review process, Medical Necessity cannot be validated, the review specialist will refer the
episode to a board-certified Physician advisor who will immediately contact the attending Physician to negotiate an
appropriate treatment plan. At the end of the Hospital confinement, the review specialist is also available to assist
with discharge planning and will work closely with the attending Physician and Hospital to ensure that medically
appropriate arrangements are made.

Ambulance (air/flight) Services:
All flight-based inter-facility patient transport services require pre-certification from the Plan Administrator via
Sentinel Air Medical Alliance, LLC. Please contact Sentinel Air Medical Alliance, LLC at (877) 542-8828.

Sentinel Air Medical Alliance, LLC may discuss with the Physician and/or Hospital/facility the Diagnosis and the
need for inter-facility patient transport versus alternatives.

Failure to notify Sentinel Air Medical Alliance, LLC and subsequently obtain a pre-certification number from
Sentinel Air Medical Alliance, LLC may, solely in the Plan Administrator’s discretion, result in a reduction or denial
of benefits for charges arising from or related to flight-based inter-facility patient transport. Non-compliance
penalties imposed for failure to notify Sentinel Air Medical Alliance, LLC will not be included as part of the annual
out of pocket maximum.

The Plan Administrator retains the discretionary authority to limit benefit availability to alternative Providers of
inter-facility patient transport if and when a Provider fails to comply with the terms of the Plan, or proposed charges
exceed the Maximum Allowable Charge in accordance with the terms of the Plan.

15.04B Pre-Certification Penalty
The program requires the support and cooperation of each Participant. If a Participant follows the instructions and
procedures, he or she will receive the normal Plan benefits for the services. However, if a Participant fails to notify
pre-certification department of any Inpatient Hospital stay as required in the section entitled “Pre-Certification
Procedures,” allowed charges will be reduced by $250 for Room and Board, Hospital miscellaneous services, and
any other charges related to that confinement which are billed by the Hospital. The Participant will be responsible
for payment of the part of the charge that is not paid by the Plan.

15.04C Alternate Course of Treatment
Certain types of conditions, such as spinal cord Injuries, cancer, AIDS or premature births, may require long-term, or
perhaps lifetime, care. The claims selected will be evaluated as to present course of treatment and alternate care
possibilities.

If the Plan Administrator should determine that an alternate, less expensive, course of treatment is appropriate, and if
the attending Physician agrees to the alternate course of treatment, all Medically Necessary expenses stated in the
treatment plan will be eligible for payment under the Plan, subject to the applicable lifetime benefit set forth in this
Plan, even if these expenses normally would not be eligible for payment under the Plan. In the event the Participant
and the attending Physician select a more expensive course of treatment, coverage under the Plan will be based upon
the charge allowed for the alternate, less expensive, course of treatment.

15.04D Oncology Program
This provision describes a specialty case management program designed for certain aspects of care received by
cancer patients who are beneficiaries under the Plan.

Your Plan has entered into an arrangement with American Health Holding, a company specializing in oncology case
management, to assist you and your oncologist during the course of cancer treatment when administered either in an
outpatient setting (e.g., in the physician’s office or other covered outpatient setting) or an inpatient setting. The



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program applies to the plan of treatment for all cancer types and stages and begins with a treatment planning phase
(including drug and/or radiation treatment) and continues through active treatment and transitional care.

A Registered Nurse will be assigned to you and will contact you to provide support, education, and answer any
questions you might have about your disease and your treatment plan and will remain in contact with you and your
oncologist for the duration of your cancer journey.

Unless your oncologist has entered into an agreement with HealthSCOPE Benefits to accept other reimbursement
rates, the payment for all drugs used in the treatment of cancer will be limited to the rate of Average Sales Price plus
10%. Average Sales Price is the price calculated by pharmaceutical manufacturers and submitted to the Centers for
Medicare and Medicaid Services (CMS) on a quarterly basis.




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                                                ARTICLE XVI
                                              DENTAL BENEFITS
Employees only are eligible for Dental coverage after 5 years of employment with the Participating Employer.
Dependent Spouses are children are not eligible.

Maximum benefit per calendar year for Class 1, 2 and 3 Services                                         $200


                             Covered Dental Expenses:                                                  Benefits
Class 1 Services (Preventive Care)                                                                      80%
Class 2 Services (Repair and Restoration)                                                               80%
Class 3 Services (Major Dental Repair)                                                                  80%
Charges are limited to Usual and Customary Fees.

16.01 Covered Expenses
The following is a brief description of the types of expenses that will be considered for coverage under the Plan,
subject to the limitations contained in the Summary of Benefits. Charges must be for services and supplies
customarily employed for treatment of the dental condition, and rendered in accordance with ADA accepted
standards of practice. Coverage will be limited to Usual and Customary Fees.

Class 1 Services (Preventive Care)

    1.   Routine oral examinations and prophylaxis (cleaning, scaling and polishing teeth), but not more than once
         each in any period of 6 consecutive months;
    2.   Full mouth x-rays, but not more than once in any period of 6 consecutive months;
    3.   Panoramic x-rays, but not more than once in any period of 12 consecutive months;
    4.   Periapical x-rays, as required, and bitewing x-rays once in any period of 6 consecutive months; and
    5.   Topical application of fluoride for Dependent Children, but not more than once in any period of 6
         consecutive months; and

Class 2 Services (Repair and Restoration)

    1.   Palliative Emergency treatment of an acute condition requiring immediate care.
    2.   All Medically Necessary x-rays;
    3.   Amalgam, silicate, acrylic, synthetic porcelain and composite filling restorations to restore diseased or
         accidentally broken teeth. Gold foil restorations are not eligible;
    4.   Simple extractions;
    5.   Endodontics, including pulpotomy, direct pulp capping and root canal treatment;
    6.   Anesthetic services, except local infiltration or block anesthetics, performed by, or under the direct personal
         supervision of, and billed for by a Dentist, other than the operating Dentist or his or her assistant;
    7.   Periodontal examinations, treatment and surgery; and
    8.   Consultations.

Class 3 Services (Major Dental Repair)
Prosthodontic services (initial installation or replacement of bridgework or dentures) will be covered only when a
Participant has been covered continuously for at least 12 months, unless otherwise required by applicable law.

    1.   Inlays, gold fillings, crowns, and initial installation of full or partial dentures or fixed bridgework to replace
         one or more natural teeth;
    2.   Repair or recementing of crowns, inlays, bridgework or dentures and relining of dentures once in any period
         of 12 consecutive months;




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    3.   Unless otherwise required by applicable law, replacement of an existing denture or fixed bridgework, or the
         addition of teeth to an existing partial removable denture or bridgework, to replace one or more natural
         teeth:
              a. Where the existing denture or bridgework was installed at least five years prior to its replacement
                   and it cannot be made serviceable; or
              b. Where the existing denture is an immediate temporary denture, and necessary replacement by the
                   permanent denture takes place within 12 months;
    4.   Periodontal scaling;
    5.   Oral Surgery;
    6.   Re-lines;
    7.   Post and core; and
    8.   Stainless steel crowns.

16.02 Exclusions and Limitations
The following exclusions and limitations are in addition to those set forth in the Articles entitled “General
Limitations and Exclusions,” and “Summary of Benefits.”

    1.   Adjustments. Charges for services to alter vertical dimension (work done or appliance used to increase the
         distance between nose and chin); to restore or maintain occlusion (work done or appliance used to change
         the way the top and bottom teeth meet or mesh); to replace tooth structure lost as a result of abrasion or
         attrition; for splinting; or for treatment of disturbances of the temporomandibular joint;

    2.   Administrative Costs. For administrative costs of completing claim forms or reports or for providing
         dental records;

    3.   After the Termination Date. The Plan will not pay for services or supplies furnished after the date
         coverage terminates, even if payments have been predetermined for a course of treatment submitted before
         the termination date. However, benefits for covered dental expenses incurred for the following procedures
         will be payable as though the coverage had continued in force:

             a.   A prosthetic device, such as full or partial dentures, if the Dentist took the impression and prepared
                  the abutment teeth while the patient was a Participant in the Plan, and delivers and installs the
                  device within two months following termination of coverage;
             b.   A crown, if the Dentist prepared the tooth for the crown while the patient was a Participant in the
                  Plan, and installs the crown within two months following termination of coverage; and
             c.   Root canal therapy if the Dentist opened the tooth while the patient was a Participant in the Plan,
                  and completes the treatment within two months following termination of coverage;

    4.   Broken Appointments. For charges for broken or missed dental appointments;

    5.   Cosmetic. Charges for cosmetic dental work. This includes, but is not limited to, characterization of
         dentures and services to correct congenital or developmental malformations. This exclusion will not apply
         to cosmetic work needed as a result of Accidental Injuries, but damage resulting from biting or chewing is
         not considered an Accidental Injury. This exclusion also does not apply to covered Orthodontic Treatment;

    6.   Crowns. For crowns for teeth that are restorable by other means or for the purpose of Periodontal
         Splinting;

    7.   Education. Charges for instruction in oral hygiene, plaque control or diet;

    8.   Excess Charges. Charges in excess of the Reasonable Charge for the service or supply received or charges
         in excess of any maximum payable under this Plan;




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     9.   Experimental. Charges for Experimental dental care, implantology or dental care which is not customarily
          used or which does not meet the standards set by the American Dental Association;

     10. Government Provided. Charges for dental care paid for or provided by the laws of any government or
         treatment given in a government-owned facility, unless the Employee or Dependent is legally required to
         pay;

     11. Hygiene. For oral hygiene, plaque control programs or dietary instructions;

     12. Immediate Relative. Services rendered by a person who is an immediate relative of, or who ordinarily
         resides with, the Plan Participant requiring treatment. “Immediate relative” means spouse, child, brother,
         sister or parent of the Plan Participant, whether by birth, adoption or marriage;

     13. Implants. For implants, including any appliances and/or crowns and the surgical insertion or removal of
         implants except, first-time non-cosmetic dental implants;

     14. Late Enrollee. Charges for crowns, bridgework, dentures, periodontics and orthodontics incurred during
         the first 24 months of coverage for a late enrollee, unless such services and supplies are needed as a result
         of Accidental Injury sustained by the Plan Participant. (Damage resulting from biting or chewing is not
         considered an Accidental Injury.) “Late enrollee” means a person who enrolls for coverage during an
         annual enrollment period because he or she failed to enroll when first eligible for coverage or during a
         special enrollment period;

     15. Miscellaneous. The Plan does not cover any charge, service or supply which is:

              a. For treatment other than by a Dentist or Physician, except:
                      (1) Cleaning, scaling and application of fluoride performed by a licensed dental hygienist
                           under the supervision of a Dentist; and
                      (2) Non-experimental services performed at a dental school under the supervision of a
                           Dentist, if the school customarily charges patients for its services;
              b. For local infiltration anesthetic when billed for separately by a Dentist;
              c. For personalization or characterization of dentures or veneers or any cosmetic procedures or
                 supplies;
              d. For oral hygiene or dietary instruction;
              e. For a plaque control program (a series of instructions on the care of the teeth);
              f. For implants, including any appliances and/or crowns and the surgical insertion or removal of
                 implants;
              g. For periodontal splinting;
              h. For consultations, charges for failure to keep a scheduled visit, or charges for completion of a
                 claim form;
              i. For substances or agents which are administered to minimize fear, or charges for analgesia, unless
                 the patient is handicapped by cerebral palsy, mental retardation or spastic disorder;
              j. For replacement of a lost, missing or stolen prosthetic device;
              k. Not equal to accepted standards of dental practice, including charges for services or supplies which
                 are Experimental;
              l. Paid, payable or required to be provided under any no-fault or equivalent automobile insurance
                 law. Any uninsured motorist will be considered to be self-insured;
              m. Charges for missed appointments or completion of claim forms;
              n. Covered under the “Medical Benefits” Article of the Plan; and
              o. Services performed by a Physician or other Provider enrolled in an education or training program
                 when such services are related to the education or training program, except as specifically provided
                 herein;

     16. Missing Appliances. Charges for replacement of lost, missing or stolen appliances or prosthetic devices;


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     17. More Expensive Course of Treatment. In all cases involving covered services in which the Provider and
         the Participant select a more expensive course of treatment than is customarily provided by the dental
         profession, consistent with sound professional standards of dental practice for the dental condition
         concerned, coverage under the Plan will be based upon the charge allowed for the lesser procedure;

     18. No Coverage. Services or supplies for which charges are incurred at a time when no coverage is in force
         for that person, or for which charges are incurred while coverage is in force, but final delivery is made more
         than 3 months after the date coverage for that person terminated;

     19. No Legal Obligation. Charges for which the person has no legal obligation to pay, or for which no charge
         would be made in the absence of a Treatment Plan;

     20. No Listing. For services which are not included in the list of covered dental services;

     21. Not Necessary. Charges for unnecessary care, treatment, services or supplies, including replacement at any
         time of a bridge or denture which meets or can be made to meet commonly held dental standards of
         functional acceptability;

     22. Not Recommended. Charges for services or supplies which are not recommended and approved by a
         Dentist or Physician;

     23. Occupational. Charges for dental care which results from any employment, if covered to any extent by
         worker’s compensation or similar law;

     24. Orthognathic Surgery. For surgery to correct malpositions in the bones of the jaw;

     25. Personalization. For expenses for services or supplies that are cosmetic in nature, including charges for
         personalization or characterization of dentures;

     26. Replacements. Charges for replacement made within five years after the last placement of any prosthetic
         appliance, crown, inlay or onlay restoration, or fixed bridge. This exclusion is waived if replacement is
         needed because the appliance, crown, inlay, onlay or bridge, while in the oral cavity, is damaged beyond
         repair due to Injury sustained by the Plan Participant. (Damage resulting from biting or chewing is not
         considered an Accidental Injury;)

     27. Self-Inflicted. Charges for care, treatment, services and supplies needed as a result of intentionally
         self-inflicted Injury or Sickness;

     28. Single Provider Care. In the event a Participant transfers from the care of one Provider to that of another
         during a course of treatment, or if more than one Provider performs services for one or more dental
         procedures, the Plan shall consider only such expense as would be appropriate had a single Provider
         performed the service. An appropriate expense in this case will be the Usual and Customary Fee;

     29. Splinting. For crowns, fillings or appliances that are used to connect (splint) teeth, or change or alter the
         way the teeth meet, including altering the vertical dimension, restoring the bite (occlusion) or are cosmetic;
         and

     30. War/Riot. Charges for services or supplies needed as a result of war, declared or undeclared, or any act of
         war or act of aggression by any Country; or voluntary participation in a riot.




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                                           ARTICLE XVII
                                    PRESCRIPTION DRUG BENEFITS


                     Covered Prescription Drug Expenses:                              Participating Pharmacy

  Pharmacy Option:
  Copayment, per prescription or refill, for generic                                      20% coinsurance
                                                                                     $5 minimum, $25 maximum
  Copayment, per prescription or refill, for formulary name brands                        20% coinsurance
                                                                                    $25 minimum, $50 maximum
  Copayment, per prescription or refill, for non-formulary name brands                    20% coinsurance
                                                                                    $40 minimum, $75 maximum

  Mail Order Option:
  Copayment, per prescription or refill, for generic                                      20% coinsurance
                                                                                     $15 minimum, $75 maximum
  Copayment, per prescription or refill, for formulary name brands                        20% coinsurance
                                                                                    $65 minimum, $130 maximum
  Copayment, per prescription or refill, for non-formulary name brands                    20% coinsurance
                                                                                   $100 minimum, $175 maximum

  Specialty Drugs (30-day supply):
  Copayment, per prescription or refill                                                      $100 copay


 Participating pharmacies (“Participating Pharmacies”) have contracted with the Plan to charge Participants reduced
 fees for covered Drugs. LDI is the administrator of the prescription drug plan. Participants will be issued an
 identification card to use at the pharmacy at time of purchase. Participants will be held fully responsible for the
 consequences of any pharmacy identification card after termination of coverage. No reimbursement will be made
 when a Drug is purchased from a non-Participating Pharmacy or when the identification card is not used.

 The Mail Order Option is available for maintenance medications (those that are taken for long periods of time, such
 as Drugs sometimes prescribed for heart disease, high blood pressure, asthma, etc.). Because of the volume buying,
 LDI, the mail order pharmacy, is able to offer Participants significant savings on their prescriptions.

 The copayment is applied to each charge and is shown on the Summary of Benefits, above. The copayment amount
 is not counted toward any out-of-pocket maximums under the Plan.

 17.01 Covered Expenses
 The following are covered under the Plan:

     1.   Acne Control and Cosmetic Anti-Aging. Accutane and Retin A;

     2.   Andro Gels. Charges for andro gels with prior authorization after generic has been prescribed;

     3.   Bee Sting Kits. Charges for EPI PEN and Ana-Kit;

     4.   Blood and Blood Plasma. Charges for Blood and Blood Plasma;

     5.   Compounded Prescriptions. All compounded prescriptions containing at least one prescription ingredient
          in a therapeutic quantity, with prior authorization;


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     6.   Contraceptives. All FDA approved contraceptives Drugs and methods, in accordance with HRSA
          guidelines;

     7.   DESI Drugs. Charges for DESI Drugs;

     8.   Diabetes. Insulins, insulin syringes and needs, diabetic supplies – legend diabetic supplies – over-the-
          counter, and glucose test strips, when prescribed by a Physician. Certain diabetic medications will require
          prior authorization;

     9.   Fertility Agents. Charges for fertility agents;

     10. Gleevec. Gleevec, for treatment of any of the following conditions:

              a.   CML myeloid blast crisis;
              b.   CML accelerated phase; or
              c.   CML in chronic phase after failure of interferon treatment;

          Prior authorization is required. In order to obtain such authorization, information from the patients’
          Physician indicating the condition being treated must be submitted to the Plan.

     11. Glucose Meters. Charges for glucose meters;

     12. Imitrex Injection. Charges for Imitrex injections (migrane auto-injector);

     13. Immunizations. Immunization agents or biological sera;

     14. Immunologicals. Charges for Immunologicals (vaccines);

     15. Impotency. A charge for impotency medication, including Viagra;

     16. Injectables. A charge for injectables;

     17. Legend Drugs.

              a.   Diabetic supplies;
              b.   Legend Drugs with over-the-counter equivalents;
              c.   Vitamins; and
              d.   Pre-natal vitamins;

     18. Over-the-Counter (OTC) Drugs. OTC Drugs related to Preventive and Wellness Services as specified by
         the Affordable Care Act of 2010. A description of these services can be found at:
         https://www.healthcare.gov/preventive-care-benefits/.

          This includes FDA-approved generic Drugs and Over-the-Counter (OTC) Drugs, devices and supplies
          related to Women’s Preventive Services, as specified by the Affordable Care Act of 2010.

          A description of FDA-approved contraceptive methods can be found at:
          http://www.fda.gov/ForConsumers/ByAudience/ForWomen/WomensHealthTopics/ucm117971.htm;

     19. Required by Law. All Drugs prescribed by a Physician that require a prescription either by Federal or
         State law, except injectables (other than insulin) and the Drugs excluded below;

     20. Smoking Deterrents. A charge for Drugs or aids for smoking cessation, including, but not limited to,
         nicotine gum and smoking cessation patches; and


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     21. Specialty Drugs. Charges for specialty drugs obtained through LDI with prior authorization, limited to 30-
         day supply;

     22. Vaccinations. Charges for flu, shingles and pneumonia shots;

     23. Vitamins. Vitamins.

 17.02 Limitations
 The benefits set forth in this Article will be limited to:

     1.   Dosages.
             a. With respect to the Pharmacy Option, any one prescription is limited to a 34-day supply; and
             b. With respect to the Mail Order Option, any one prescription is limited to the greater of a 91-day
                  supply.

     2.   Refills.
              a. Refills only up to the number of times specified by a Physician; and
              b. Refills up to one year from the date of order by a Physician.

 17.03 Exclusions
 In addition to the General Exclusions set forth in Article VII, the following are not covered by the Plan:

     1.   Administration. Any charge for the administration of a covered Drug;

     2.   Allergy Sera. Charges for allergy sera;

     3.   Anorexiants. Anorexiants (weight-loss drugs);

     4.   Consumed Where Dispensed. Any Drug or medicine that is consumed or administered at the place where
          it is dispensed;

     5.   Devices. Devices of any type, even though such devices may require a prescription, including, but not
          limited to, therapeutic devices, artificial appliances, braces, support garments or any similar device;

     6.   Excluded Items. Any charge excluded under the Articles entitled “General Limitations and Exclusions,” or
          “Summary of Benefits”;

     7.   Experimental Drugs. Experimental Drugs and medicines, even though a charge is made to the Participant;

     8.   Growth Hormones. Charges for growth hormones;

     9.   Institutional Medication. A Drug or medicine that is to be taken by a Participant, in whole or in part,
          while confined in an Institution, including any Institution that has a facility for dispensing Drugs and
          medicines on its premises;

     10. Investigational Use Drugs.           A Drug or medicine labeled “Caution – limited by Federal law to
         investigational use;”

     11. Medical Devices and Supplies. Charges for legend and over-the-counter medical devices and supplies;

     12. No Charge. A charge for Drugs which may be properly received without charge under local, State or
         Federal programs;

     13. Non-Insulin Syringes/Needles. Charges for non-insulin syringes and needles;


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     14. Non-Prescription Drug or Medicine. A Drug or medicine that can legally be bought without a
         prescription, except for injectable insulin;

     15. Over-the-Counter Drugs. Charges for over-the-counter drugs, except as required herein;

     16. Occupational. Prescriptions necessitated due to an occupational activity or event occurring as a result of
         an activity for wage or profit;

     17. Rogaine. Charges for Rogaine (topical minoxidil); and

     18. Steroids. Anabolic steroids.




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                                               ARTICLE XVIII
                                               HIPAA PRIVACY
 Commitment to Protecting Health Information

 The Plan will comply with the Standards for Privacy of Individually Identifiable Health Information (i.e., the
 “Privacy Rule”) set forth by the U.S. Department of Health and Human Services (“HHS”) pursuant to the Health
 Insurance Portability and Accountability Act (“HIPAA”). Such standards control the dissemination of “protected
 health information” (“PHI”) of Plan Participants. Privacy standards will be implemented and enforced in the offices
 of the Employer and Plan Sponsor and any other entity that may assist in the operation of the Plan.

 The Plan is required by law to take reasonable steps to ensure the privacy of the Plan Participant’s PHI, and inform
 him/her about:

     1.   The Plan’s disclosures and uses of PHI;
     2.   The Plan Participant’s privacy rights with respect to his/her PHI;
     3.   The Plan’s duties with respect to his/her PHI;
     4.   The Plan Participant’s right to file a complaint with the Plan and with the Secretary of HHS; and
     5.   The person or office to contact for further information about the Plan’s privacy practices.

 Within this provision capitalized terms may be used, but not otherwise defined. These terms shall have the same
 meaning as those terms set forth in 45 CFR Sections 160.103 and 164.501. Any HIPAA regulation modifications
 altering a defined HIPAA term or regulatory citation shall be deemed incorporated into this provision.

 How Health Information May be Used and Disclosed

 In general, the Privacy Rules permit the Plan to use and disclose an individual’s PHI, without obtaining
 authorization, only if the use or disclosure is:

     1.   To carry out Payment of benefits;
     2.   For Health Care Operations;
     3.   For Treatment purposes; or
     4.   If the use or disclosure falls within one of the limited circumstances described in the rules (e.g., the
          disclosure is required by law or for public health activities).

 Disclosure of PHI to the Plan Sponsor for Plan Administration Purposes

 In order that the Plan Sponsor may receive and use PHI for plan administration purposes, the Plan Sponsor agrees to:

     1.   Not use or further disclose PHI other than as permitted or required by the Plan documents or as required by
          law (as defined in the privacy standards);

     2.   Ensure that any agents, including a subcontractor, to whom the Plan Sponsor provides PHI received from
          the Plan, agree to the same restrictions and conditions that apply to the Plan Sponsor with respect to such
          PHI;

     3.   Establish safeguards for information, including security systems for data processing and storage;

     4.   Maintain the confidentiality of all PHI, unless an individual gives specific consent or authorization to
          disclose such data or unless the data is used for health care payment or Plan operations;

     5.   Receive PHI, in the absence of an individual’s express authorization, only to carry out Plan administration
          functions;



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     6.   Not use or disclose PHI for employment-related actions and decisions or in connection with any other
          benefit or employee benefit plan of the Plan Sponsor, except pursuant to an authorization which meets the
          requirements of the privacy standards;

     7.   Report to the Plan any PHI use or disclosure that is inconsistent with the uses or disclosures provided for of
          which the Plan Sponsor becomes aware;

     8.   Make available PHI in accordance with section 164.524 of the privacy standards (45 CFR 164.524);

     9.   Make available PHI for amendment and incorporate any amendments to PHI in accordance with section
          164.526 of the privacy standards (45 CFR 164.526);

     10. Make available the information required to provide an accounting of disclosures in accordance with section
         164.528 of the privacy standards (45 CFR 164.528);

     11. Make its internal practices, books and records relating to the use and disclosure of PHI received from the
         Plan available to the Secretary of the U.S. Department of Health and Human Services (“HHS”), or any
         other officer or employee of HHS to whom the authority involved has been delegated, for purposes of
         determining compliance by the Plan with part 164, subpart E, of the privacy standards (45 CFR 164.500 et
         seq);

     12. Report to the Plan any inconsistent uses or disclosures of PHI of which the Plan Sponsor becomes aware;

     13. Train employees in privacy protection requirements and appoint a privacy compliance coordinator
         responsible for such protections;

     14. If feasible, return or destroy all PHI received from the Plan that the Plan Sponsor still maintains in any form
         and retain no copies of such PHI when no longer needed for the purpose for which disclosure was made,
         except that, if such return or destruction is not feasible, limit further uses and disclosures to those purposes
         that make the return or destruction of the PHI infeasible; and

     15. Ensure that adequate separation between the Plan and the Plan Sponsor, as required in section
         164.504(f)(2)(iii) of the privacy standards (45 CFR 164.504(f)(2)(iii)), is established as follows:
                 (a) The following employees, or classes of employees, or other persons under control of the Plan
                 Sponsor, shall be given access to the PHI to be disclosed:
                         (i) Privacy Officer: The access to and use of PHI by the individuals described above shall
                         be restricted to the plan administration functions that the Plan Sponsor performs for the
                         Plan.
                 (b) In the event any of the individuals described in above do not comply with the provisions of the
                 Plan documents relating to use and disclosure of PHI, the Plan Administrator shall impose
                 reasonable sanctions as necessary, in its discretion, to ensure that no further non-compliance
                 occurs. The Plan Administrator will promptly report such violation or non-compliance to the Plan,
                 and will cooperate with the Plan to correct violation or non-compliance to impose appropriate
                 disciplinary action or sanctions. Such sanctions shall be imposed progressively (for example, an
                 oral warning, a written warning, time off without pay and termination), if appropriate, and shall be
                 imposed so that they are commensurate with the severity of the violation.

 Disclosure of Summary Health Information to the Plan Sponsor

 The Plan may disclose PHI to the Plan Sponsor of the group health plan for purposes of plan administration or
 pursuant to an authorization request signed by the Plan Participant. The Plan may use or disclose “summary health
 information” to the Plan Sponsor for obtaining premium bids or modifying, amending, or terminating the group
 health plan.




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 Disclosure of Certain Enrollment Information to the Plan Sponsor

 Pursuant to section 164.504(f)(1)(iii) of the privacy standards (45 CFR 164.504(f)(1)(iii)), the Plan may disclose to
 the Plan Sponsor information on whether an individual is participating in the Plan or is enrolled in or has un-enrolled
 from a health insurance issuer or health maintenance organization offered by the Plan to the Plan Sponsor.

 Disclosure of PHI to Obtain Stop-loss or Excess Loss Coverage

 The Plan Sponsor may hereby authorize and direct the Plan, through the Plan Administrator or the third party
 administrator, to disclose PHI to stop-loss carriers, excess loss carriers or managing general underwriters (“MGUs”)
 for underwriting and other purposes in order to obtain and maintain stop-loss or excess loss coverage related to
 benefit claims under the Plan. Such disclosures shall be made in accordance with the privacy standards.

 Other Disclosures and Uses of PHI:

 Permissible Uses and Disclosures of PHI

     1.   Treatment, Payment and Health Care Operations: The Plan has the right to use and disclose a Plan
          Participant’s PHI for all activities as included within the definitions of Treatment, Payment, and Health
          Care Operations and pursuant to the HIPAA Privacy Rule.

     2.   Business Associates: The Plan contracts with individuals and entities (Business Associates) to perform
          various functions on its behalf. In performance of these functions or to provide services, Business
          Associates will receive, create, maintain, use, or disclose PHI, but only after the Plan and the Business
          Associate agree in writing to contract terms requiring the Business Associate to appropriately safeguard the
          Plan Participant’s information.

     3.   Other Covered Entities: The Plan may disclose PHI to assist health care Providers in connection with their
          treatment or payment activities or to assist other covered entities in connection with payment activities and
          certain health care operations. For example, the Plan may disclose PHI to a health care Provider when
          needed by the Provider to render treatment to a Plan Participant, and the Plan may disclose PHI to another
          covered entity to conduct health care operations. The Plan may also disclose or share PHI with other
          insurance carriers (such as Medicare, etc.) in order to coordinate benefits, if a Plan Participant has coverage
          through another carrier.

 Other Permissible Uses and Disclosures of PHI

     1.   Required by Law: The Plan may use or disclose PHI when required by law, provided the use or disclosure
          complies with and is limited to the relevant requirements of such law.

     2.   Public Health and Safety: The Plan may use or disclose PHI when permitted for purposes of public health
          activities, including disclosures to:

                          (a) a public health authority or other appropriate government authority authorized by law
                              to receive reports of child abuse, neglect or domestic violence;
                          (b) report reactions to medications or problems with products or devices regulated by the
                              Federal Food and Drug Administration or other activities related to quality, safety, or
                              effectiveness of FDA-regulated products or activities;
                          (c) locate and notify persons of recalls of products they may be using; and
                          (d) a person who may have been exposed to a communicable disease or may otherwise be
                              at risk of contracting or spreading a disease or condition, if authorized by law.

     3.   The Plan may disclose PHI to a government authority, except for reports of child abuse or neglect permitted
          by (5) above, when required or authorized by law, or with the Plan Participant’s agreement, if the Plan

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          reasonably believes he/she to be a victim of abuse, neglect, or domestic violence. In such case, the Plan will
          promptly inform the Plan Participant that such a disclosure has been or will be made unless the Plan
          believes that informing him/her would place him/her at risk of serious harm (but only to someone in a
          position to help prevent the threat). Disclosure generally may be made to a minor’s parents or other
          representatives although there may be circumstances under Federal or State law when the parents or other
          representatives may not be given access to the minor’s PHI.

     4.   Health Oversight Activities: The Plan may disclose PHI to a health oversight agency for oversight activities
          authorized by law. This includes civil, administrative or criminal investigations; inspections; claim audits;
          licensure or disciplinary actions; and other activities necessary for appropriate oversight of a health care
          system, government health care program, and compliance with certain laws.

     5.   Lawsuits and Disputes: The Plan may disclose PHI when required for judicial or administrative
          proceedings. For example, the Plan Participant’s PHI may be disclosed in response to a subpoena,
          discovery requests, or other required legal processes when the Plan is given satisfactory assurances that the
          requesting party has made a good faith attempt to advise the Plan Participant of the request or to obtain an
          order protecting such information, and done in accordance with specified procedural safeguards.

     6.   Law Enforcement: The Plan may disclose PHI to a law enforcement official when required for law
          enforcement purposes concerning identifying or locating a suspect, fugitive, material witness or missing
          person. Under certain circumstances, the Plan may disclose the Plan Participant’s PHI in response to a law
          enforcement official’s request if he/she is, or are suspected to be, a victim of a crime and if it believes in
          good faith that the PHI constitutes evidence of criminal conduct that occurred on the Sponsor’s or Plan’s
          premises.

     7.   Decedents: The Plan may disclose PHI to a coroner, funeral director or medical examiner for the purpose
          of identifying a deceased person, determining a cause of death or as necessary to carry out their duties as
          authorized by law. The Plan may also disclose, as authorized by law, PHI to organizations that handle
          organ, eye, or tissue donation and transplantation.

     8.   Research: The Plan may use or disclose PHI for research, subject to certain limited conditions.

     9.   To Avert a Serious Threat to Health or Safety: The Plan may disclose PHI in accordance with applicable
          law and standards of ethical conduct, if the Plan, in good faith, believes the use or disclosure is necessary to
          prevent or lessen a threat to health or safety of a person or to the public.

     10. Workers’ Compensation: The Plan may disclose PHI when authorized by and to the extent necessary to
         comply with workers’ compensation or other similar programs established by law.

     11. Inmates: The Plan may disclose PHI when to the correctional institution or law enforcement official for: the
         institution to provide health care to the Plan Participant; the Plan Participant’s health and safety and the
         health and safety of others; or the safety and security of the correctional institution.

     12. Military and National Security: The Plan may disclose PHI to military authorities of armed forces
         personnel under certain circumstances. As authorized by law, the Plan may disclose PHI required for
         intelligence, counter-intelligence, and other national security activities to authorized Federal officials.

     13. Emergency Situations: The Plan may disclose PHI in an emergency situation, or if the Plan Participant is
          incapacitated or not present, to a family member, close personal friend, authorized disaster relief agency, or
          any other person previously identified by you. The Plan will use professional judgment and experience to
          determine if the disclosure is in the Plan Participant’s best interest. If the disclosure is in the Plan
          Participant’s best interest, the Plan will disclose only the PHI that is directly relevant to the person’s
          involvement in the Plan Participant’s care.



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     14. Fundraising Activities: The Plan may disclose PHI for fundraising activities, such as raising money for a
          charitable foundation or similar entity to help finance its activities. If the Plan does not contact the Plan
          Participant for fundraising activities, the Plan will give the Plan Participant the opportunity to opt-out, or
          stop, receiving such communications in the future.

     15. Group Health Plan Disclosures: The Plan may disclose PHI to a sponsor of the group health plan – such as
          an employer or other entity – that is providing a health care program to the Plan Participant. The Plan can
          disclose PHI to that entity if that entity has contracted with the Plan to administer the Plan Participant’s
          health care program on its behalf.

     16. Underwriting Purposes: The Plan may disclose PHI for underwriting purposes, such as to make a
          determination about a coverage application or request. If the Plan does not disclose the Plan Participant’s
          PHI for underwriting purposes, the Plan is prohibited from using or disclosing in the underwriting process
          the PHI that is genetic information.

 Uses and Disclosures of PHI that Require Authorization

     1.   Sale of PHI: The Plan will request written authorization before it makes any disclosure that is deemed a
          sale of PHI, meaning the Plan is receiving compensation for disclosing the PHI in that manner.

     2.   Marketing: The Plan will request written authorization to use or disclose PHI for marketing purposes with
          limited exceptions, such as when the Plan has face-to-face marketing communications with the Plan
          Participant or when the Plan provides promotional gifts of nominal value.

     3.   Psychotherapy Notes: The Plan will request written authorization to use or disclose any of the Plan
          Participant’s psychotherapy notes that may be on file with limited exception, such as for certain treatment,
          payment or health care operation functions.

 Other uses and disclosures of PHI that are not described above will be made only with written authorization. If the
 Plan Participant provides the Plan with such authorization, it may be revoked in writing and the revocation will be
 effective for future uses and disclosures of PHI. However, the revocation will not be effective for information that
 the Plan already used or disclosed, relying on the authorization.

 Required Disclosures of PHI

     1.   Disclosures to Plan Participants: The Plan is required to disclose to a Plan Participant most of the PHI in a
          Designated Record Set when the Plan Participant requests access to this information. The Plan will
          disclose a Plan Participant’s PHI to an individual who has been assigned as his/her representative and who
          has qualified for such designation in accordance with the relevant State law. Before disclosure to an
          individual qualified as a personal representative, the Plan must be given written supporting documentation
          establishing the basis of the personal representation.

          The Plan may elect not to treat the person as the Plan Participant’s personal representative if it has a
          reasonable belief that the Plan Participant has been, or may be, subjected to domestic violence, abuse, or
          neglect by such person, it is not in the Plan Participant’s best interest to treat the person as his/her personal
          representative, or treating such person as his/her personal representative could endanger the Plan
          Participant.

     2.   Disclosures to the Secretary of the U.S. Dept of Health and Human Services: The Plan is required to
          disclose the Plan Participant’s PHI to the Secretary of the U.S. Department of Health and Human Resources
          when the Secretary is investigating or determining the Plan’s compliance with the HIPAA Privacy Rule.

     3.   Business Associates: The Plan contracts with individuals and entities (Business Associates) to perform
          various functions on its behalf. In performance of these functions or to provide services, Business


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          Associates will receive, create, maintain, use, or disclose PHI, but only after the Plan and the Business
          Associate agree in writing to contract terms requiring the Business Associate to appropriately safeguard the
          Plan Participant’s information.


     4.   Other Covered Entities: The Plan may disclose PHI to assist health care Providers in connection with their
          treatment or payment activities or to assist other covered entities in connection with payment activities and
          certain health care operations. For example, the Plan may disclose PHI to a health care Provider when
          needed by the Provider to render treatment to a Plan Participant, and the Plan may disclose PHI to another
          covered entity to conduct health care operations. The Plan may also disclose or share PHI with other
          insurance carriers (such as Medicare, etc.) in order to coordinate benefits, if a Plan Participant has coverage
          through another carrier.

 Potential Impact of State Law

 The HIPAA Privacy Rule regulations generally do not “preempt” (or take precedence over) state privacy or other
 applicable laws that provide individuals greater privacy protections. As a result, to the extent state law applies, the
 privacy laws of a particular state, or other federal laws, rather than the HIPAA Privacy Rule regulations, might
 impose a privacy standard under which the Plan will be required to operate. For example, where such laws have been
 enacted, the Plan will follow more stringent state privacy laws that relate to uses and disclosures of PHI concerning
 HIV or AIDS, mental health, substance abuse/chemical dependency, genetic testing, reproductive rights, etc.

 Rights to Individuals

 The Plan Participant has the following rights regarding PHI about him/her:

     1.   Request Restrictions: The Plan Participant has the right to request additional restrictions on the use or
          disclosure of PHI for treatment, payment, or health care operations. The Plan Participant may request the
          Plan restrict disclosures to family members, relatives, friends or other persons identified by him/her who are
          involved in his/her care or payment for his/her care. The Plan is not required to agree to these requested
          restrictions.

     2.   Right to Receive Confidential Communication: The Plan Participant has the right to request that he/she
          receive communications regarding PHI in a certain manner or at a certain location. The request must be
          made in writing and how the Plan Participant would like to be contacted. The Plan will accommodate all
          reasonable requests.

     3.   Copy of this Notice: The Plan Participant is entitled to receive a paper copy of this notice at any time. To
          obtain a paper copy, contact the Privacy Compliance Coordinator.

     4.   Accounting of Disclosures: The Plan Participant has the right to request an accounting of disclosures the
          Plan has made of his/her PHI. The request must be made in writing and does not apply to disclosures for
          treatment, payment, health care operations, and certain other purposes. The Plan Participant is entitled to
          such an accounting for the six (6) years prior to his/her request, though not earlier than April 14, 2003.
          Except as provided below, for each disclosure, the accounting will include: (a) the date of the disclosure,
          (b) the name of the entity or person who received the PHI and, if known, the address of such entity or
          person; (c) a description of the PHI disclosed, (d) a statement of the purpose of the disclosure that
          reasonably informs the Plan Participant of the basis of the disclosure, and certain other information. If the
          Plan Participant wishes to make a request, please contact the Privacy Compliance Coordinator.

     5.   Access: The Plan Participant has the right to request the opportunity to look at or get copies of PHI
          maintained by the Plan about him/her in certain records maintained by the Plan. If the Plan Participant
          requests copies, he/she may be charged a fee to cover the costs of copying, mailing, and other supplies. To
          inspect or copy PHI contact the Privacy Compliance Coordinator. In very limited circumstances, the Plan



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          may deny the Plan Participant’s request. If the Plan denies the request, the Plan Participant may be entitled
          to a review of that denial.

     6.   Amendment: The Plan Participant has the right to request that the Plan change or amend his/her PHI. The
          Plan reserves the right to require this request be in writing. Submit the request to the Privacy Compliance
          Coordinator. The Plan may deny the Plan Participant’s request in certain cases, including if it is not in
          writing or if he/she does not provide a reason for the request.

 Questions or Complaints

 If the Plan Participant wants more information about the Plan’s privacy practices, has questions or concerns, or
 believes that the Plan may have violated his/her privacy rights, please contact the Plan using the following
 information. The Plan Participant may submit a written complaint to the U.S. Department of Health and Human
 Services or with the Plan. The Plan will provide the Plan Participant with the address to file his/her complaint with
 the U.S. Department of Health and Human Services upon request.

 The Plan will not retaliate against the Plan Participant for filing a complaint with the Plan or the U.S. Department of
 Health and Human Services.

 Contact Information:

 Privacy Compliance Coordinator Contact Information:

     Gilster Mary Lee Corporation
     P.O. Box 227
     Chester, IL 62233
     618-826-2361
     618-826-2973




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                                                ARTICLE XIX
                                              HIPAA SECURITY
 Disclosure of Electronic Protected Health Information (“Electronic PHI”) to the Plan Sponsor for Plan
 Administration Functions

     STANDARDS FOR SECURITY OF INDIVIDUALLY IDENTIFIABLE HEALTH INFORMATION
                                 (“SECURITY RULE”)

 The Security Rule imposes regulations for maintaining the integrity, confidentiality and availability of protected
 health information that it creates, receives, maintains, or maintains electronically that is kept in electronic format
 (ePHI) as required under the Health Insurance Portability and Accountability Act (HIPAA).

 Definitions;

 “Electronic Protected Health Information” (ePHI) is defined in Section 160.103 of the Security Standards (45
 C.F.R. 160.103) and means individually identifiable health information transmitted or maintained in any electronic
 media.

 “Security Incidents” is defined within Section 164.304 of the Security Standards (45 C.F.R. 164.304) and means the
 attempted or successful unauthorized access, use, disclosure, modification, or destruction of information or
 interference with systems operation in an information system.

 Plan Sponsor Obligations

 To enable the Plan Sponsor to receive and use Electronic PHI for Plan Administration Functions (as defined in 45
 CFR §164.504(a)), the Plan Sponsor agrees to:

     1.   Implement administrative, physical, and technical safeguards that reasonably and appropriately protect the
          confidentiality, integrity and availability of the Electronic PHI that it creates, receives, maintains, or
          transmits on behalf of the Plan.

     2.   Ensure that adequate separation between the Plan and the Plan Sponsor, as required in 45 CFR §
          164.504(f)(2)(iii), is supported by reasonable and appropriate Security Measures.

     3.   Ensure that any agent, including a subcontractor, to whom the Plan Sponsor provides Electronic PHI
          created, received, maintained, or transmitted on behalf of the Plan, agrees to implement reasonable and
          appropriate report to the Plan any security incident of which it becomes aware.

     4.   Report to the Plan any security incident of which it becomes aware.

 Notification Requirements in the Event of a Breach of Unsecured PHI

 The required breach notifications are triggered upon the discovery of a breach of unsecured PHI. A breach is
 discovered as of the first day the breach is known, or reasonably should have been known.

 When a breach of unsecured PHI is discovered, the Plan will:

     1. Notify the individual whose PHI has been, or is reasonably believed to have been, assessed, acquired, used,
        or disclosed as a result of the breach, in writing, without unreasonable delay and in no case later than 60
        calendar days after discovery of the breach.




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     2. Notify the media if the breach affected more than 500 residents of a State or jurisdiction. Notice must be
        provided to prominent media outlets serving the State or jurisdiction without unreasonable delay and in no
        case later than 60 calendar days after the date the breach was discovered.

     3. Notify the HHS Secretary if the breach involves 500 or more individuals, contemporaneously with the notice
        to the affected individual and in the manner specified by HHS. If the breach involves less than 500
        individuals, an internal log or other documentation of such breaches must be maintained and annually
        submitted to HHS within 60 days after the end of each calendar year.

     4.    When a Business Associate, which provides services for the Plan and comes in contact with PHI in
          connection with those services discovers a breach has occurred, that Business Associate will notify the Plan
          without unreasonable delay and in no case later than 60 calendar days after discovery of a breach so that the
          affected individuals may be notified. To the extent possible, the Business Associate should identify each
          individual whose unsecured PHI has been, or is reasonably believed to have been, breached.

 Any terms not otherwise defined in this section shall have the meanings set forth in the Security Standards.




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                                             ARTICLE XX
                                         PARTICIPANT’S RIGHTS
 As a Participant in the Plan, you are entitled to certain rights and protections under ERISA. ERISA provides that all
 Plan Participants are entitled to:

 Receive Information About Your Plan and Benefits
 Examine, without charge, at the Plan Administrator’s office and at other specified locations, such as worksites and
 union halls (if any), all documents governing the Plan, including insurance contracts, collective bargaining
 agreements (if any), and copies of the latest annual report (Form 5500 Series) filed by the Plan with the U.S.
 Department of Labor and available at the Public Disclosure Room of the Employee Benefits Security
 Administration.

 Obtain, upon written request to the Plan Administrator, copies of documents governing the operation of the Plan,
 including insurance contracts and collective bargaining agreements (if any), and copies of the latest annual report
 (Form 5500 Series) and updated summary plan description. The Administrator may make a reasonable charge for
 the copies.

 Receive a summary of the Plan’s annual financial report. The Plan Administrator is required by law to furnish each
 Participant with a copy of this summary annual report.

 Continue Group Health Plan Coverage
 Continue health care coverage for yourself, spouse or Dependents if there is a loss of coverage under the Plan as a
 result of a Qualifying Event. You or your Dependents may have to pay for such coverage. Review this Plan
 Document and the documents governing the Plan on the rules governing your COBRA continuation coverage rights.

 Prudent Actions by Plan Fiduciaries
 In addition to creating rights for Plan Participants, ERISA imposes duties upon the people who are responsible for
 the operation of the Plan. The people who operate your Plan, called “fiduciaries” of the Plan, have a duty to do so
 prudently and in the interest of you and other Plan Participants and beneficiaries. No one, including your Employer,
 your union (if any), or any other person, may fire you or otherwise discriminate against you in any way to prevent
 you from obtaining a welfare benefit or exercising your rights under ERISA.

 Enforce Your Rights
 If your claim for a welfare benefit is denied or ignored, in whole or in part, you have a right to know why this was
 done, to obtain copies of documents relating to the decision without charge, and to appeal any denial, all within
 certain time schedules.

 Under ERISA, there are steps you can take to enforce the above rights. For instance, if you request a copy of Plan
 documents or the latest annual report from the Plan and do not receive them within 30 days, you may file suit in a
 Federal court. In such a case, the court may require the Plan Administrator to provide the materials and pay you up
 to $110 a day until you receive the materials, unless the materials were not sent because of reasons beyond the
 control of the Plan Administrator. If you have a claim for benefits which is denied or ignored, in whole or in part,
 you may file suit in a State or Federal court. In addition, if you disagree with the Plan’s decision or lack thereof
 concerning the qualified status of a domestic relations order or a Medical Child Support Order, you may file suit in
 Federal court. If it should happen that Plan fiduciaries misuse the Plan’s money, or if you are discriminated against
 for asserting your rights, you may seek assistance from the U.S. Department of Labor, or you may file suit in a
 Federal court. The court will decide who would pay court costs and legal fees. If you are successful, the court may
 order the person you have sued to pay these costs and fees. If you lose, the court may order you to pay these costs
 and fees, for example, if it finds your claim is frivolous.

 Assistance with Your Questions
 If you have any questions about the Plan, you should contact the Plan Administrator. If you have any questions
 about this statement or about your rights under ERISA, or if you need assistance in obtaining documents from the


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 Plan Administrator, you should contact the nearest Office of the Employee Benefits Security Administration, U.S.
 Department of Labor, listed in your telephone directory or the Division of Technical Assistance and Inquiries,
 Employee Benefits Security Administration, U.S. Department of Labor, 200 Constitution Avenue, N.W.,
 Washington, D.C., 20210. You may also obtain certain publications about your rights and responsibilities under
 ERISA by calling the publications hotline of the Employee Benefits Security Administration.




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